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              United States Court of Appeals
                            For the First Circuit



  No. 16-6001

                          UNITED STATES OF AMERICA,

                                    Appellee,

                                        v.

                            DZHOKHAR A. TSARNAEV,

                            Defendant, Appellant.



              APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

           [Hon. George A. O'Toole, Jr., U.S. District Judge]



                                     Before

                     Torruella, Thompson, and Kayatta,
                              Circuit Judges.




       Daniel Habib, with whom Deirdre D. von Dornum, David Patton,
  Mia Eisner-Grynberg, Anthony O'Rourke, Federal Defenders of New
  York, Inc., Clifford Gardner, Law Offices of Cliff Gardner, Gail
  K. Johnson, and Johnson & Klein, PLLC were on brief, for appellant.
       John Remington Graham on brief for James Feltzer, Ph.D., Mary
  Maxwell, Ph.D., LL.B., and Cesar Baruja, M.D., amici curiae.
       George H. Kendall, Squire Patton Boggs (US) LLP, Timothy P.
  O'Toole, and Miller & Chevalier on brief for Eight Distinguished
  Local Citizens, amici curiae.
       David A. Ruhnke, Ruhnke & Barrett, Megan Wall-Wolff, Wall-
  Wolff LLC, Michael J. Iacopino, Brennan Lenehan Iacopino & Hickey,
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  Benjamin Silverman, and Law Office of Benjamin Silverman PLLC on
  brief for National Association of Criminal Defense Lawyers, amicus
  curiae.
       William A. Glaser, Attorney, Appellate Section, Criminal
  Division, U.S. Department of Justice, with whom Andrew E. Lelling,
  United States Attorney, Nadine Pellegrini, Assistant United States
  Attorney, John C. Demers, Assistant Attorney General, National
  Security Division, John F. Palmer, Attorney, National Security
  Division, Brian A. Benczkowski, Assistant Attorney General, and
  Matthew S. Miner, Deputy Assistant Attorney General, were on brief,
  for appellee.



                                 July 31, 2020
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              THOMPSON, Circuit Judge.

                                    OVERVIEW

              Together    with    his   older   brother   Tamerlan,    Dzhokhar

  Tsarnaev detonated two homemade bombs at the 2013 Boston Marathon,

  thus committing one of the worst domestic terrorist attacks since

  the 9/11 atrocities.1 Radical jihadists bent on killing Americans,

  the duo caused battlefield-like carnage.           Three people died.      And

  hundreds     more    suffered     horrific,     life-altering       injuries.

  Desperately trying to flee the state, the brothers also gunned

  down a local campus police officer in cold blood.                Reports and

  images of their brutality flashed across the TV, computer, and

  smartphone screens of a terrified public — around the clock, often

  in real time.       One could not turn on the radio either without

  hearing something about these stunningly sad events.

              Dzhokhar eventually got caught, though Tamerlan died

  after a violent confrontation with the police.

              Indicted on various charges arising from these ghastly

  events, Dzhokhar stood trial about two years later in a courthouse

  just miles from where the bombs went off.          Through his lawyers, he

  conceded that he did everything the government alleged.                But he




        1We will sometimes use first names in this opinion, not out
  of disrespect or as a sign of familiarity but to avoid confusing
  references to persons with the same last name.
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  insisted that Tamerlan was the radicalizing catalyst, essentially

  intimidating him into acting as he had. See 18 U.S.C. § 3592(a)(4)

  (providing    that   relative    culpability     is   a   mitigating   factor

  relevant to the imposition of a death penalty).                   Apparently

  unconvinced, a jury convicted him of all charges and recommended

  a death sentence on several of the death-eligible counts — a

  sentence that the district judge imposed (among other sentences).

               A core promise of our criminal-justice system is that

  even the very worst among us deserves to be fairly tried and

  lawfully punished — a point forcefully made by the then-U.S.

  Attorney for Massachusetts during a presser at the trial's end.2

  To help make that promise a reality, decisions long on our books

  say that a judge handling a case involving prejudicial pretrial

  publicity must elicit "the kind and degree" of each prospective

  juror's "exposure to the case or the parties," if asked by counsel,

  see Patriarca v. United States, 402 F.2d 314, 318 (1st Cir. 1968)

  — only then can the judge reliably assess whether a potential juror

  can ignore that publicity, as the law requires, see United States

  v. Vest, 842 F.2d 1319, 1332 (1st Cir. 1988).3                But despite a


        2 See Michele Gorman, Boston Marathon Bomber Tsarnaev
  Sentenced     to    Death,     Newsweek    (May     15,   2015),
  https://www.newsweek.com/boston-marathon-bomber-dzhokhar-
  tsarnaev-sentenced-332032.
        3For simplicity's sake, we will occasionally call this the
  "Patriarca standard."
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  diligent effort, the judge here did not meet the standard set by

  Patriarca and its successors.

              Another   error    forces   us   to   act   as   well,   this   one

  involving the judge's denial of Dzhokhar's post-trial motion for

  judgments of acquittal.       Navigating a complex and changing area of

  the law, the judge let stand three of Dzhokhar's convictions for

  carrying a firearm during crimes of violence, in violation of 18

  U.S.C. § 924(c).      The judge thought that each of the underlying

  offenses constituted a crime of violence.            But with respect (and

  with the luxury of time that district judges rarely have), we

  believe the current state of the law propels us toward the opposite

  conclusion.

              The first error requires us to vacate Dzhokhar's death

  sentences and the second compels us to reverse the three § 924(c)

  convictions.      On remand, then, the district court must enter

  judgments of acquittal on the relevant § 924(c) charges, empanel

  a new jury, and preside over a new trial strictly limited to what

  penalty Dzhokhar should get on the death-eligible counts.4                  And

  just to be crystal clear: Because we are affirming the convictions

  (excluding the three § 924(c) convictions) and the many life




        "Remand" is legalese for "[t]he act or an instance of sending
        4

  something (such as a case, claim, or person) back for further
  action." See Remand, Black's Law Dictionary (11th ed. 2019).
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  sentences imposed on those remaining counts (which Dzhokhar has

  not challenged), Dzhokhar will remain confined to prison for the

  rest of his life, with the only question remaining being whether

  the government will end his life by executing him.

              What follows is an explanation of our reasoning, as well

  as our take on certain issues that may recur on remand.5

                           HOW THE CASE CAME TO US

              The facts of today's appeal are painful to discuss.             We

  apologize for their graphic detail.           We also do not attempt to

  cover all of the case's complicated events in this section —

  instead we offer only a summary, adding more information during

  our discussion of particular issues.

                                    Bombings

              On Patriots' Day 2013 — April 15, to be exact, a local

  holiday celebrating the first battles of the American Revolution

  — the Tsarnaev brothers set off two shrapnel bombs near the finish

  line of the world-famous Boston Marathon, leaving the area with a




        5Before going on, we wish to compliment counsel for both
  sides for their helpful briefs and arguments. We never hesitate
  to call out lawyers who fail to meet the minimum professional
  standards expected of them.    So it is only fair that we thank
  today's attorneys for their exceptional performance in this most
  serious and high-profile case. And while our views on some of the
  issues differ from the district judge's, we commend him for all
  his hard work in very trying circumstances.
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  ravaged, combat-zone look.6          BBs, nails, metal scraps, and glass

  fragments littered the streets and sidewalks. Blood and body parts

  were everywhere — so much so that it seemed as if "people had just

  been dropped like puzzle pieces onto the sidewalk" (a description

  taken from a witness's trial testimony).              The smell of smoke and

  burnt flesh filled the air.          And screams of panic and pain echoed

  throughout the site.        "Mommy, mommy, mommy," a five-year-old boy

  cried out over and over again, his leg cut to the bone.                    Others

  yelled "help us," "we're going to die," or "stay with me."

                Now   brace   yourself    for    how   Marathon-goers    Krystle

  Campbell, Lingzi Lu, and Martin Richard spent the last few minutes

  of their lives.

                Krystle Campbell was watching the race with her friend

  Karen Rand (now known as Karen McWatters) when the first bomb went

  off.       Rand got knocked to the ground.           But she dragged herself

  over to Campbell, burning herself on hot metal pieces as she did

  so.        She put her face next to Campbell's and held her hand.

  Campbell      was   "complete[ly]    mutilat[ed]"     from   the   waist    down.

  Speaking very slowly, Campbell said her "legs hurt" — even though

  they had been blown off.            Moments later, her hand went limp in

  Rand's.      And she never spoke again, bleeding to death right there.




         6   All relevant activities occurred in Massachusetts.
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               Lingzi Lu was with her friend Danling Zhou as the second

  bomb exploded.     Zhou got a gash across her stomach, requiring her

  to hold her insides in.       While Lu had her arms and legs, she did

  have a significant thigh injury.            "[B]asically her leg had been

  filleted open down to the bone," a doctor on the scene later said.

  He tried to tourniquet the wound.        But she had lost a lot of blood

  and didn't have much of a pulse.            Despite knowing that she was

  going to die, the doctor asked a nearby person to start CPR.                 A

  firefighter later moved in and pumped air into Lu's mouth with his

  mask.   And a police officer did chest compressions, telling her,

  "[S]tay with us.     You can do this.       You're going to be okay.      Stay

  strong."    He and others put Lu on a backboard and placed her in an

  ambulance.     But a paramedic told them to get her off because she

  "was gone" and he needed to keep the ambulance free for those who

  could be "save[d]."

               The second bomb also sent BBs and nails tearing through

  eight-year-old Martin Richard's body, cutting his spinal cord,

  pancreas, liver, kidney, spleen, large intestine, and abdominal

  aorta, and nearly severing his left arm.           He bled to death on the

  sidewalk — with his mother leaning over him, trying to will him to

  live. Searching for his two other children, Martin's father, Bill,

  first found son Henry (age twelve) and then daughter Jane (age

  six).   Jane tried to stand up but fell — because her left leg was

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  gone. Bill carried her for a bit. And then an off-duty firefighter

  tourniqueted the leg, saving her life.

              Not   only   did    the    Tsarnaev     brothers   kill    Krystle

  Campbell, Lingzi Lu, and Martin Richard, they also consigned

  hundreds of others to a lifetime of unimaginable suffering.               Some

  lost one or more limbs, blown off as they stood near the finish

  line or amputated later because they were so badly mangled. Others

  lost sight, still others hearing.             And years after the bombings,

  many still had debris in their bodies.            One survivor had shrapnel

  in her that occasionally worked its way to the surface and had to

  be removed; another had a ball bearing stuck in his brain — to

  give just a few examples.

                              Manhunt and Capture

              Leaving   the   scene,     Dzhokhar    and   Tamerlan     drove   to

  Cambridge and stopped at a Whole Foods.           Dzhokhar went in, grabbed

  a bottle of milk, paid for it, and left.           About a minute later, he

  returned to the store and exchanged the bottle for a different

  one.

              Back at his school the next day (UMass Dartmouth, as it

  is known locally), Dzhokhar resumed his normal routine.               He worked

  out with a friend at the campus gym, for example.              "I'm a stress

  free kind of guy," he tweeted.



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              Aided by a description given by a man from his hospital

  bed, as well as by videos from security cameras and bystanders'

  cell phones, law enforcement released images of the bombers two

  days later on April 18, and asked the public to help identify them

  and provide information about their whereabouts.             The FBI (short

  for the Federal Bureau of Investigation) produced a "wanted poster"

  on its website and asked the local community to give any details

  that could lead to their arrests.

              That night, still April 18, Tamerlan and Dzhokhar put

  pipe bombs, a handgun, and a shrapnel bomb (similar to the ones

  they exploded at the Marathon) into Tamerlan's Honda Civic and

  drove off from his Cambridge home.          Passing by the Massachusetts

  Institute of Technology ("MIT," from now on), they spotted the

  squad car of campus police officer Sean Collier.            Approaching the

  squad car from behind, the brothers shot Collier dead at close

  range — twice in the side of the head, once between the eyes, and

  three times in the hand.        They tried and failed to take his gun

  (the holster's retention system tripped them up, apparently).

  Startled by an MIT student riding by on a bike, they got back in

  the Honda and sped away.

              The brothers then drove to Brighton where they crossed

  paths with Dun Meng, who was sitting in his parked Mercedes SUV.

  After pulling up behind him, Tamerlan got out of the Honda and

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  knocked on Meng's passenger window.         Meng rolled the window down.

  Tamerlan leaned in, opened the door, jumped in, aimed a gun at

  him, and demanded cash.      A frightened Meng handed over his wallet.

  Explaining that he had exploded the bombs at the Marathon and had

  just killed Collier, Tamerlan ordered Meng to drive.                So drive

  Meng did.    Dzhokhar followed behind in the Honda.

               Tamerlan eventually had Meng pull over on a street in

  Watertown.    Tamerlan got into the Mercedes's driver's seat.            Meng

  got into the Mercedes's front passenger's seat.           And after parking

  the Honda, Dzhokhar got into the Mercedes's back passenger's seat.

  Tamerlan drove to an ATM.          Dzhokhar withdrew $800 from Meng's

  account using Meng's bank card and PIN ($800 was the card's

  withdrawal limit).

               Tamerlan drove back to his Honda to get a music CD with

  nasheeds on them (nasheeds are Islamic chants).            He played the CD

  in the Mercedes — music that sounded a "bit weird" and "religious"

  to Meng.      Tamerlan then stopped for gas in Cambridge.            Fearing

  this might be his last chance to escape, Meng made a break for it,

  sprinting across the street to a different gas station where he

  begged the attendant to call the police.            Tamerlan and Dzhokhar

  took off in the Mercedes.




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              Meng told the arriving officers that the carjackers were

  the Boston Marathon bombers.        He also told them that his Mercedes

  had a built-in tracking system.

              Good police work then led authorities to the Tsarnaev

  brothers in Watertown, where the two had returned to get the Honda.

  Tamerlan got out of the Mercedes.         Dzhokhar got out of the Honda.

  Tamerlan started shooting at the officers.            And he and Dzhokhar

  threw some pipe bombs and a larger bomb that looked "like a big

  cooking pot."     A couple of the bombs exploded.

              After getting shot, and having possibly run out of

  bullets, Tamerlan tossed his gun at one of the officers and ran

  toward them.     They wrestled him to the ground, however.          Dzhokhar

  got back in the Mercedes.        And while trying to make his getaway,

  he ran over his brother, who died hours later.

              Also hurt in the shootout was MBTA police officer Richard

  Donohue.     He nearly bled to death after a bullet hit his groin

  area.   It took months in a hospital to recover from his injury.

              Back to Dzhokhar.     He could only drive about two blocks,

  because the police had damaged the Mercedes's tires.            So he exited

  the car and fled on foot.        In a nearby backyard, he found a boat

  shrink-wrapped in plastic and climbed inside.          And he stayed there

  overnight, bleeding from his wounds.



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               Dzhokhar did, however, have enough strength to write a

  manifesto justifying his actions.              On two wooden slats attached to

  the boat he carved the words, "Stop killing our innocent people

  and we will stop."          "God has a plan for each person," he wrote on

  the fiberglass hull (with a pencil he found on the boat).                     "Mine

  was   to    hide    in    this   boat    and   shed   light   on   our   actions."

  "[J]ealous"        of    Tamerlan's     martyrdom,    he   accused   "[t]he    U.S.

  Government [of] killing our innocent civilians."                   Stressing that

  he could not "stand to see such evil go unpunished," he warned

  that "we Muslims are one body, you hurt one, you hurt us all."

  And finishing up, he wrote, "Now I don't like killing innocent

  people it is forbidden in Islam but due to said [ ] it is allowed."7

               With       Dzhokhar      still    at    large,   then-Massachusetts

  Governor Deval Patrick asked nearly a million citizens of Boston

  and the five neighboring locales (Belmont, Cambridge, Newton,

  Waltham, and Watertown) to "shelter in place" — that is, he told

  them to remain behind closed doors and "not to open the door for

  anyone other than a properly identified law enforcement officer."

  He also asked schools and businesses to close — only hospitals and

  law enforcement would stay open.




        7   The bracket represents a portion obscured by a bullet hole.
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              Later that day, on April 19, Watertown resident David

  Henneberry noticed that his boat had some loose shrink wrap and

  went out to fix it — by this time Governor Patrick had lifted the

  shelter-in-place order, even though Dzhokhar was still a fugitive.

  As Henneberry climbed up a ladder, he saw blood in the boat and a

  person lying there with a hooded sweatshirt pulled over his head.

  So he raced back inside his house and called 911.

              Officers responded rapidly.         And after Dzhokhar ignored

  repeated requests to surrender, they threw flash-bang grenades

  into the boat and fired a barrage of bullets at it.                     Officers

  finally arrested him about 90 minutes after Henneberry's call.

              An   ambulance   took    Dzhokhar    to    a    hospital    where    he

  underwent hours of emergency surgery to treat his injuries —

  injuries that included a gunshot wound to the left side of his

  face and multiple gunshot wounds to his extremities.                        Doctors

  sutured his left eye shut and wired his jaw closed.                 He could not

  hear out of his left ear.      He had to be intubated and took narcotic

  pain meds intravenously.       FBI agents questioned him off and on for

  more than 13 hours over the next 36 hours without Miranda-izing

  him8   —   and   without   letting   lawyers    from       the    federal    public



         8Miranda v. Arizona says that before                      interrogating    a
  custodial suspect, officers must warn him
         that he has the right to remain silent, that anything he
         says can be used against him in a court of law, that he
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  defender's office see him either.            Most questions he answered by

  nodding yes or no, or by writing his responses down in a notebook.

  Repeatedly, he asked for a lawyer.           But the agents told him that

  he first needed to answer their questions "to ensure that the

  public . . . was no longer in danger."            Exhausted and in pain, he

  asked the agents several times to stop questioning him.               But the

  record does not indicate whether the agents honored these requests.

  At some point he told them that after the bombings, he and Tamerlan

  fled Boston by car, and "[o]n the way back to Cambridge, they

  stopped at a Whole Foods . . . to buy some milk" — the two "were

  observing the Muslim tradition of fasting on Mondays and Thursdays

  and needed milk to break the fast."

              Unsurprisingly,      the   bombings      and     their   aftermath

  dominated Boston-area TV, radio, newspapers, and magazines — not

  to mention web and social-media sites.            Locals quickly adopted the

  "Boston    Strong"   slogan    to   convey    a    message   of   courage   and

  resilience.     And the Boston Strong movement remains vibrant to

  this very day.




        has the right to the presence of an attorney, and that
        if he cannot afford an attorney one will be appointed
        for him prior to any questioning.
  384 U.S. 436, 479 (1966).
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                               Legal Proceedings

                 Eventually, a Boston-based federal grand jury indicted

  Dzhokhar for crimes arising from his unspeakably brutal acts.9            The




          9   The grand jury's 30-count indictment charged him with:
     1.       Conspiring to use a weapon of mass destruction resulting
              in the deaths of Krystle Campbell, Sean Collier, Lingzi
              Lu, and Martin Richard, in violation of 18 U.S.C. § 2332a.
     2.       Using a weapon of mass destruction (pressure cooker bomb
              #1) resulting in the death of Krystle Campbell, in
              violation of 18 U.S.C. § 2332a.
     3.       Possessing and using a    firearm (pressure cooker bomb #1)
              during and in relation    to a crime of violence (Count 2)
              resulting in the murder    of Krystle Campbell, in violation
              of 18 U.S.C. 924(c) and   (j).
     4.       Using a weapon of mass destruction (pressure cooker bomb
              #2) resulting in the deaths of Lingzi Lu and Martin
              Richard, in violation of 18 U.S.C. § 2332a.
     5.       Possessing and using a firearm (pressure cooker bomb #2)
              during and in relation to a crime of violence (Count 4)
              resulting in the murders of Lingzi Lu and Martin Richard,
              in violation of 18 U.S.C. § 924(c) and (j).
     6.       Conspiring to bomb a place of public use resulting in the
              deaths of Krystle Campbell, Sean Collier, Lingzi Lu, and
              Martin Richard, in violation of 18 U.S.C. § 2332f.
     7.       Bombing a place of public use (Marathon Sports) resulting
              in the death of Krystle Campbell, in violation of 18 U.S.C.
              § 2332f.
     8.       Possessing and using a firearm (pressure cooker bomb #1)
              during and in relation to a crime of violence (Count 7)
              resulting in the murder of Krystle Campbell, in violation
              of 18 U.S.C. § 924(c) and (j).
     9.       Bombing a place of public use (Forum restaurant) resulting
              in the deaths of Lingzi Lu and Martin Richard, in violation
              of 18 U.S.C. § 2332f.
     10.      Possessing and using a firearm (pressure cooker bomb #2)
              during and in relation to a crime of violence (Count 9)
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           resulting in the murders of Lingzi Lu and Martin Richard,
           in violation of 18 U.S.C. § 924(c) and (j).
     11.   Conspiring to maliciously destroy property resulting in
           the deaths of Krystle Campbell, Sean Collier, Lingzi Lu,
           and Martin Richard, in violation of 18 U.S.C. § 844(i) and
           (n).
     12.   Maliciously destroying property (Marathon Sports and other
           property) resulting in the death of Krystle Campbell, in
           violation of 18 U.S.C. § 844(i).
     13.   Possessing and using a firearm (pressure cooker bomb #1)
           during and in relation to a crime of violence (Count 12)
           resulting in the death by murder of Krystle Campbell, in
           violation of 18 U.S.C. § 924(c) and (j).
     14.   Maliciously destroying property (Forum restaurant and
           other property) resulting in the deaths of Lingzi Lu and
           Martin Richard, in violation of 18 U.S.C. § 844(i).
     15.   Possessing and using a firearm (pressure cooker bomb #2)
           during and in relation to a crime of violence (Count 14)
           resulting in the murders of Lingzi Lu and Martin Richard,
           in violation of 18 U.S.C. § 924(c) and (j).
     16.   Possessing and using a firearm (Ruger 9mm handgun) during
           and in relation to a crime of violence (Count 1) resulting
           in the murder of Sean Collier, in violation of 18 U.S.C.
           § 924(c) and (j).
     17.   Possessing and using a firearm (Ruger 9mm handgun) during
           and in relation to a crime of violence (Count 6) resulting
           in the murder of Sean Collier, in violation of 18 U.S.C.
           § 924(c) and (j).
     18.   Possessing and using a firearm (Ruger 9mm handgun) during
           and in relation to a crime of violence (Count 11) resulting
           in the murder of Sean Collier, in violation of 18 U.S.C.
           § 924(c) and (j).
     19.   Carjacking resulting in serious bodily injury to Richard
           Donohue, in violation of 18 U.S.C. § 2119(2).
     20.   Possessing and using a firearm (Ruger 9mm handgun) during
           and in relation to a crime of violence (Count 19), in
           violation of 18 U.S.C. § 924(c).
     21.   Interfering with commerce by threats or violence (obtaining
           $800 using Dun Meng's ATM card and PIN), in violation of
           18 U.S.C. § 1951.
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  indictment     also    included    a     number    of   specific   allegations

  necessary for seeking capital punishment under the Federal Death

  Penalty Act ("FDPA"), 18 U.S.C. §§ 3591-99, which governs aspects

  of this case.     And the government later notified him that it would

  seek the death penalty on all 17 death-eligible counts (Counts 1-

  10 and 12-18).     See 18 U.S.C. § 3593(a).10

               Because   of   the   extensive       pretrial   publicity   in   the

  Boston area, Dzhokhar filed motions to change venue before the



     22.     Possessing and using a firearm (Ruger 9mm handgun) during
             and in relation to a crime of violence (Count 21), in
             violation of 18 U.S.C. § 924(c).
     23.     Using a weapon of mass destruction (pressure cooker bomb
             #3), in violation of 18 U.S.C. § 2332a.
     24.     Possessing and using a firearm (Ruger 9mm and pressure
             cooker bomb #3) during and relation to a crime of violence
             (Count 23), in violation of 18 U.S.C. § 924(c).
     25.     Using a weapon of mass destruction (pipe bomb #1), in
             violation of 18 U.S.C. § 2332a.
     26.     Using a firearm (Ruger 9mm and pipe bomb #1) during and in
             relation to a crime of violence (Count 25), in violation
             of 18 U.S.C. § 924(c).
     27.     Using a weapon of mass destruction (pipe bomb #2), in
             violation of 18 U.S.C. § 2332a.
     28.     Possessing and using a firearm (Ruger 9mm and pipe bomb
             #2) during and in relation to a crime of violence (Count
             27), in violation of 18 U.S.C. § 924(c).
     29.     Using a weapon of mass destruction (pipe bomb #3), in
             violation of 18 U.S.C. § 2332a.
     30.     Possessing and using a firearm (Ruger 9mm and pipe bomb
             #3) during and in relation to a crime of violence (Count
             29), in violation of 18 U.S.C. § 924(c).
        10   That FDPA subsection says (emphasis ours) that
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  guilt phase started (a capital trial has two phases, a guilt phase

  and a penalty phase) — motions that the judge denied, though he

  did promise to conduct a thorough and searching voir dire.11                 A


        [i]f, in a case involving an offense described in section
        3591, the attorney for the government believes that the
        circumstances of the offense are such that a sentence of
        death is justified under this chapter, the attorney
        shall, a reasonable time before the trial or before
        acceptance by the court of a plea of guilty, sign and
        file with the court, and serve on the defendant, a notice
        —
             (1) stating that the government believes that the
             circumstances of the offense are such that, if the
             defendant is convicted, a sentence of death is
             justified under this chapter and that the government
             will seek the sentence of death; and
             (2) setting forth the aggravating factor or factors
             that the government, if the defendant is convicted,
             proposes to prove as justifying a sentence of death.
        The factors for which notice is provided under this
        subsection may include factors concerning the effect of
        the offense on the victim and the victim's family, and
        may include oral testimony, a victim impact statement
        that identifies the victim of the offense and the extent
        and scope of the injury and loss suffered by the victim
        and the victim's family, and any other relevant
        information. The court may permit the attorney for the
        government to amend the notice upon a showing of good
        cause.
  We will have more to say about the italicized language later.
        11Dzhokhar twice petitioned unsuccessfully for a writ of
  mandamus compelling the judge to grant a change of venue (with one
  judge dissenting each time). See In re Tsarnaev, 780 F.3d 14, 29
  (1st Cir. 2015) (per curiam) ("Tsarnaev II"); In re Tsarnaev, 775
  F.3d 457, 457 (1st Cir. 2015) (mem.) ("Tsarnaev I"). See generally
  Mandamus, Black's Law Dictionary (11th ed. 2019) (explaining that
  a mandamus is a "writ issued by a court to compel performance of
  a particular act by a lower court or a governmental officer or
  body, usu[ally] to correct a prior action or failure to act"). We
  did say, though, that if a jury convicted him "on one or more of
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  French phrase that (roughly translated) means "to speak the truth,"

  voir dire (as relevant here) "is a process through which a judge

  or lawyer examines a prospective juror to see if the prospect is

  qualified and suitable to serve on a jury."               See United States v.

  Parker,    872   F.3d   1,   3   n.1   (1st     Cir.   2017)    (quotation    marks

  omitted).     But the judge stopped Dzhokhar's counsel from asking

  prospective jurors questions like "[w]hat did you know about the

  facts of this case before you came to court today (if anything)?"

  and "[w]hat stands out in your mind from everything you have heard,

  read[,] or seen about the Boston Marathon bombing and the events

  that followed it?"

              During the guilt phase of his trial, Dzhokhar's lawyers

  did not dispute that he committed the charged acts.                 Rather, their

  guilt-phase defense rested on the idea that he participated in

  these horrible crimes only under Tamerlan's influence.                       In her

  opening statement, for instance, one of his attorneys said that

  "[i]t was him" and that the defense would not "attempt to sidestep"

  his "responsibility for his actions."                  But she said that his

  terrorist path was "created by his brother."                   And in her closing

  argument, she said that he "stands ready . . . to be held

  responsible for his actions."            Ultimately the jury convicted him



  the charges against him," he could "raise the venue argument again"
  in an appeal to us. Tsarnaev II, 780 F.3d at 28.
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  on all counts after hearing testimony from nearly 100 witnesses

  and after receiving over 1,000 exhibits.

               The jury later reconvened for the penalty phase.12           The

  parties combined to present some 60 witnesses and introduce over

  180 exhibits.     And after following the process just outlined, the

  jury recommended the death penalty on six of the death-eligible


        12   Here is an overview of how capital sentencing works.
       Capital sentencing has two aspects: an "eligibility phase"
  and a "selection phase."    See Jones v. United States, 527 U.S.
  373, 381 (1999).     A defendant convicted of certain crimes —
  intentionally killing the victim, for instance — can be declared
  eligible for death if the jurors unanimously find beyond a
  reasonable doubt that one of four intent elements and at least one
  of sixteen aggravating factors are present.      See id. at 376-77
  (discussing the FDPA). If they find the defendant death-eligible,
  they must — during the selection phase — decide by a unanimous
  vote "whether the defendant should be sentenced to death, to life
  imprisonment without the possibility of release or some other
  lesser sentence." 18 U.S.C. § 3593(e). To recommend death, the
  jurors must determine that "all the aggravating . . . factors found
  to exist sufficiently outweigh all the mitigating . . . factors
  found to exist." Id. In addition to listing aggravating factors,
  the FDPA also lists mitigating factors. But the FDPA also allows
  the parties to offer nonstatutory factors for the jurors to
  consider as well. Id. § 3592(a), (c); id. § 3593(a). The jurors,
  however, can find only aggravators for which the government gave
  notice, id. § 3592(c) — though they can find additional mitigators
  beyond those proposed by the defense, id. § 3593(a). And while
  they must find any nonstatutory aggravator unanimously and beyond
  a reasonable doubt, a single juror may find a mitigator by a
  preponderance of the evidence and may "consider such factor
  established . . . regardless of the number of jurors who concur
  that the factor has been established."          Id. § 3593(c)-(d).
  Ultimately, if they cannot unanimously agree on a sentence of death
  or life imprisonment without release, the job of sentencing falls
  to the judge, see Jones, 527 U.S. at 380-81, who must impose either
  a sentence of life without release or any lesser sentence permitted
  by law, see 18 U.S.C. § 3594.
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  counts (Counts 4, 5, 9, 10, 14, and 15).         The judge, for his part,

  sentenced Dzhokhar to die, while also giving him a number of

  concurrent and consecutive prison terms on the remaining counts —

  including 20 life terms.

              And this timely appeal ensued.

                                   DISCUSSION

              Dzhokhar's briefs raise 16 issues for review, many with

  sub-issues and even sub-sub-issues.         As we have previewed already,

  the judge's Patriarca-based error compels us to vacate the death

  sentences and his crime-of-violence errors require us to reverse

  three § 924(c) convictions.        Not only do we explain those errors

  below. We also address other issues (even if just briefly) because

  we know they are likely to resurface on remand.               See generally

  Swajian v. Gen. Motors Corp., 916 F.2d 31, 35 (1st Cir. 1990)

  (taking a similar approach in a similar situation). So our opinion

  proceeds as follows.       Essentially taking the issues in the order

  presented to us, we start with venue but pivot to the jury-

  selection process — because the judge's promise to hold a searching

  voir dire helped drive his decision to deny a venue change, but

  his handling of voir dire did not measure up to the standards set

  by Patriarca and other cases.         We then touch on some matters (in

  varying levels of detail) that could affect how the penalty retrial

  on the death-eligible counts proceeds — matters like the retrial's

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  location, the government's failure to disclose evidence material

  to    punishment,     the     judge's    admission      of     evidence,   the

  prosecution's     behavior    during    opening   statements     and   closing

  arguments,    the   judge's    jury     instructions,    the    prosecution's

  private communications with the judge, etc.          And we last highlight

  the errors in the judge's crime-of-violence analysis (this is one

  of the most complex areas of American law, we must say — which is

  why even well-meaning judges and lawyers sometimes make mistakes).

                       Trial Venue and Jury Selection

               We start with Dzhokhar's claims that the judge erred in

  how he handled the venue-change motions and the jury-selection

  process (we have a lot to go over, so please bear with us).

                                   Background

               It is no exaggeration to say that the reporting of the

  events here — in the traditional press and on different social-

  media platforms — stands unrivaled in American legal history (at




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  least as of today).      The highlights (or — as Dzhokhar sees some of

  it — lowlights) of the coverage include:

        Starting with the bombings themselves, the reporting covered

         the carnage-filled terror scene — with the sights and sounds

         of the wounded and the dying in full display.13

        The reporting then covered the ensuing search for the bombers

         — with images of Dzhokhar leaving a backpack behind Martin

         Richard and walking away before it exploded, with Governor

         Patrick's press-conference statements about sheltering-in-

         place, and with at-the-scene videos showing agents removing

         a bloodied Dzhokhar from the dry-docked boat.

        The reporting did not get every detail right, however — for

         example, some falsely claimed that Dzhokhar scrawled "Fuck

         America" in the boat.

        Other reporting mentioned his non-Miranda-ized statements to

         agents at the hospital — statements not introduced at trial.

        The reporting also explored the lives and deaths of Krystle

         Campbell, Lingzi Lu, Martin Richard, and Sean Collier —

         touchingly describing the pain borne by their families and

         foreshadowing much of the decedent-victim-impact evidence



         To help lend perspective: Four of the Boston Globe's five
         13

  most-watched videos posted on its YouTube channel deal with the
  bombings, nearly getting a combined 30 million views.
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         that the jury would hear.      And the reporting anticipated much

         of the testimony from badly-injured survivors — though it

         sometimes spotlighted accounts from survivors who would never

         testify.

        The   reporting   captured   the   views   of   prominent   community

         members about the penalty Dzhokhar deserved.           For instance,

         the Boston Globe reported that despite his past opposition to

         capital punishment, the then-Boston mayor thought Dzhokhar

         should "serve[] his time and [get] the death penalty."             And

         the   Globe   reported as well that a former Boston police

         commissioner believed the government did the right thing in

         seeking Dzhokhar's execution, given the evidence's strength.

        More still, the reporting generated lots of stories where

         everyday people in the area called Dzhokhar a "monster," a

         "terrorist," or a "scumbag[]."        One article even asked if a

         particular photo of Dzhokhar was "what evil looks like."

                              First Venue Motion

               In June 2014, Dzhokhar moved (before jury selection) for

  a change of venue, relying on this avalanche of pretrial publicity.

  He essentially argued that polling data collected by his expert

  showed potential jurors in the court's Eastern Division were more

  likely to consider him guilty than those in the district's Western

  Division, the Southern District of New York, and the District of

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  Columbia.14       Convinced    that    the     circumstances    triggered    a

  presumption of prejudice in the District of Massachusetts, he

  "recommend[ed] the District of Columbia as the venue with the least

  prejudicial attitudes."

              Opposing    this    motion,      the   government   argued   that

  Dzhokhar failed to show that "12 fair and impartial jurors cannot

  be found" among the Eastern Division's "large, widespread, and

  diverse" populace.      The government also claimed that his expert's

  analysis had a slew of problems, including the fact that courts in

  other "highly-publicized trials have found" his expert's "opinions

  unhelpful, misleading[,] or wrong."           And the government suggested

  that "[f]ar from 'demonizing'" Dzhokhar, "the local press has

  largely humanized him . . ., portraying him as a popular and

  successful student and the beloved captain of his high school

  wrestling team."




        14The District Court for the District of Massachusetts sits
  in Boston, Worcester, and Springfield.         For jury-selection
  purposes, the District is divided into three divisions:        the
  Eastern Division, which encompasses the state counties of Essex,
  Middlesex, Norfolk, Suffolk, Bristol, Plymouth, Barnstable, Dukes,
  and Nantucket; the Central Division, which encompasses the state
  County of Worcester; and the Western Division, which encompasses
  the state counties of Franklin, Hampshire, Hampden, and Berkshire.
  Boston is in Suffolk County.      Cambridge and Watertown are in
  Middlesex County. So these three cities are part of the Eastern
  Division, for example.
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              Applying the factors outlined in Skilling v. United

  States, 561 U.S. 358 (2010), the judge denied Dzhokhar's motion in

  September 2014.15      Among other points, the judge noted that the

  district's Eastern Division has about "five million people," with

  many of them living outside of Boston — so, he emphasized, "it

  stretches the imagination to suggest that an impartial jury cannot

  be successfully selected from this large pool of potential jurors."

  And, the judge wrote, neither the defense expert's polling nor his

  newspaper analysis "persuasively show[ed] that the media coverage

  has contained blatantly prejudicial information that prospective

  jurors could not reasonably be expected to cabin or ignore."

  Moreover, some of the expert's results, the judge stressed, clashed

  with Dzhokhar's "position" because they showed that respondents in

  other jurisdictions were almost as likely to believe him guilty as

  respondents in Massachusetts's Eastern Division.                Also, while

  "media coverage ha[d] continued" in the 18 months since the

  bombings, "the 'decibel level of media attention,'" the judge said

  (quoting Skilling), had "diminished somewhat."              For the judge,




         On the presumption-of-prejudice issue, the factors Skilling
        15

  discussed included the size and characteristics of the community
  where the crime happened; the nature of the pretrial publicity;
  whether the passage of time had lessened media attention; and the
  outcome of the case. See id. at 382-83. According to Skilling,
  "[a] presumption of prejudice . . . attends only the extreme case."
  Id. at 381.
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  Dzhokhar had "not proven that this [was] one of the rare and

  extreme cases for which a presumption of prejudice is warranted."

  "[A] thorough evaluation of potential jurors in the pool," the

  judge continued, "will be made through questionnaires and voir

  dire sufficient to identify prejudice during jury selection."

               Second Venue Motion, First Mandamus Petition,
                   And Joint Proposed Jury Questionnaire

               A few months later, in December 2014, Dzhokhar filed a

  second venue-change motion, protesting that a huge portion of the

  Eastern Division (again, the pool from which his jury would be

  drawn) "has been victimized by the attack on the Marathon and the

  related    events"   —   which,   combined   with   the   continuing    press

  coverage, made it impossible to seat an impartial jury. Responding

  to this motion, the government argued that "most of the articles"

  Dzhokhar mentioned in this memo "have little or nothing to do with

  this case, and the ones that do are largely factual and objective

  in nature."     Without waiting for the judge's ruling on the second

  motion, Dzhokhar — also in December 2014 — petitioned this court

  for mandamus relief.      See Tsarnaev II, 780 F.3d at 17 (discussing

  timeline).

               With Dzhokhar's petition pending, however, the judge —

  now in early January 2015, and after construing the motion as one

  for reconsideration of the original venue-change denial — rejected

  his second venue-change bid (just days after he filed his mandamus
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  petition).         See id.     Of note, the judge again expressed his

  confidence        that   the       voir-dire       process        would    ensure    jury

  impartiality. "Should [that] process . . . prove otherwise," wrote

  the judge, "the question of transfer can obviously be revisited."

  Still in early January 2015, a divided panel of this court then

  denied Dzhokhar's petition, concluding that he had "not made the

  extraordinary showing required to justify mandamus relief."                          See

  Tsarnaev I, 775 F.3d at 457.

                  While all this was going on, the parties — in December

  2014 — submitted a joint proposed questionnaire for use in voir

  dire.        Some of their suggested questions touched on the potential

  jurors' general thoughts about capital punishment.                        Others touched

  on their exposure to pretrial publicity — questions like:                           "What

  did you know about the facts of this case before coming to court

  today (if anything)?"16

                  In a separate legal memo, the defense — citing Morgan v.

  Illinois,       504   U.S.   719    (1992)     —   moved     to    add    more   specific

  questions to identify those prospective jurors who could consider

  imposing a life sentence not just abstractly, but in the particular

  circumstances of the case before them.                One proposed question, for

  example, asked potential jurors to



          From now on we refer to questions of this type as "content-
          16

  specific questions" (or some variant).
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        [s]tate whether you agree or disagree with the following
        statements:
        The death penalty is the ONLY appropriate punishment for
        ANYONE who:
        A. murders a child.      □ Agree    □ Disagree
        B. deliberately     murders   a    police   officer.     □   Agree
           □ Disagree
        C. deliberately commits murder as an act of terrorism.
           □ Agree □ Disagree

  Dzhokhar's team wanted these questions to "probe for a common form

  of bias — the belief that the death penalty should always or

  automatically be imposed        for certain types of murder."              The

  government opposed.      Relying on and quoting Morgan, the government

  argued that the defense could ask "whether 'they will always vote

  to impose death for conviction of a capital offense'" generally —

  not "whether they will consider a sentence less than death" in

  response to "a laundry list of potential crime elements and

  aggravating factors."        And according to the government, these

  questions were nothing but impermissible "stakeout questions" —

  i.e., questions aimed at getting potential jurors to "stake out a

  position on the death penalty" before receiving instructions on

  the law.    But according to the defense, "these are the opposite"

  of stakeout questions since "they seek only to probe whether

  jurors' minds are open to considering all of the evidence relevant

  to sentenc[ing]." The judge, however, decided not to include these




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  questions on the questionnaire, saying he would cover those topics

  in voir dire.17

                  The judge also focused on the jointly-proposed question

  asking what potential jurors knew "about the facts of this case

  before coming to court today (if anything)."                        Conceding that this

  question "might get very interesting answers," the judge worried

  that it could "cause trouble because it will be so unfocused."

  "But if you want to live with it," the judge said to defense

  counsel, "this is a question that we'll probably be asking every

  voir dire person."

                  Despite      having       had      a    hand     in     submitting      the

  questionnaire, the government now switched gears and argued that

  the question could cause the parties to have to "follow[] up on

  every        fact   asserted"      —   something       that    "would    take   forever."

  Apparently persuaded by the government's argument, the judge —

  after noting that the query could generate "unmanageable data" —

  ultimately          struck   the       question,       explaining     that     prospective

  jurors'        "preconceptions"         could   instead        be     gauged    by   asking

  whether, "[a]s a result of what you have seen or read in the news

  media, . . . you [have] formed an opinion" about Dzhokhar's guilt

  or the proper penalty, and if so, whether "you [can] set aside



         Going forward, we will call these kinds of questions, as a
          17

  shorthand, "case-specific questions."
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  your opinion and base your decision . . . solely on the evidence

  that will be presented to you in court."            The defense objected,

  saying that "in a case like this[,] where . . . you really have no

  idea what the juror may have swirling around in [his or her] head,

  it makes the juror the judge of [his or her] own impartiality."

  "To a large extent that's true," the judge countered, but "the

  other questions will help us" see if the potential jurors can set

  aside any preconceived notions about the case — which is "the

  biggest issue in voir dire, obviously."

                Start of Jury Selection, Third Venue Motion,
                        And Second Mandamus Petition

               Around the beginning of January 2015, 1,373 potential

  jurors showed up at the John Joseph Moakley U.S. Courthouse for

  the start of jury selection.           The judge divided them into six

  panels.     As a preliminary matter, the judge twice told them that

  Dzhokhar was "charged in connection with events that occurred near

  the finish line of the Boston Marathon . . . that resulted in the

  deaths of three people."        And the judge had them fill out a 100-

  question questionnaire covering their backgrounds, social-media

  habits, exposure to pretrial publicity (the amount they had seen,

  whether they had "formed an opinion" about guilt or punishment,

  etc.), and thoughts on the death penalty.18         The questionnaire also



        18   To give but one example, question 73 asked:
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  gave a "summary of the facts of this case," including that "two

  bombs exploded . . . near the Boston Marathon finish line" and

  that "[t]he explosions killed Krystle Marie Campbell (29), Lingzi

  Lu (23), and Martin Richard (8), and injured hundreds of others."

  "MIT Police Officer Sean Collier (26) was shot to death in his

  police car," the questionnaire's summary added, and Dzhokhar "has

  been charged with various crimes arising out of these events."

  The questionnaire then asked prospective jurors their views on the

  death penalty for someone convicted of intentional murder and

  whether they could "conscientiously vote for life imprisonment

  without the possibility of release."

               The   judge   and   the    parties   identified   the    potential

  jurors by numbers.      On appeal the parties focus on #138, #286, and

  #355.    So we do too.

               Before   having     the    prospective   jurors   fill    out   the

  questionnaires, the judge gave some instructions.              For instance,

  he told them "not to discuss this case with your family, friends[,]

  or any other person."       They could "tell others that you may be a


          How would you describe the amount of media coverage you
          have seen about this case:
          ___ A lot (read many articles or watched television
          accounts)
          ___ A moderate amount (just basic coverage in the news)
          ___ A little (basically just heard about it)
          ___ None (have not heard of case before today)
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  juror in the case," he also said, and could "discuss the schedule

  with your family and employer." But he warned them "not to discuss

  anything else, or allow anyone else to discuss with you anything

  else until you have been excused, or if you're a juror, until the

  case concludes."         And he told them not to "communicate about this

  case or allow anyone to communicate about it with you by phone,

  text, message, Skype, email, social media, such as Twitter or

  Facebook."

               As    for    the   answers   potential     jurors   gave    on   the

  questionnaires, Dzhokhar — for reasons that will shortly become

  clear — directs us to these replies by #138, #286, and #355.

               Responding to a questionnaire inquiry about social-media

  use, #138 wrote that he used Facebook "[e]very other day" at

  "most."    And he wrote "N/A" for a question asking whether he had

  "commented on this case . . . in an online comment or post."

               For her answer to the same question about social-media

  use, #286 wrote that she looked at Facebook, Instagram, and Twitter

  "daily" but did not "post daily." For her response to the question

  about whether she had "commented on this case . . . in an online

  comment or post," she wrote "don't believe I have."              And she wrote

  "N/A" to the question asking her to explain if she or a family

  member    had     been   "personally    affected   by   the   Boston    Marathon



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  bombings or any of the crimes charged in this case (including being

  asked to 'shelter in place' on April 19, 2013)."

              On his jury questionnaire, #355 disclosed that he worked

  as an "attorney."       Answering a question about his death-penalty

  views, he wrote, "Since it is legal, it should be the rarest of

  punishments.     It is much too prevalent in the country."        On a scale

  of 1 to 10, with 1 meaning "that the death penalty should never be

  imposed" and 10 meaning that it should be imposed for all cases of

  "intentional murder," he circled 2.            He circled another answer

  option that read, "I am opposed to the death penalty but I could

  vote to impose it if I believed that the facts and the law in a

  particular case called for it."           He also wrote that "[k]illing

  people, especially gov't sponsored killing, is generally wrong" —

  "[w]hile I can imagine a scenario where facts and law call for it,

  it is an exceedingly rare case."          And responding to the question

  "[i]f you found [Dzhokhar] guilty and you decided that the death

  penalty    was   the   appropriate     punishment    .   .   .,   could   you

  conscientiously vote for the death penalty," he checked the box

  for "I am not sure" — and then explained, "I cannot possibly

  prejudge his guilt or potential punishment at this stage."

              After both sides agreed to excuse many of the 1,373

  potential jurors, the judge called back 256 for individual voir

  dire — which lasted 21 days.        And much happened during that time.

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  Dzhokhar continued to ask the judge to ask prospective jurors case-

  specific questions (like the ones mentioned above) — but to no

  avail.    For instance, Dzhokhar proposed that the judge ask them if

  they would automatically impose the death penalty if the defendant

  "killed     a    child    by   deliberately      using     a     weapon    of    mass

  destruction"; "us[ed] a weapon of mass destruction to carry out an

  intentional killing"; "deliberately committed an act of terrorism

  that killed multiple victims"; or "intentionally murder[ed] a

  police officer in the line of duty."            They "know that this is about

  a bombing," the judge ruled, "and they know that there are three

  people who were killed in the bombing."                    Plus they have "my

  preliminary instructions, . . . telling them what the offenses

  were in general," the judge said.            And, the judge stressed, "they

  have those specifics already in their minds as they . . . answer

  the question about the ability to meaningfully consider life

  imprisonment."         The judge thought, too, that "detailed questioning

  about what the juror thinks he or she knows about the events" could

  create the "wrong emphasis" and might inadvertently create bias

  where none existed before.

              Dzhokhar also asked the judge to ask content-specific

  questions       about    pretrial   publicity    (like     the    ones    mentioned

  earlier)    —    for    example,    "What   stands   out   in     your    mind   from

  everything you have heard, read[,] or seen about the Boston

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  Marathon bombing and the events that followed it?"19             But the judge

  rejected that request, saying that "[w]e have detailed answers in

  the questionnaire concerning . . . exposure to the media"; that he

  saw no need to "repeat" questions "covered in the questionnaire";

  and that he thought "digging for details . . . will not likely

  yield reliable answers."

                Near the end of January 2015, #138 underwent individual

  voir dire.      The judge reminded him that he had told "everyone to

  avoid any discussion of the subject matter of the case with

  anybody," though they "could talk about coming here, obviously,

  but . . . also [had] to avoid any exposure to media articles about

  the case."      And the judge asked #138 if he had "been able to do

  that."     "Yeah," #138 replied, "I haven't looked at anything" or

  "talked to anybody about it." The judge then turned to the subject

  of #138's Facebook use (presumably as a follow-up to #138's

  questionnaire answers).         "What's the nature of your use of it,"

  the   judge    asked,   "[i]s    it   essentially   personal,     social-type

  things?"       And #138 said, "Yeah."          Asked by the judge if he

  "comment[ed]     on   public    affairs   or   anything   like    that,"   #138



         This was a paraphrase from a question in Skilling. See 561
        19

  U.S. at 371 (noting that the defendant there asked the district
  court to ask prospective jurors "'what st[ood] out in [their]
  minds' of 'all the things [they] ha[d] seen, heard or read about'"
  the company the defendant had worked for (alterations in
  original)).
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  answered, "Yeah, I see what my friends are doing and comment on

  that."    Which prompted the judge to ask if anyone was "commenting

  about this trial" — to which #138 replied, "No."

              The same day as #138's individual voir dire, Dzhokhar

  filed a third venue-change motion.          Highlighting statistics based

  on questionnaire answers, he noted (among other arguments) that

  out of a pool of 1,373 prospective jurors, 68% thought he was

  "guilty, before hearing a single witness or examining a shred of

  evidence at trial," and 69% "have a self-identified connection or

  expressed allegiance to the people, places, and/or events at issue

  in the case." "Stronger" evidence "of presumed prejudice in Boston

  is difficult to imagine," he wrote. And as far as he was concerned,

  "[g]iven the extent of prejudice and personal connections," the

  judge could not count on voir dire to get "a jury that is both

  actually impartial and preserves the appearance of impartiality."

              Disagreeing with Dzhokhar, the government argued (among

  other assertions) that Dzhokhar's own survey showed "that nearly

  100% of respondents in Springfield, New York City, and Washington,

  D.C. said they had been exposed to publicity about this case."

  That makes sense, the government added, because "[t]he bombings

  and their bloody aftermath" made national and international news.

  And, the government emphasized, the percentage of people who

  believe Dzhokhar is guilty is greater in those locales than in the

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  Eastern Division (according to the jury questionnaire responses):

  "84% in Springfield, 92% in New York City, and 86% in Washington,

  D.C."   Also, according to the government, "of the 68% of potential

  jurors in this case who have formed an opinion that [Dzhokhar] is

  guilty, fully 60% said they could set aside that opinion and decide

  the case solely on the [trial] evidence."               So as the government

  saw it, the questionnaires and voir dire could protect Dzhokhar's

  right to an impartial jury.

               Before the judge ruled on the motion, Dzhokhar filed a

  second mandamus petition with us in early February 2015.                    But

  individual voir dire still continued.             During her turn — and

  responding to questions from the judge (who was following up on

  her questionnaire answers) — #286 disclosed that she used Facebook,

  Instagram, and Twitter "just [for] social" purposes.                  "I watch

  TV," she explained, "and kind of tweet while I'm watching TV with

  other   people    that   are   watching    the   same    programs    that   I'm

  watching."     And she implied that she had not been "locked down"

  with her family — saying that while at work on April 19, she

  "jok[ed]" with her boss that she had to go home.                    "I live in

  Boston," she said, "and Boston was on lockdown.            I'm, like, I have

  to go home.      We're on lockdown."      Defense counsel then asked her

  if any family or friends had talked with her "about the Marathon

  bombing[s] . . . [o]r any of the events of that week."                "[M]aybe

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  in general or something but not really," she said.                Dzhokhar's

  lawyer then asked, "Can you tell us what stands out in your mind

  that you read" about the case?        But the government objected.        And

  the judge sustained the objection.

              A day later, with Dzhokhar's mandamus petition still

  pending, the judge denied Dzhokhar's third venue-change motion —

  "for reasons both old and new."         We focus here on the judge's new

  reason.    Conceding both that "[c]hecking a box" on a questionnaire

  "may result in answers that appear more clear and unambiguous than

  the juror may have intended or than is actually true," and that

  handwritten "answers" frequently "can . . . be unclear, inapposite,

  or incomplete," the judge concluded that the voir dire underway

  was "successfully identifying potential jurors who are capable of

  serving" fairly and impartially.

              A week after the judge's ruling, #355 was individually

  voir dired.     #355 said that he did not think that his work as a

  criminal lawyer would affect his impartiality.              "[I]f asked to

  vote on" the death penalty," he explained, "I would probably vote

  against it because of my belief that it is overused."           But he later

  added that "[i]f, after hearing the [judge's] instructions, and if

  I believed it . . . fit into one of those rare cases where I

  believed the death penalty should be imposed, having understood

  the law as given to me, then . . . I could vote to impose the death

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  penalty."     Asked by the government whether he could "imagine any

  case that [he] would think is appropriate for the death penalty,"

  #355 said, "I think Slobodan Milosevic was close, if not a prime

  example."20    Asked by the defense whether he could "actually vote

  to impose" the death penalty in an appropriate case, #355 stated,

  "I think I could."      "Are you pretty confident of that answer?" the

  defense asked.     "Yes," #355 replied.

              The government moved to strike #355 "for his bias" as a

  criminal defense lawyer and "for his death penalty answers."               To

  the   government's     way   of   thinking,     #355   was   "substantially

  impaired" because "the only time . . . he could think that he could

  impose the death penalty would be in a case of genocide."                 The

  defense opposed the motion, pointing out that #355 said he could

  "make a decision" to impose the death penalty "in a given set of

  facts."     The judge granted the motion, however.             "I would not

  exclude [#355] because of his . . . criminal defense work," the

  judge noted.       But relying on his "sense of him," the judge

  concluded that #355 was not adequately "open to the possibility of

  the death penalty" — especially given "the genocide issue," which

  made #355's "zone of possibility . . . so narrow" that he was



         A former president of Serbia, Milosevic led a campaign of
        20

  genocidal aggression during the Balkan wars of the 1990s.    See
  Slobodan Milošević, Wikipedia (last visited July 23, 2020),
  https://en.wikipedia.org/wiki/Slobodan_Milo%C5%A1evi%C4%87.
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  "substantially impaired."         All in all, the judge was not convinced

  that #355 "was going to be truly open in the way that would be

  necessary."

               In     the   last   week   of    February   2015,   the    judge

  provisionally qualified 75 prospective jurors — a group that

  included #138 and #286.          The judge ended up excusing 5 of the 75

  for hardship.       And it was from this group of 70 that the parties

  would choose a jury.

               That same week, a divided panel of this court denied

  Dzhokhar's second mandamus petition because he had not shown a

  clear and indisputable right to a venue change (which is what he

  had to show to get mandamus relief).          See Tsarnaev II, 780 F.3d at

  15, 19-20.    To give one of the panel majority's reasons:          Although

  Dzhokhar argued that we had to "presume prejudice for any jury

  drawn from the Eastern Division of Massachusetts," the panel

  majority found that "his own statistics reveal that hundreds of

  members of the [jury pool] have not formed an opinion that he is

  guilty" — and "[t]he voir dire responses have confirmed this."

  Id. at 21.        The panel majority also believed that a rigorous and

  thorough voir dire would secure an impartial jury.           See id. at 21-

  24.




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                          Motions to Excuse #138 and #286,
                    Fourth Venue Motion, and Peremptory Strikes

                   On the same day Tsarnaev II came down, Dzhokhar filed

  motions to strike #138 and #286 for cause from the provisionally

  qualified jury pool — motions premised on alleged newly discovered

  information.21

                   In his motion against #138, Dzhokhar claimed that he had

  just learned that #138 "was dishonest . . . about comments on

  Facebook" and had defied the judge's "instructions" within mere

  "hours      of    receiving   them."      For     support,   he    pointed    to   the

  following:

        On    the    day    #138   went   to   court    to    complete   his    juror

         questionnaire, he posted on Facebook, "Jury duty....this

         should       be    interesting...couple        thousand     people    already

         here."22

        Two of his Facebook "friends" responded.                   One said, "How'd

         you get stuck going to Boston?"             The other said, "Did you get

         picked for the marathon bomber trial!!!???                 That's awesome!"



         Dzhokhar says in his brief to us that "the defense exercised
         21

  diligence   in  investigating    the   1,373"   potential   jurors,
  "scour[ing]" their "social media profiles" as best they could,
  given the other "extraordinary demands" on his lawyers' time —
  "including the ongoing jury selection process, discovery review,
  litigation of pre-trial motions, and trial preparation."
          In our quotations from the posts, we use the spelling,
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  grammar, and punctuation that appear in the original messages.
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         #138 replied, "Ya awesome alright haha there's like 1000s of

         people."

        Over the next few hours, people left more comments, saying

         things like, "If you're really on jury duty, this guys got no

         shot in hell" and "They're gonna take one look at you and

         tell you to beat it."

        Despite hearing the judge's preliminary warnings — "not to

         discuss anything else, or allow anyone else to discuss with

         you anything else until you have been excused," not to

         "communicate about this case or allow anyone to communicate

         about it with you by phone, text message, Skype, email, social

         media, such as Twitter or Facebook," etc. — #138 returned to

         the Facebook thread later that day and posted, "Shud be crazy

         [Dzhokhar] was legit like ten feet infront of me today with

         his 5 or 6 team of lawyers...can't say much else about it

         tho...that's    against     the   rules."     His    Facebook    friends

         responded,    "Whoa!!";     "Since   when   does    [#138]   care   about

         rules?"; and "Play the part so u get on the jury then send

         him to jail where he will be taken care of."             #138 replied,

         "When   the    Feds   are    involved   id    rather    not     take    my

         chances...them locals tho...pishhh ain't no thaang."                   "Yea

         super careful," a Facebook friend wrote back, "bc should you



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         get picked any mention of anything can get you booted or call

         for mistrial."

  Dzhokhar argued that these actions by #138 showed "a willingness

  to flout the rules, a lack of maturity, and a failure to appreciate

  the seriousness of these procedures."           So he asked the judge to

  "excuse[]" #138 "for cause."

              Dzhokhar's motion against #286 claimed that "[a]fter her

  voir dire questioning," he discovered information about #286's

  social media "postings at the time of the Boston Marathon Bombings

  and their aftermath" that undermines "her juror questionnaire"

  answers.    He emphasized the following:

        On the day of the bombings, #286 tweeted, "Need something to

         make you smile and warm your heart after today's tragedy at

         #BostonMarathon, take a look at #BostonHelp."           About Martin

         Richard, she tweeted, "Little 8yr old boy that was killed at

         marathon, was a Savin Hill little leaguer :-( RIP little man

         #Dorchester #bostonmarathon."        #286 was from Dorchester too

         (Dorchester is a neighborhood in Boston).

        During the shelter-in-place situation, #286 tweeted that she

         was "locked down" with her family, adding, "it's worse having

         to work knowing ur family is locked down at home!!            Finally

         home locked down w/them #boston."



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        After   Dzhokhar's   capture,    #286     retweeted    expressions   of

         celebration — including a tweet that said, "Told y'all.

         Welcome To Boston The City Of CHAMPS!         We get our shit DONE!

         #BostonStrong."          Another     of      her      retweets   said,

         "Congratulations to all of the law enforcement professionals

         who worked so hard and went through hell to bring in that

         piece of garbage."     And another of her retweets read, "Monday

         started in celebration and ended in tragedy.            Today began in

         tragedy and ended in celebration.          You can't keep us down.

         #BostonStrong."

        Over the following year, #286 retweeted additional posts

         about the victims — including retweets of a photo of Martin

         Richard's sister singing the national anthem at Fenway Park

         (home to the Boston Red Sox), a photo of Martin's older

         brother running the Boston Athletic Association Youth Relay

         Race in 2014, and photos of officers Sean Collier and Richard

         Donohue at their police academy graduation (the caption over

         the photos read, "Please keep both in your prayers").

  Dzhokhar contended that #286's tweets and retweets showed "a

  community allegiance that is certain to color her view of the

  case," making her claim that she could fairly and impartially

  "consider life versus the death penalty at trial exceedingly



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  suspect."      So he asked the judge to "excuse[]" #286 "for cause" or

  "recall[]" her "for follow-up questioning."

              In a memo opposing Dzhokhar's motions, the government

  called his challenges to #138 and #286 untimely because he did not

  object when the judge provisionally qualified them.                 And that

  untimeliness, said the government, could not be excused based on

  newly discovered evidence because the motions relied on "social

  media postings . . . that predated voir dire, often by years."             On

  the merits, the government asserted that #138 did not disobey the

  judge's instructions by "simply reporting that [Dzhokhar] was ten

  feet in front of him at one point and had a team of five or six

  lawyers" (though the government did not address how #138 told the

  judge during individual voir dire that his Facebook friends were

  not "commenting" on the "trial").           And as for #286, labeling her

  tweets and retweets "innocuous," the government argued that she

  "may    well     not   have   considered     'tweeting'    (or    especially

  'retweeting') a photograph to be the same as 'comment[ing] on this

  case in a letter to the editor, in an online comment or post, or

  on a radio talk show'" (the government made no mention of her

  "piece of garbage" retweet or her being "locked down" with her

  family, however).




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              The   judge    orally    denied   Dzhokhar's     motions    at   a

  conference the first week of March 2015.             "I reviewed the jury

  questionnaires," the judge said, and the voir dire

        transcripts. First of all, I agree with the government
        that the objections are late and it is — we have a
        procedure. We have done it with some care and taken the
        time to do it. And I think the time to raise the issues
        was in the course of that process and not thereafter.
        So I am not inclined — and will not — reopen the voir
        dire for late discovery matters that could have been
        discovered earlier.

  Continuing on, the judge added that he found Dzhokhar's objections

  "largely speculative."      "There are various possible explanations,"

  he said,

        and none of them is . . . serious enough to warrant
        changing   our   provisional   qualification,   and   in
        particular, none of the issues that were raised seem
        . . . to suggest the presence of a bias that would be
        harmful to jury impartiality in this case.       They're
        collateral matters about things, they are — people close
        to them may have done, but none of them speak to actual
        bias in the case. So we leave the roster as it is.

              Around this time — early March 2015 — the defense filed

  a fourth venue-change motion — essentially arguing that of the 75

  provisionally qualified jurors, 42 "self-identified . . . some

  connection to the events, people, and/or places at issue in the

  case"; 23 "stated . . . that they had formed the opinion that

  [Dzhokhar] 'is' guilty, with . . . 1 . . . of those . . . 23

  stating . . . that he would be unable to set aside that belief";

  and that 48 "either believe that [Dzhokhar] is guilty, or have a

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  self-identified connection, or both."              The government opposed,

  contesting     (among    other    things)    the    defense's    statistical

  methodology.

               While that motion was pending, the defense used all 20

  of its peremptory strikes, see Fed. R. Crim. P. 24(b)(1), but did

  not strike #138 or #286 (the judge denied the defense's request

  for 10 more peremptories).23           The government used all of its

  peremptory challenges too.         Both #138 and #286 got on the jury

  (#286 ultimately served as the jury foreperson).           Of the 12 jurors

  seated by the judge, 9 got there without disclosing the specific

  content of the media coverage they had seen24 — recall how the

  judge rejected the defense's efforts to learn not just whether

  prospective jurors had seen media coverage of this case but what

  specifically they had seen.        And of those 9, 4 believed based on

  pretrial publicity that Dzhokhar had participated in the bombings.


        23A peremptory challenge is defined generally as "[o]ne of a
  party's limited number of challenges that do not need to be
  supported by a reason unless the opposing party makes a prima facie
  showing that the challenge was used to discriminate on the basis
  of race, ethnicity, or sex." See Challenge, Black's Law Dictionary
  (11th ed. 2019) (second definition).
        24The defense asked one of the seated jurors what "st[ood]
  out in [her] mind, if anything, about this case from anything
  you've heard, seen."     She replied, "The only thing that I
  definitely can remember from that time is probably after the fact
  when they showed the finish line."         Another seated juror
  volunteered that she had watched "the shootout in Watertown" on
  TV. And another seated juror volunteered that she had seen "video
  evidence" and Dzhokhar's "being in the boat."
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  But all 12 did say that they could adjudicate on the evidence as

  opposed to personal biases or preconceived notions.

                 On the first day of trial — also in early March 2015 —

  the    judge     orally    denied    the    defense's      pending      venue-change

  request, without an on-the-spot explanation.

                             Basic Appellate Arguments

                 Dzhokhar presents a raft of venue- and juror-selection

  claims on appeal.

                 Starting with venue, Dzhokhar contends that his trial in

  the district's Eastern Division violated his constitutional right

  to an impartial jury for either of two reasons:                    "The community's

  exposure to the bombings and ensuing pre-trial publicity . . .

  warranted       a    presumption      of    prejudice,"       or       "the    jurors'

  questionnaire        and   voir     dire   responses       establish[ed]        actual

  prejudice."         Hoping to counter that claim, the government argues

  that   "[p]rejudice        should   not    be   presumed    in     a   venue   with   a

  population of almost five million and where more than half of the

  prospective jurors had either not prejudged guilt or had stated

  under oath that they could set aside their view that [Dzhokhar]

  was guilty."         And the government also insists that the record




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  nowhere shows that the pretrial publicity "actually biased" the

  potential or seated jurors.

              From there, Dzhokhar argues that both #138 and #286 lied

  under oath during voir dire about their social-media postings.

  And, he says, by not striking them for cause, the judge robbed him

  of his constitutional rights to due process, an impartial jury,

  and a reliable sentencing decision.         The government responds that

  even if #138 and #286 "had fully disclosed everything" that

  Dzhokhar says "they should have, they would not have been stricken

  for cause."      Which is why the government thinks that Dzhokhar

  "cannot show entitlement to a new trial or an evidentiary hearing."

              Dzhokhar then argues that the judge stacked the deck

  against him by excusing #355 based on the mistaken belief that

  #355's death-penalty views would have "substantially impaired" him

  in his ability to perform as a juror.          Calling him "[a]n educated

  professional     who   had   devoted"    considerable     thought    to    the

  question, Dzhokhar notes that #355 said that he could vote for the

  death penalty in the right case — despite his personal views on

  capital punishment.       Conversely, the government contends that #355

  "gave   hesitant    and   carefully   hedged    answers   about   the     death

  penalty," plus "was unable to think of any category of crimes

  beyond genocide where he believed the death penalty would be

  appropriate."

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              Penultimately (at least for this part of this opinion),

  Dzhokhar faults the judge for "taking a crabbed view of Morgan."

  The nub of his complaint is, to quote his brief, that a faithful

  application of Morgan required the judge to ask prospective jurors

  "whether they could take into account mitigating evidence and

  consider a sentence of life imprisonment not just in the abstract,

  but in light of specific allegations in his case."                    Unpersuaded,

  the government sees no legal error under Morgan, because the

  suggested questions "were impermissible 'stakeout' questions" that

  basically asked potential jurors "to prejudge the appropriateness

  of the death penalty in this case without consideration of the

  [judge's]      instructions       or    mitigating     factors."          And,    the

  government     adds,     even    if    Morgan    required   the   judge    to    tell

  prospective jurors about "certain case-specific facts," Dzhokhar's

  suggested questions were unnecessary because they already knew

  about    the    case's     key    facts     from    the     judge's    preliminary

  instructions and the juror questionnaire — "and they could have

  considered those facts when answering questions about their views

  on the death penalty."

              Relying on Patriarca and its offspring, Dzhokhar lastly

  argues here that the judge erred in denying his request to ask

  potential jurors content-specific questions about "what they had

  seen, read, or heard about his case."               The pretrial publicity, he

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  writes (quoting Patriarca), created a "'significant possibility

  that   jurors    [had]    been   exposed     to   potentially    prejudicial

  material'" and so "trigger[ed]" a "duty to inquire."                   Which,

  according to him, means that the judge had to ask "not just whether

  prospective jurors had seen media coverage of this case, but what,

  specifically, they had seen."        And by not doing so, the judge (in

  Dzhokhar's      words)   produced    "a    jury   biased    by   prejudicial

  publicity."     Trying to meet this argument, the government — citing

  Mu'Min v. Virginia, 500 U.S. 415 (1991) — principally contends

  that Supreme Court precedent "reject[s] the claim that such an

  inquiry is required."

                                    Analysis

              We start, as the parties do, with the judge's decision

  not to change venue — a decision that receives abuse-of-discretion

  review.     See United States v. Casellas-Toro, 807 F.3d 380, 385

  (1st Cir. 2015).      Anyone alleging an abuse of discretion faces an

  uphill climb.     See generally United States v. Rivera-Carrasquillo,

  933 F.3d 33, 44 (1st Cir. 2019) (explaining that a judge abuses

  his discretion "if no reasonable person could agree with the

  ruling"), cert. denied, No. 19-7879 (Apr. 20, 2020).             And that is

  certainly true when a party asks us to critique a denial of a

  motion grounded on alleged jury partiality, because — as no less

  an authority than the Supreme Court has said — "[i]n reviewing

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  claims of this type, the deference due to district courts is at

  its pinnacle."       Skilling, 561 U.S. at 396 (emphasis added).

              Two of us find serious points against Dzhokhar's venue-

  change arguments.

              First, the polling data shows that many in Boston were

  undecided about whether Dzhokhar should receive death — even after

  all the publicity.      The defense expert's own survey data revealed

  that only 36.7% of people in Boston favored the death penalty for

  Dzhokhar before the trial, leaving 63.3% undecided or leaning

  against death.       Since the Eastern Division has a population of

  about five million, that leaves several million people (even minus

  children, etc.) open to a life sentence despite all the publicity.

  The data from the voir-dire questionnaire is even more telling,

  showing that only 23% of the prospective-juror panel had formed an

  opinion that Dzhokhar should die — and just 16% held that view and

  said they could not be convinced otherwise.             This means that of

  the   1,373    potential    jurors,      over   1,000   of    them   had   not

  predetermined that death was the right sentence.

              Second, the same polling data shows public awareness and

  attitudes     were    not   materially     different    in,    for   example,

  Springfield or New York City.       In Springfield, 51.7% said Dzhokhar

  was "definitely guilty" and 32.2% said he was "probably guilty"

  based on the pretrial publicity, compared with 47.6% and 44% in

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  Manhattan, and 57.8% and 34.5% in Boston.               The numbers regarding

  penalty are also similar — in fact fewer respondents preferred

  life without the possibility of parole in Springfield (45.4%) than

  in Boston (51.2%).

              Also and importantly, the polling inquiry does not ask

  respondents to judge for themselves whether they are biased.                 Nor

  does it fail to overlook subliminal biases.             Instead, the pollster

  asked whether Dzhokhar should get the death penalty.                 The answer

  to that question likely reflected whatever actual bias might have

  been operating, knowingly or otherwise.                So (extrapolating from

  the relevant figures) the fact that so many hundreds of thousands

  in the pool of potential jurors were undecided, and that the

  percentage of those persons was not materially less than the

  percentage for New York City, does support the judge's venue

  decision in a powerful way.

              We   note   too   that   this   is   not    a   case   where   almost

  everybody locally knows something and very few elsewhere know of

  it.   Plus the data seemingly contradicts any claim that the Boston

  Strong movement and the sheltering in place account for undue

  prejudice — were it otherwise, the difference in attitudes would

  probably be much greater in, for example, New York City.

              Third, most of the publicity was true — something we now

  know from Dzhokhar's guilt admission in his lawyer's guilt-phase

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  opening and closing statements (notably, Dzhokhar does not say he

  would have raised an innocence defense in another venue).                 See

  Murphy v. Florida, 421 U.S. 794, 802 (1975) (noting the truth of

  the pretrial publicity); see also Skilling, 561 U.S. at 382-83;

  Casellas-Toro, 807 F.3d at 387.         So after the first day of trial,

  a juror from Boston and one from California would know essentially

  the same things about the case — even though the California juror

  would have seen less of the publicity.          Contrast that with Rideau

  v. Louisiana, 373 U.S. 723 (1963), where an inadmissible taped

  confession by a guilt-contesting defendant was televised only on

  the local news.     As for the untrue pieces of publicity, they seem

  trivial given the true and relevant information — for example, the

  report that Dzhokhar's boat message said "fuck America" got quickly

  disproved once jurors saw the actual message; and at any rate, the

  words "fuck America" added very little if anything to what he

  actually wrote.

              Fourth and finally, comparing Dzhokhar's case to other

  venue-change cases — specifically Skilling and Casellas-Toro —

  makes it hard to say the judge abused his discretion.               Starting

  with the size and diversity of the metropolitan area (the first

  Skilling factor), Boston is very large and diverse — much closer

  to Houston in Skilling, 561 U.S. at 382 (a "large, diverse pool"

  of 4.5 million eligible jurors in the area made the "suggestion

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  that 12 impartial individuals could not be empaneled . . . hard to

  sustain"), than to the Indiana community in Irvin v. Dowd, 366

  U.S. 717, 719 (1961) (about 30,000 people), or to Puerto Rico in

  Casellas-Toro, 807 F.3d at 386 ("a compact, insular community" of

  3 million people that "is highly susceptible to the impact of local

  media" (quotation marks omitted)).            The nature of the publicity

  (the second Skilling factor) was, as discussed, largely factual

  and the untrue stuff was no more inflammatory than the evidence

  presented at trial.         As to passage of time (the third Skilling

  factor), two years had elapsed between the crime and the trial —

  which is closer in magnitude to the four years in Skilling (a point

  cutting    against     a    venue   change)   than   the   two    months    in

  Casellas-Toro (a point favoring a venue change).            And the verdict

  shows no affirmative signs of bias (the fourth Skilling factor),

  since the jury recommended Dzhokhar die for six of seventeen death-

  eligible counts, similar to Skilling's acquittal on certain counts

  and   contrasted     with   Casellas-Toro's    guilty   verdict   on   counts

  lacking sufficient evidence.         Dzhokhar asks us to give no weight

  to the jury's decision not to recommend death on most of the death-

  eligible counts.      He reasons that the jury's decision-making can

  be explained by the fact that the government can only kill him

  once.   But the jurors had seventeen death counts to consider.             And

  they decided on death for six of those.           That selectivity cannot

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  be explained (as he presumes) by his the-government-can-only-

  execute-me-once theory.       For if he were right, the jury would have

  returned a death verdict on just one count.            To pick six and not

  one or seventeen, the jurors must have had some other rationale in

  mind that required them to draw distinctions between facts that

  they thought warranted a death verdict and those that they thought

  did not.     And that sort of nuance favors a view of the jury as

  intent on following the law and the facts.

              Dzhokhar's chief argument — that the nature of the crime

  (terrorism) might be viewed as an attack on the Boston community

  specifically — does not appear in the framework of these cases.

  But it seems just as likely that a juror in, say, New York City

  would view the crime as an attack on all of America (as he himself

  did) — thus negating any advantage in changing venues.

              So if pressed to decide the venue question now, two of

  us would likely find the judge abused no discretion in finding

  venue proper in Boston in 2015.             But we need not make such a

  decision now.     That is because, as explained next, we must remand

  the penalty-phase portion of this trial for a retrial — regardless

  of how we rule on venue.      And it also is because, given the sizable

  passage of time, the venue issue should look quite different the

  second time around, likely in 2021.            See Skilling, 561 U.S. at

  383.

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               Now       for        our    remand-for-a-penalty-phase-retrial

  explanation.       Even assuming (favorably to the government) that the

  judge did not reversibly err on the venue question, he still had

  to oversee a voir-dire process capable of winnowing out partial

  jurors through careful questioning — indeed, in denying Dzhokhar

  a venue change, the judge premised his analysis in part on a pledge

  to run a "voir dire sufficient to identify prejudice."25                      But

  performance     fell    short      of   promise,     providing   (as   Dzhokhar's

  counsel said at oral argument) a sufficient ground to vacate his

  death sentences — even on abuse-of-discretion review.26                See United

  States v. Casanova, 886 F.3d 55, 60 (1st Cir. 2018). See generally

  United States v. Connolly, 504 F.3d 206, 211-12 (1st Cir. 2007)

  (noting that "an erroneous view of the law" is always an abuse of

  discretion).       With the venue assumption in place, we lay out our

  reasoning.

               Patriarca       is   the   key.     A   pretrial-publicity     case,

  Patriarca involved an organized-crime prosecution where the press

  called one of the defendants "'Boss' of the New England 'Cosa



        25For some cases making a venue-was-proper assumption and
  then deciding the appeal on another basis, see In re Horseshoe
  Entm't, 337 F.3d 429, 435 (5th Cir. 2003); Emrit v. Holland &
  Knight, LLP, 693 F. App'x 186, 186-187 (4th Cir. 2017) (per
  curiam).
         By the way, Dzhokhar's sentencing arguments target only the
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  death sentences.
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  Nostra'" and reported how a lawyer for a government witness nearly

  died in a car-bomb incident.         See 402 F.2d at 315-16.       Convinced

  that   the   news   accounts    might   make    prospective   jurors    think

  (wrongly, apparently) that the defendants had something to do with

  the bombing, the defense teams moved to change the trial's venue

  — and lost.     Id. at 316-17.

               The defendants appealed, relevantly arguing that the

  judge "erred in denying" the change-of-venue motion "because of

  prejudicial publicity."        Id. at 315.     We noted "that the amount of

  coverage diminished sharply after the week following the bombing."

  Id. at 317.      We also noted that the defense had the chance "to

  mitigate any possible effect of pretrial publicity — [namely,] on

  the voir dire."     Id.   Counsel for one of the defendants had asked

  the judge to "ask a question of the jury in connection with this

  case, in the light of all the publicity."           Id. at 317-18.    And the

  judge said that he would ask the jurors "if there is any member

  . . . who feels that he would not be able to give the defendants

  a fair and impartial jury."       Id. at 318.     Counsel said "thank you."

  Id.    The judge put the question to the jury, got "[n]o response"

  from the members, and so saw no reason not to proceed to trial.

  See id.      Given this set of circumstances, we found no sign of

  abused discretion in the judge's venue decision.            Id.



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                 But crucially, we felt "bound" to address "sua sponte"

  — i.e., without prompting from either side — the scope of voir

  dire judges should conduct "[i]n cases where there is, in the

  opinion of the [judge], a significant possibility that jurors have

  been        exposed   to    potentially     prejudicial       material."         Id.

  Specifically, we directed that

         on request of counsel, . . . the [judge] should proceed
         to examine each prospective juror apart from other
         jurors and prospective jurors, with a view to eliciting
         the kind and degree of his exposure to the case or the
         parties, the effect of such exposure on his present state
         of mind, and the extent to which such state of mind is
         immutable or subject to change from evidence.

  Id. (double emphasis added).

                 And    in   driving   this   directive    home,    we   explicitly

  endorsed section 3.4 of the American Bar Association's then-recent

  Standards       Relating    to   Fair   Trial    and   Free   Press.       See   id.

  (emphasizing that "we are in accord with the suggestions of section

  3.4").27        Section 3.4, in turn, said that in cases involving

  prejudicial pretrial publicity, voir-dire "questioning shall be

  conducted for the purpose of determining what the prospective juror

  has read and heard about the case."              See Am. Bar Ass'n, Standards




          The American Bar Association is familiarly known by its
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  abbreviation "ABA."
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  Relating to Fair Trial and Free Press § 3.4(a), at 130 (Tentative

  Draft Dec. 1966) (emphasis added).28

              The rationale for the Patriarca standard is obvious.

  Decisions    about   prospective    jurors'    impartiality    are   for   the

  judge, not for the potential jurors themselves.           See, e.g., United

  States v. Rhodes, 556 F.2d 599, 601 (1st Cir. 1977).             And that is

  because prospective jurors "may have an interest in concealing

  [their] own bias" or "may be unaware of it."            Smith v. Phillips,

  455 U.S. 209, 221-22 (1982) (O'Connor, J., concurring); see also

  Sampson v. United States, 724 F.3d 150, 164 (1st Cir. 2013)

  ("Sampson II") (emphasizing that "a person who harbors a bias may

  not appreciate it and, in any event, may be reluctant to admit her

  lack of objectivity").      So asking them only "whether they had read

  anything that might influence their opinion" does not suffice, for

  that question "in no way elicit[s] what, if anything," they have

  "learned, but let[s] [them] decide for themselves the ultimate




        28This standard has endured for 50-plus years. See Am. Bar
  Ass'n, Fair Trial and Public Discourse, Standard 8-5.4 (2016)
  (stating that "[i]f it is likely that any prospective jurors have
  been exposed to prejudicial publicity, they should be individually
  questioned to determine what they have read and heard about the
  case and how any exposure has affected their attitudes toward the
  trial"),                        available                       at
  https://www.americanbar.org/groups/criminal_justice/standards/cr
  imjust_standards_fairtrial_blk/ (last visited July 23, 2020).
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  question whether what they [have] learned had prejudiced them."

  Rhodes, 556 F.2d at 601.

              With these principles in mind, we have held that a judge

  in a high-profile case "fully complied with" Patriarca by asking

  potential jurors if they "had read or heard anything about the

  case in the newspapers, on television[,] or radio" — and if so, by

  "prob[ing] further as to the extent of such knowledge." See United

  States v. Medina, 761 F.2d 12, 20 (1st Cir. 1985) (emphasis added).

  We have also found "no inconsistency" with Patriarca when a judge

  in   another   high-profile     case   "asked   the   prospective    jurors,

  collectively," if they "had heard 'anything at all' about the case"

  — and then asked those who had "to recount" at side bar "all that

  [they] knew about the case."       See Vest, 842 F.2d at 1332 (emphasis

  added).    And we have held that a judge in yet another high-profile

  case satisfied Patriarca when he asked potential jurors if they

  "had seen or read anything about the case" — and then asked those

  who had about "the circumstances under which [they] had been

  exposed to publicity."      See United States v. Orlando-Figueroa, 229

  F.3d 33, 43 (1st Cir. 2000) (emphasis added).

              Despite his best intentions, Dzhokhar's judge did not

  meet the Patriarca standard, however — even though the case met

  Patriarca's conditions for requiring extensive inquiry.            Dzhokhar,

  do not forget, "request[ed]" voir dire on the contents of the

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  material that the potential jurors had seen.            See Patriarca, 402

  F.2d at 318.      And there was "a significant possibility" that the

  prospective jurors had been "exposed to potentially prejudicial

  material."    See id.    Again, the pervasive coverage of the bombings

  and the aftermath featured bone-chilling still shots and videos of

  the Tsarnaev brothers carrying backpacks at the Marathon, of the

  maimed and the dead near the Marathon's finish line, and of a

  bloodied Dzhokhar arrested in Watertown (to name just a few).

  Also, while the media (social, cable, internet, etc.) gave largely

  factual accounts, see Tsarnaev II, 780 F.3d at 21-22, some of the

  coverage included inaccurate or inadmissible information — like

  the details of his un-Miranda-ized hospital interview and the

  opinions of public officials that he should die.

               With Patriarca's prerequisites satisfied, the judge had

  to ascertain not just the "degree" but the "kind" of "exposure to

  the   case   or   the   parties"    that    the   prospective    jurors   had

  experienced, see 402 F.2d at 318 — that is, "what [they] ha[d]

  read and heard about the case," see Am. Bar Ass'n, Standards

  Relating to Fair Trial and Free Press § 3.4(a), at 130 (cited in

  Patriarca, 402 F.2d at 318).       But as to 9 of the 12 seated jurors,

  the judge fell short on this front.               To repeat what we wrote

  earlier, the judge qualified jurors who had already formed an

  opinion that Dzhokhar was guilty — and he did so in large part

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  because they answered "yes" to the question whether they could

  decide this high-profile case based on the evidence.             The defense

  warned the judge that asking only general questions like that would

  wrongly "make[]" the potential jurors "judge[s] of their own

  impartiality" — the exact error that the Patriarca line of cases

  seeks to prevent. But the judge dismissed the defense's objection,

  saying     that   "[t]o   a   large   extent"   jurors   must   perform   that

  function.     Yet by not having the jurors identify what it was they

  already thought they knew about the case, the judge made it too

  difficult for himself and the parties to determine both the nature

  of any taint (e.g., whether the juror knew something prejudicial

  not to be conceded at trial) and the possible remedies for the

  taint.     This was an error of law and so an abuse of discretion.

  See Connolly, 504 F.3d at 211-12; see also Mangual v. Rotger-

  Sabat, 317 F.3d 45, 61 (1st Cir. 2003) (echoing the truism that

  "[i]t is an abuse of discretion for the district court to apply an

  erroneous standard of law").

               The government offers a number of arguments to the

  contrary.     But none of them changes the result.

               The government first argues that the Patriarca language

  we bank on is "dicta."29       True, the pertinent appellate claim there


         "Dictum" — the singular of "dicta" — "is a term that judges
        29

  and lawyers use to describe comments relevant, but not essential,
  to the disposition of legal questions pending before a court."
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  concerned a venue-change denial.         See 402 F.2d at 315.      But after

  rejecting that claim, we "fe[lt] bound" to address the sufficiency

  of the voir dire — which we did by stating that in high-profile

  cases, district judges "should proceed to examine each prospective

  juror . . . with a view to eliciting the kind and degree of his

  exposure to the case."        Id. at 318 (emphasis added).          And as a

  later case confirms, Patriarca intended to and does state "the

  standards of this circuit."        See Medina, 761 F.2d at 20 (emphasis

  added).    So the government's dicta argument does not work.

              Nor does the government's suggestion that the voir dire

  here actually "elicit[ed] the kind and degree" of the potential

  jurors' exposure to the case. In making this claim, the government

  (paraphrasing the questionnaire) notes that prospective jurors had

  to   disclose   "what   newspapers,    radio   programs,    and   television

  programs [they] viewed and with what frequency, as well as how

  much media coverage [they] had seen about the case."                And that

  suffices, the government says, because we have not read Patriarca

  to require content-specific questioning.            But this is wrong for

  several reasons.      For one thing, learning that prospective jurors

  read, say, the Boston Globe daily and have seen a lot of coverage




  See Doughty v. Underwriters at Lloyd's, London, 6 F.3d 856, 861
  (1st Cir. 1993), abrogated on other grounds by Quackenbush v.
  Allstate Ins. Co., 517 U.S. 706 (1996).
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  about the case is not the same as learning that they read Globe

  articles    quoting    civic   leaders       saying   Dzhokhar      should      die   —

  statements    that    could    not      constitutionally      be    admitted      into

  evidence.     See Bosse v. Oklahoma, 137 S. Ct. 1, 2 (2016) (per

  curiam).     For another thing, the government's rejoinder rests on

  a misreading of Patriarca — an opinion that does require inquiry

  into what information potential jurors have been exposed to.

  Again, Patriarca endorsed the ABA's standards calling for content-

  specific questioning "for the purpose of determining what the

  prospective juror has read and heard about the case."                      Also and

  critically,    post-Patriarca           caselaw   clarified    that    the      defect

  Patriarca aimed to cure was delegating to prospective jurors the

  job of evaluating their impartiality — a defect that content-

  specific    questioning     can    fix.      See   Vest,   842      F.2d   at    1332.

  Consider Vest.     Following the correct approach, the district judge

  there did not ask potential jurors "to decide for themselves the

  'ultimate question' of impartiality" — instead, "once a juror

  admitted to any knowledge of the case," the judge "individually

  questioned" him or her "as to the facts and extent of such

  knowledge."           Id.         And     contrary    to      the     government's

  characterization, Vest concerned not just individual versus group

  voir dire, but also content-specific versus noncontent-specific

  questioning.

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               Quoting Mu'Min, the government then makes its biggest

  argument — namely, that this post-Patriarca opinion by the Supreme

  Court (emphasis ours) "rejected the argument that the Constitution

  requires    [judges]    to   question   prospective    jurors    'about   the

  specific contents of the news reports to which they had been

  exposed.'"    But there is a major flaw in the government's theory.

  Mu'min arose on direct review of a state-court criminal conviction

  — which meant the Supreme Court's "authority" was "limited to

  enforcing the commands of the [federal] Constitution."              500 U.S.

  at 422 (emphasis added).        Dzhokhar, contrastingly, was "tried in

  federal court[]" — and thus was "subject to" the "supervisory

  power" of the federal appellate courts.         See id. (emphasis added).

  And this distinction makes all the difference, because "[w]e enjoy

  more latitude in setting standards for voir dire in federal courts

  under our supervisory power than we have in interpreting" the

  federal Constitution "with respect to voir dire in state courts."

  See id. at 424 (italics omitted); see also Kater v. Maloney, 459

  F.3d 56, 66 n.9 (1st Cir. 2006) (noting that Mu'Min "carefully

  distinguished between constitutional requirements which states

  must meet and the exercise of its broader supervisory authority

  over cases tried in federal courts").

               Patriarca did not say that the endorsed standard sprang

  from the Constitution.       And neither did Patriarca explicitly say

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  that it emanated from our supervisory powers — yet we see plenty

  of signs that it did indeed emanate from that source.                             For

  starters, neither side in Patriarca made voir dire an issue.                      And

  it     is   highly    unlikely     that   we    would   have      engaged    in     a

  constitutional excursion without prompting by the parties.                    Also

  and     relatedly,       given     the     well-entrenched         doctrine        of

  constitutional avoidance, it is equally unlikely that we would

  have gone out of our way to issue a constitutional decision.                      See

  Am. Foreign Serv. Ass'n v. Garfinkel, 490 U.S. 153, 161 (1989)

  (per    curiam)      (explaining   that   the    doctrine    counsels       against

  issuing "unnecessary constitutional rulings").                   Plus as we have

  noted, Patriarca relied on the ABA standards.             And those standards

  are    meant   as     templates    for    courts,   not     as    constitutional

  pronouncements.        Cf. Br. of Am. Bar Ass'n as Amicus Curiae at 2,

  Martinez v. Ryan, 566 U.S. 1 (2011) (No. 10-1001), 2011 WL 3584754,

  at *2 (explaining that the ABA Standards for Criminal Justice

  "represent a collection of 'best practices' based on the consensus

  views of a broad array of professionals involved in the criminal

  justice system").         Mu'Min itself recognized that other federal

  appellate courts have mandated content-specific questioning in the

  exercise of their discretionary supervisory powers, not as a matter




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  of constitutional law.      See 500 U.S. at 427.30      One of those courts

  — the Fifth Circuit — later specifically said that "Mu'Min does




         The Mu'Min majority cited United States v. Davis, 583 F.2d
         30

  190 (5th Cir. 1978); United States v. Dellinger, 472 F.2d 340 (7th
  Cir. 1972); and Silverthorne v. United States, 400 F.2d 627 (9th
  Cir. 1968). See Mu'Min, 500 U.S. at 426. The lead Mu'Min dissent
  added United States v. Addonizio, 451 F.2d 49 (3d Cir. 1971), to
  that list. See Mu'Min, 500 U.S. at 446 (Marshall, J., dissenting).
  Here is a sampling of those cases' key statements:
        Because "the nature of the publicity as a whole raised a
         significant possibility of prejudice," the district court
         "should have determined what in particular each juror had
         heard or read and how it affected his attitude toward the
         trial, and should have determined for itself whether any
         juror's impartiality had been destroyed." Davis, 583 F.2d at
         196.
        Because "the publicity surrounding the instant case was
         tremendous," creating a "possibility" that prospective jurors
         "had formed opinions before they entered the courtroom," the
         district court "had a duty to inquire into pretrial publicity
         on voir dire" — and the court's "general inquiry into whether
         there was any reason [they] could not be fair and impartial
         . . . was not expressly pointed at impressions [they] may
         have gained from reading or hearing about the relevant
         events." Dellinger, 472 F.2d at 375.
        "[W]hether a [prospective] juror can render a verdict based
         solely on evidence adduced in the courtroom should not be
         adjudged on [his] own assessment of self-righteousness" — and
         given the amount of pretrial publicity, the district court
         should have made "a careful, individual examination of each
         of the jurors involved, out of the presence of the remaining
         jurors, as to the possible effect of the articles" they had
         read.    Silverthorne, 400 F.2d at 639 (quotation marks
         omitted).
        Invoking "our supervisory powers over the district courts in
         this circuit, . . . we recommend" that district judges ask
         content-specific questions in cases involving "a significant
         possibility that [prospective jurors] will be ineligible to
         serve because of exposure to potentially prejudicial
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  not abrogate" that court's earlier holding "that, where pretrial

  publicity creates a significant possibility of prejudice, the

  district court must make an independent determination of the

  impartiality of jurors."       United States v. Beckner, 69 F.3d 1290,

  1292 n.1 (5th Cir. 1995) (discussing Davis).

              The government also defends some (not all) of the judge's

  reasons for declining to ask content-specific questions.                  But

  concerns about "unmanageable data" from content-specific questions

  — in a case where 1,373 prospective jurors each completed a 100-

  question questionnaire and the judge designated 21 days for voir

  dire — seem misplaced.      So too does any fear that content-specific

  questioning could accidentally create bias where none existed.             If

  potential jurors recall a particular piece of reporting well enough

  to bring it up at voir dire, and the reporting is prejudicial,

  then potential bias was already present.          Far from "reinforc[ing]

  potentially        prejudicial        information,"        content-specific

  questioning would have brought such material front and center.

  The parties and the judge could then assess the publicity's effect

  on the prospective jurors' ability to reach a fair verdict, thus

  putting the judge in a position to take any necessary measures to

  protect Dzhokhar's fair-trial rights.



        material."      Addonizio,    451   F.2d   at   67   (quotation   marks
        omitted).
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                 Patriarca was a noncapital case, unlike Dzhokhar's.                   And

  the pretrial publicity in Patriarca pales in comparison to the

  pretrial publicity surrounding Dzhokhar's case.                    Surely then, with

  his life at stake, Dzhokhar deserved the type of voir dire that

  Patriarca calls for.          See generally Sampson II, 724 F.3d at 159-

  60   (suggesting      that    protections      are    generally         heightened   in

  capital cases, because death is different from other kinds of

  penalties).

                 In denying Dzhokhar mandamus relief on the venue-change

  issue,    it    is   reasonable     to     infer   that     the       mandamus   panels

  reasonably expected that the judge would conduct the kind of

  searching       voir-dire    inquiry       required    by    our      caselaw.       But

  regrettably, we conclude that his efforts fell short for the

  reasons just stated.           Dzhokhar's appellate counsel admitted at

  oral argument that this error was harmless at the guilt stage,

  given his trial concession (through his trial lawyer) that he had

  done what the government accused him of doing.                         The government

  suggests that "any error was harmless" at the penalty stage too,

  because prospective jurors said that they could serve impartially.

  Not only does the government push a theory that clashes with our

  caselaw    —    caselaw     that   again    says   that     in    a    situation   like

  Dzhokhar's, a judge cannot delegate to potential jurors the work

  of judging their own impartiality.                    But the government never

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  explains how its flawed argument proves the error's harmlessness

  beyond     a   reasonable    doubt.       See    18   U.S.C.      § 3595(c)(2)(C)

  (providing that "[t]he court of appeals shall not reverse or vacate

  a sentence of death on account of any error which can be harmless"

  if "the [g]overnment establishes beyond a reasonable doubt that

  the error was harmless").31            So the government's harmless-error

  theory is a nonstarter.

                 Given our ruling that the judge's Patriarca-based error

  demands vacatur of the death sentences,32 the remaining issues

  listed above (in the "Basic Appellate Arguments" section) require

  only the briefest discussion — but discussion nevertheless, at

  least on matters that may arise again on remand.

                 Regarding   Dzhokhar's    claim    that     #138   and   #286   lied

  during voir dire, we repeat a point made in our caselaw again and

  again (and again) because it is so very important to our system of

  justice:       If a defendant "com[es] forward" at any point in the

  litigation      process    "with   a   'colorable     or    plausible'"    juror-

  misconduct claim, "an 'unflagging duty' falls to the district court



        31Proof beyond a reasonable doubt is evidence that lets a
  rational "factfinder . . . reach a subjective state of near
  certitude of the guilt of the accused." See Victor v. Nebraska,
  511 U.S. 1, 15 (1994) (quoting Jackson v. Virginia, 443 U.S. 307,
  315 (1979)).
         Vacatur is "[t]he act of annulling or setting aside."
        32                                                                       See
  Vacatur, Black's Law Dictionary (11th ed. 2019).
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  to investigate the claim."       United States v. French, 904 F.3d 111,

  117 (1st Cir. 2018) (quoting United States v. Zimny, 846 F.3d 458,

  464 (1st Cir. 2017)), cert. denied sub nom. Russell v. United

  States, 139 S. Ct. 949 (2019).        See generally Sampson II, 724 F.3d

  at 169 (stressing that "[j]urors who do not take their oaths

  seriously threaten the very integrity of the judicial process").

  But our decision on the content-specific-questioning issue makes

  it unnecessary to address the misconduct charge.33

              And that same ruling also makes it unnecessary to touch

  on Dzhokhar's argument that the judge wrongly excused #355 for his

  views on the death penalty.

              That leaves us with Dzhokhar's claim that the judge kept

  him from asking case-specific death-penalty questions critical to

  seating an impartial jury — questions like whether potential jurors

  could consider mitigating circumstances on the ultimate life-or-

  death issue, given "the specific allegations in his case:                 the

  killing of multiple victims, one of them a child, in a premediated



        33Citing French, 904 F.3d at 120, Dzhokhar briefly argues
  that any error regarding juror misconduct would require vacatur of
  his convictions as well as the death sentence. But this case is
  unique in that Dzhokhar's counsel admitted his guilt in the opening
  and closing statements of the trial's guilt phase, and he has not
  argued that he would have used a different trial strategy in
  another venue or before a different jury. At oral argument here,
  Dzhokhar's lawyer conceded that this guilt admission would allow
  us to affirm the convictions despite the alleged juror-misconduct
  error — or any other error, including venue. We agree.
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  act of terrorism."         On this issue — which also gets abuse-of-

  discretion review, see Casanova, 886 F.3d at 60 — it is enough for

  us to say that even assuming without deciding that the judge had

  to inform prospective jurors of certain case-specific facts, he

  did do so here.       Recall the judge's preliminary instructions to

  prospective jurors before they filled out the questionnaires —

  that Dzhokhar was "charged in connection with events that occurred

  near the finish line of the Boston Marathon . . . that resulted in

  the deaths of three people."               Recall too the questionnaires'

  "summary of the facts of this case" — that "two bombs exploded

  . . . near the Boston Marathon finish line[,] . . . kill[ing]

  Krystle Marie Campbell (29), Lingzi Lu (23), and Martin Richard

  (8), and injured hundreds of others"; that "MIT Police Officer

  Sean Collier (26) was shot to death in his police car"; and that

  Dzhokhar "has been charged with various crimes arising out of these

  events."      And like the judge, we think that because potential

  jurors     knew   these   details,   the    voir   dire   adequately   covered

  Dzhokhar's case-specific questions.34



        34Dzhokhar argues that Ham v. South Carolina, 409 U.S. 524
  (1973), prevents us from so holding. We see things differently,
  however.
       The state in Ham tried a locally known African-American civil-
  rights activist on a marijuana-possession charge. Id. at 524-25.
  He defended on the theory that the police had framed him as payback
  for his civil-rights work.         Id. at 525.       Despite these
  circumstances, the trial judge denied his request that voir dire
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              Having said all that needs saying on these subjects, we

  press on — for the reader's information, everything from here on

  out until we reach the crime-of-violence issue also falls within

  the category of issues that could easily reappear on remand.




  include questions aimed at racial prejudice. Id. at 525-26 & n.2
  (noting that the proposed questions asked whether prospective
  jurors could "fairly try this case on the basis of the evidence
  and disregarding the defendant's race," whether they had "no
  prejudice against negroes" or "[a]gainst black people," and
  whether they "would . . . be influenced by the use of the term
  'black'"). The Supreme Court later reversed his conviction because
  "the essential fairness required by the Due Process Clause of the
  Fourteenth Amendment requires that under the facts shown by this
  record [he] be permitted to have the jurors interrogated on the
  issue of racial bias." Id. at 527.
       Dzhokhar notes that the state's brief there had argued that
  the judge's general "bias or prejudice" question sufficed because
  the defendant was "within sight" of the prospective jurors, who
  could discern his race — which, according to the state, made the
  specific questions about race redundant and thus unnecessary. See
  Br. for Resp., Ham, 409 U.S. 524 (No. 71-5139), 1972 WL 135829, at
  *3-4. And by Dzhokhar's account, the Supreme Court's reversal of
  Ham's conviction "establishes that a [prospective juror's]
  awareness of facts which could give rise to potential bias, coupled
  with general questions about bias, do not obviate a particularized
  investigation into prejudice." Extrapolating from this reading,
  he argues that Ham shows the judge legally erred by deeming case-
  specific questions about prospective jurors' death-penalty views
  unnecessary because of what they already knew about the case. The
  simplest response is that the Ham Court never addressed the state's
  argument that a general question sufficed. So Ham does not help
  his cause.   See generally Ristaino v. Ross, 424 U.S. 589, 596
  (1976) (emphasizing that "[b]y its terms, Ham did not announce a
  requirement of universal applicability").
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                            Mitigation Evidence About
                       Tamerlan's Possible Homicidal Past

                  We shift our focus to Dzhokhar's claim that the judge

  damaged the defense's mitigation case by barring evidence tying

  Tamerlan to a triple murder in 2011, and by keeping the defense

  from seeing a confession Tamerlan's friend made to the FBI about

  how he and Tamerlan had committed those crimes.

                                    Background

                  On September 11, 2011 — the tenth anniversary of the

  9/11 terrorist attacks — someone (or a number of someones) robbed

  and   killed      three   drug   dealers   in   an   apartment   in   Waltham,

  Massachusetts.        All three were found bound, with their throats

  slit.        These crimes remain unsolved to this day.

                  Fast forward to 2013.   Soon after the Marathon bombings,

  federal and state law-enforcement officers interviewed Tamerlan's

  friend, Ibragim Todashev — a mixed-martial-arts fighter who had

  come to the United States from Chechnya in 2008 and met Tamerlan

  shortly afterwards.35       Officers interviewed Todashev, then living



         Perhaps this is as good a place as any to say a few words
          35

  about Dzhokhar's family background, as best we can discern it from
  the record.
       Dzhokhar and Tamerlan's father, Anzor, is of Chechen ancestry
  born in Kyrgyzstan. Their mother, Zubeidat, is of Avar ancestry
  born in Dagestan. She and Anzor met as teenagers in Siberia in
  the early 1980s — she was there living with her brother, and he
  was stationed there with the Soviet Army. The two later married
  and moved around a bit, living in Siberia, Chechnya, Dagestan, and
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  in Florida, four separate times in April and May.             The first two

  interviews focused on his relationship with Tamerlan and his

  possible knowledge of the bombings.          At some point, agents began

  suspecting that Todashev had a hand in the 2011 murders.               During

  the final interview on May 21, Todashev said he knew something

  about the murders and asked if he could get a deal for cooperating.

              After waiving his Miranda rights, Todashev gave the

  following account.       Tamerlan recruited Todashev to rob the men.

  They drove to a Waltham apartment, held the men at gunpoint (with

  a gun Tamerlan had brought), beat them, and bound them with duct

  tape.   Not wanting to leave any witnesses, Tamerlan cut each man's

  throat while Todashev waited outside (Todashev did not want any

  part of the throat cutting, apparently).              Tamerlan then waved

  Todashev back in to help remove all traces of evidence.

              Todashev agreed to write out a confession.             But as he

  was doing so, he attacked the agents — one of whom shot and killed

  him.    The FBI documented Todashev's statements in memos known as

  302 reports.     And a state trooper recorded most of his statements


  Kyrgyzstan (for example). During this time, they had four children
  — including Tamerlan (in 1986) and Dzhokhar (in 1993).
       In 2002, with the region embroiled in a bloody war with
  Russia, Anzor, Zubeidat, and Dzhokhar emigrated from Kyrgyzstan to
  the United States — specifically, to Cambridge, Massachusetts.
  Dzhokhar's other siblings joined them in 2003. Anzor and Zubeidat
  returned to Russia in 2012, leaving Dzhokhar in the United States
  with Tamerlan.
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  at his final interview.            The Florida attorney general's office

  investigated the circumstances of Todashev's death and found the

  agent had acted reasonably in using deadly force.

                  Dzhokhar's lawyers repeatedly asked the judge pretrial

  to make the government produce all reports and recordings of

  Todashev's statements about the Waltham crimes, either directly to

  them or to the judge for an in-camera inspection.36              The government

  opposed each of the defense's motions, arguing that the sought-

  after materials were not discoverable under the federal or local

  criminal rules or under Brady v. Maryland, 373 U.S. 83 (1963), and

  were protected by the law enforcement investigatory privilege.37

  In the government's telling, because prosecutors had informed the

  defense that Tamerlan had "participated in the Waltham triple

  homicide," it did not have to disclose the actual reports and

  recordings.        After inspecting some of the items in camera, the

  judge        refused   to   disclose   any   of   the    materials   documenting

  Todashev's        statements.      Agreeing       with   the   government   that




         In camera means "in a chamber."
          36                                         See In Camera, Black's Law
  Dictionary (11th ed. 2019).
         Basically, this judge-devised doctrine sometimes keeps the
          37

  government from having to turn over materials law enforcement has
  for use in criminal investigations — "sometimes," however, is a
  tip-off that the privilege is not absolute, since it can be
  overridden in appropriate cases by a party's need for the
  privileged items. See, e.g., Puerto Rico v. United States, 490
  F.3d 50, 64 (1st Cir. 2007).
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  prosecutors     had       "conveyed     the    fact    and   general    substance     of

  Todashev's statements," the judge said that the FBI's 302 report

  of Todashev's final interview did "not materially advance [the

  mitigation]         theory   beyond     what    is     already    available      to   the

  defense."           The   judge   also     said       that   disclosing   Todashev's

  statements "risk[ed] revealing facts seemingly innocuous on their

  face, such as times of day or sequences of events," that "would

  have   a     real    potential     to    interfere       with    the   ongoing    state

  investigation."

                While all this was going on, a lawyer representing

  Dzhokhar's college friend Dias Kadyrbayev — who faced prosecution

  for hiding Dzhokhar's backpack and computer — told the government

  that   his    client      "may    be    able   to     provide"   some   information,

  including that "Kadyrbayev learned in the fall of 2012 from

  Dzhokhar . . . that Tamerlan . . . was involved in the Waltham

  murders" and that "Dzhokhar . . . told Kadyrbayev that [Tamerlan]

  'had committed jihad' in Waltham."                      The government disclosed

  Kadyrbayev's lawyer's proffer to Dzhokhar's counsel.

                Anyway, because of the judge's rulings, the defense

  never learned key details about the murders (as disclosed by

  Todashev) — including:

        Tamerlan brought the "tools" he and Todashev used to commit

         the crimes (a gun, knives, duct tape, cleaning supplies).

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        Tamerlan and Todashev got into the apartment because Tamerlan

         knew one of the victims, Brendan Mess — Tamerlan and Mess

         were close childhood friends.

        Tamerlan had Todashev duct tape one of the victim's hands and

         feet.    And Tamerlan duct taped the others.

        Tamerlan beat Mess to try to get him to say where more money

         was in the apartment.

        Todashev had agreed with Tamerlan to rob the men.            But after

         they had bound and robbed them, Tamerlan decided to kill the

         men — a decision that made Todashev shake with nerves, because

         while he did not want to participate in the murders, he felt

         he "had to" since he "did not have a way out."

        Tamerlan slashed each man's throat.

        Tamerlan    gave   Todashev   $20,000   from   the   money   they   had

         stolen.38

                 The government later moved in limine to bar Dzhokhar

  from introducing any evidence about the Waltham murders at the

  guilt or penalty phases.39        Among other theories, the government



         Following an order from us, authorized counsel got to review
         38

  the in-camera materials for the first time.
         In limine means "at the outset" — "a motion . . . raised
         39

  preliminarily, esp[ecially] because of an issue about the
  admissibility of evidence believed by the movant to be
  prejudicial."  See In-Limine, Black's Law Dictionary (11th ed.
  2019).
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  called Todashev's statements about Tamerlan's role "unreliable"

  since he had an obvious motive to pin the murders on someone else

  (what the government did not tell the judge, however, was that

  agents had previously relied on Todashev's statements in applying

  for   a   search   warrant     to   look    for   evidence    from    the    Waltham

  homicides in Tamerlan's car).              The government also argued that,

  apart from Todashev's statements, it had no "evidence that Todashev

  and/or Tamerlan . . . actually participated in the Waltham triple

  homicides."        The   government     further     claimed    that     Todashev's

  statements    should     not   come   in    because   he     "cannot    be   cross-

  examined," because he "obviously was not of sound mind" since he

  attacked armed agents, and because admitting this evidence would

  confuse the jurors by opening the door to "a great deal of

  information having nothing to do with" Dzhokhar's crimes.                    And the

  government claimed that "[t]here's no evidence that the defense

  can point to anywhere, including . . . Todashev's own statement,

  that Tamerlan . . . controlled him in any way."

              Dzhokhar's lawyers argued in opposition that evidence

  showing    Tamerlan's     having      committed     the    crimes      was   highly

  probative of the brothers' respective roles in the bombings and

  was sufficiently reliable to be admitted under the evidentiary

  standards applicable at the penalty phase.                   They also stressed

  that whether to credit Todashev's statements was for the jury.

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               The judge orally granted the government's in-limine

  motion, finding that "there simply is insufficient evidence to

  describe what participation Tamerlan may have had" in the Waltham

  murders.     From his check of the evidence — which "include[d] an

  in-camera review of some Todashev 302s," but not the recordings of

  the confession — the judge thought that "it [was] as plausible

  . . . that Todashev was the bad guy and Tamerlan was the minor

  actor."    So the judge concluded that the murder evidence "would be

  confusing to the jury and a waste of time, . . . without any

  probative value."

               Dzhokhar's mitigation theory portrayed him as influenced

  by Tamerlan to take part in the Marathon bombings.               "[I]f not for

  Tamerlan,"    said   his    lawyer   to   the    penalty-phase    jury,   "this

  wouldn't have happened."        And the defense sought to prove several

  mitigating factors about their relationship and their relative

  culpability — including:

         Dzhokhar "acted under the influence of his older brother";

         "because of Tamerlan's age, size, aggressiveness, domineering

          personality, [and] privileged status in the family," Dzhokhar

          "was particularly susceptible to his . . . influence";

         "Dzhokhar['s]   .   .   .   brother     Tamerlan   planned,   led,   and

          directed the Marathon bombing[s]";



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         "Dzhokhar . . . would not have committed the crimes but for

          his older brother Tamerlan"; and

         "Tamerlan . . . became radicalized first, and then encouraged

          his younger brother to follow him."

  Without the Waltham evidence, the defense supported its mitigation

  theory with testimony like:

         Tamerlan became radicalized first, began proselytizing his

          views, and sent jihadi materials to Dzhokhar;

         the oldest brother in a Chechen family like the Tsarnaevs

          usually    receives   deference    (an   associate   professor     from

          Princeton University testified that "it's expected that the

          younger brothers will listen to the older brother");

         Tamerlan occasionally broke the rules of the gym he belonged

          to (he used other members' equipment without asking, for

          instance);

         Tamerlan    sometimes   got    argumentative    at   a   mosque    (for

          example, he twice called the Imam a "hypocrite");

         Tamerlan yelled at a store owner for selling halal turkey for

          Thanksgiving (halal is a term associated with Islamic dietary

          laws); and

         Tamerlan     once   might   have   physically   abused    his     then-

          girlfriend (he later married her).


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              Conversely, the government tried to convince the jury

  that Dzhokhar should die because he and Tamerlan were equally

  culpable in the bombings and that Tamerlan had played no role in

  Dzhokhar's decision to participate.         During the penalty phase, the

  government argued that the defense's mitigation evidence consisted

  of little more than "testimony that Tamerlan was bossy."                  The

  government also described Tamerlan as a "handsome," "charming,"

  "loud" guy who "sometimes lost his temper."             And the government

  implored the jurors to "ask [themselves] if there's anything about

  Tamerlan . . . that will explain . . .           how Dzhokhar . . . could

  take a bomb, leave it behind a row of children, walk . . . down

  the street, and detonate it." Insisting that no evidence supported

  the notion that Tamerlan had "coerced or controlled" Dzhokhar, the

  government labeled the brothers "a partnership of equals" and so

  "bear the same moral culpability for what they did."

                          Basic Appellate Arguments

              Dzhokhar presents essentially two arguments about the

  judge's handling of the Waltham evidence.          The first claim is that

  the judge violated his right to present a complete mitigation

  defense by keeping from the jury major proof of Tamerlan's brutal

  past, his ability to enlist others in acts of extreme cruelty, and

  thus his relative culpability — an error the government exploited

  by distorting Tamerlan's character and suggesting no evidence

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  showed his influence over Dzhokhar.             The second claim is that the

  judge violated his Brady rights by refusing to give the defense a

  302 report and recordings of Todashev's confession — evidence that,

  "if presented," would have shown "why Tamerlan was to be feared,

  and his ability to influence others to commit horrific crimes."

               The government takes a different view of the matter.

  According to the government, the Waltham evidence was not relevant

  mitigation evidence because nothing suggests Tamerlan's alleged

  commission of the Waltham crimes had any link to Dzhokhar's

  commission of the crimes here.          And, says the government, even if

  the Waltham evidence had some slight relevance, the judge rightly

  excluded    it   because    the   risks    of    confusing    the    issues    and

  misleading the jury outweighed any probative worth. The government

  also thinks that any error by the judge was harmless beyond a

  reasonable       doubt     because      "overwhelming[]"      evidence        (the

  government's word) showed Dzhokhar willingly engaged in the crimes

  charged    here.      Wrapping    up,     the    government   says    that    the

  undisclosed "information was not discoverable under Brady" and

  "was subject to the law enforcement privilege."

                                       Analysis

               We give abuse-of-discretion review to preserved disputes

  over whether the judge wrongly excluded mitigating evidence at the

  penalty phase, showing "great deference" to his balancing of the

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  evidence's probative worth against its possible prejudice.                See

  United States v. Sampson, 486 F.3d 13, 42 (1st Cir. 2007) ("Sampson

  I").40     We   also   give   abuse-of-discretion    review    to   preserved

  disputes over whether the judge wrongly kept Brady material from

  the defense.     See United States v. Bulger, 816 F.3d 137, 153 (1st

  Cir. 2016).

              With these preliminaries out of the way, we turn to

  Dzhokhar's first claim: that the judge committed prejudicial error

  by keeping the Waltham evidence from the jury at the penalty phase.

              Because it is "desirable for the jury to have as much

  information before it as possible when it makes the sentencing

  decision," the Supreme Court has for years said that if "the

  evidence introduced and the arguments made . . . do not prejudice

  a defendant, it is preferable not to impose restrictions."              Gregg

  v. Georgia, 448 U.S. 153, 203-04 (1976).         So a defendant convicted

  of capital crime has a constitutional right to put before the jury,

  "as a mitigating factor, any aspect of [his] character or record

  and any of the circumstances of the offense that [he] proffers as



         Dzhokhar argues that we owe no deference because the judge
        40

  "reviewed only the summary 302 report prepared by the FBI" and not
  "the video and audio recordings themselves." But the two cases he
  cites do not help him, because the judges there — unlike the judge
  here — denied discovery without reviewing any of the at-issue
  materials. See United States v. Rosario-Peralta, 175 F.3d 48, 55
  (1st Cir. 1999); United States v. Buford, 889 F.2d 1406, 1407 (5th
  Cir. 1989).
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  a basis for a sentence less than death."                Lockett v. Ohio, 438

  U.S. 586, 604 (1978) (plurality opinion); see also Eddings v.

  Oklahoma, 455 U.S. 104, 110 (1982) (adopting the rule announced by

  the Lockett plurality).          Mitigating factors include aspects of

  "the defendant's background, record, or character or any other

  circumstance of the offense that mitigate against imposition of

  the death sentence," see 18 U.S.C. § 3592(a)(8) — like, for

  instance, information bearing on the extent and nature of each

  defendant's role in the charged crime, see Green v. Georgia, 442

  U.S. 95, 97 (1979) (finding a constitutional violation where the

  judge excluded penalty-phase evidence showing a codefendant's

  primary role).

              This   standard      is   broad,   reflecting     the   idea    "that

  punishment should be directly related to the personal culpability

  of the criminal defendant."           See Penry v. Lynaugh, 492 U.S. 302,

  319 (1989), abrogated on other grounds by Atkins v. Virginia, 536

  U.S. 304 (2002); see also Enmund v. Florida, 458 U.S. 782, 801

  (1982)   (emphasizing     that    "punishment    must    be   tailored     to    [a

  defendant's]     personal   responsibility      and   moral    guilt").         And

  consistent with this lenient approach, mitigating information need

  not be admissible under the rules of evidence to get in.                   See 18

  U.S.C. § 3593(c).      All of which is why the normally low relevance

  threshold in noncapital cases is lower still when it comes to

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  mitigation     evidence    in    capital   cases:       Relevant   "mitigating

  evidence" encompasses any "evidence which tends logically to prove

  or disprove some fact or circumstance which a fact-finder could

  reasonably deem to have mitigating value."               See Smith v. Texas,

  543 U.S. 37, 44 (2004).         Once this modest "threshold . . . is met,"

  the Constitution "'requires that the jury be able to consider and

  give effect to' a capital defendant's mitigating evidence."                  See

  Tennard v. Dretke, 542 U.S. 274, 285 (2004) (quoting Boyde v.

  California, 494 U.S. 370, 377-78 (1990)); see also Green, 442 U.S.

  at 97 (holding that a "mechanistic[]" use of the hearsay rule to

  keep a capital defendant from introducing mitigating evidence at

  sentencing in a capital case offends due process (quotation marks

  omitted)).

                None of this is code for anything goes, however.          For a

  judge   can    exclude    "information"     if   "its    probative   value    is

  outweighed by the danger of creating unfair prejudice, confusing

  the issues, or misleading the jury."          See 18 U.S.C. § 3593(c); see

  also Sampson I, 486 F.3d at 45 (stating that the "low barriers to

  admission of evidence in a capital sentencing hearing 'do[] not

  mean that the defense has carte blanche to introduce any and all

  evidence that it wishes'" (quoting United States v. Purkey, 428

  F.3d 738, 756 (8th Cir. 2005))).



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                  The government in our case recognized that Dzhokhar's

  penalty-phase defense turned on what Tamerlan's role was.                       Which

  probably explains why in its own penalty-phase arguments, the

  government continually called the brothers equally culpable and

  stressed Tamerlan's lack of influence over Dzhokhar.                       The jurors

  cared about the brothers' relative culpability as well, a point

  made quite clear by their not recommending death for Dzhokhar on

  the capital counts involving Tamerlan's conduct in setting off the

  first        bomb.    And   given    how    the     proceedings   played     out,   the

  probative value of showing that the bombings were not the first

  time Tamerlan committed acts of brutality and persuaded others to

  help him is obvious.            So we cannot agree with the judge that the

  Waltham evidence lacks (emphasis ours) "any" probative force.

                  Inspired by his jihadi beliefs, Tamerlan's lead role in

  the   Waltham        killings    —   felonies       (according    to   the   kept-out

  evidence) that he committed without Dzhokhar — makes it reasonably

  more likely that he played a greater role in the crimes charged

  here than Dzhokhar.41 And as we said a moment ago, evidence showing

  a defendant's minor role in the offense is relevant mitigating

  evidence under the rule broadcast in Lockett.                      See Enmund, 458

  U.S. at 797-98.



          As Dzhokhar tells us in his reply brief, the government
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  never suggests that Tamerlan did not commit the killings.
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               But there is more to be said in Dzhokhar's favor than

  that.

               The    Waltham   evidence     was    also     highly   probative     of

  Tamerlan's ability to influence Dzhokhar.                Because of the judge's

  decisions, Dzhokhar did not present proof showing how he learned

  (months after the fact, per college-acquaintance Kadyrbayev) that

  Tamerlan had butchered the men, one of whom was a close friend —

  actions motivated by Tamerlan's vision of jihad.42                  But evidence

  of this sort could reasonably have persuaded at least one juror

  that Dzhokhar did what he did because he feared what his brother

  might do to him if he refused (and remember, a jury may consider

  any   mitigating     factor   at   least    one    juror    found   proved   by   a

  preponderance of the information).               Or put slightly differently,

  at least one juror could reasonably have found that because of

  what had happened in Waltham, Tamerlan was not just "bossy" (to

  use the prosecutor's word) but a stone-cold killer who got a friend

  to support his fiendish work.            And if Tamerlan could influence

  Todashev     (a    mixed-martial-arts      bruiser    who    followed   Tamerlan

  because he "did not have a way out"), Tamerlan's influence over

  Dzhokhar (his younger brother with no prior history of violence)



          Defense counsel told us at oral argument that once the
          42

  judge granted the government's in-limine motion barring any
  mention of the Waltham crimes, Dzhokhar had no basis for trying to
  get his statements to Kadyrbayev admitted.
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  could        be   even     stronger.43     All     of   which    strengthens       two    of

  Dzhokhar's mitigating factors — his susceptibility to Tamerlan's

  influence, and his having acted under Tamerlan's influence.

                    And despite its hard work, the government's responses do

  not persuade us otherwise.

                    The    government's     lead    argument      is   that    the   Waltham

  evidence          cannot    clear   the   low     relevancy     hurdle      because   that

  evidence (at least in its mind) would have told the jurors nothing

  about the brothers' relative culpability here.                        Not so.      Again,

  Dzhokhar premised his mitigation theory on his being less culpable

  than Tamerlan because he would not have committed the charged

  crimes but for Tamerlan's influence.                       And Tamerlan's earlier

  domineering and deadly acts had relevance to this theory.                                The

  judge admitted other, lesser evidence of Tamerlan's belligerence

  — like his screaming at others for not conforming to his view of

  how a good Muslim should act.                    And the judge did so because he

  deemed that evidence relevant to Tamerlan's "domination."                             Even

  this limited evidence convinced some jurors to find the existence




         Of course, when the government told the judge that he should
          43

  bar the materials because "[t]here's no evidence that the defense
  can point to anywhere, including . . . Todashev's own statement,
  that Tamerlan . . . controlled him in any way," the defense did
  not have Todashev's statement — including his telling comment that
  he felt he "had to" help Tamerlan with the murder clean up because
  he "did not have a way out."
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  of mitigating factors touching on Tamerlan's prior radicalization,

  leadership role in the bombings, and influence over Dzhokhar.             And

  if Tamerlan's yelling at someone for selling halal turkeys had the

  effect of showing his dominance and radicalization, then evidence

  of his having conscripted a friend into a jihad-inspired robbery

  and killing scheme would have increased that effect exponentially.

              The government is wrong to imply that the jury had to

  make leaps of imagination to connect what Tamerlan did in Waltham

  to his influence over Dzhokhar.          If the judge had admitted this

  evidence, the jurors would have learned that Dzhokhar knew by the

  fall of 2012 that Tamerlan had killed the drug dealers in the name

  of jihad.    They also would have known that it was only after these

  killings that Dzhokhar became radicalized as well:                  Evidence

  actually admitted showed that Dzhokhar first flashed signs of

  radicalization — as is obvious from his texts on jihad — after

  spending a holiday break with Tamerlan several weeks or so after

  learning about the Waltham murders.44         So if the jurors had heard

  Todashev's description of how he felt powerless to withdraw from

  the Waltham crimes once Tamerlan chose to turn an armed robbery

  into a triple murder, at least one juror might have found that




        44For example, texting with someone (a friend, presumably)
  about life plans, Dzhokhar wrote: "I wanna bring justice for my
  people."
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  Dzhokhar felt the same way when it came to the bombings in early

  2013.

               And if the judge had admitted the Waltham evidence —

  evidence that shows (like no other) that Tamerlan was predisposed

  to religiously-inspired brutality before the bombings and before

  Dzhokhar's     radicalization45     —   the   defense     could   have   more

  forcefully rebutted the government's claim that the brothers had

  a "partnership of equals."       The Waltham evidence would have helped

  the defense show that Tamerlan inspired his younger brother not

  only to believe in jihad but also to act on those beliefs — just

  as he had in Waltham (again, the government does not suggest that

  Tamerlan did not commit the murders).             Similarly, the evidence

  could have helped the defense counter the government's argument

  that Tamerlan and Dzhokhar "bear the same moral culpability" and

  that Dzhokhar acted "independently" in placing the bomb at the

  finish line — for the evidence showed that Tamerlan, unlike

  Dzhokhar, had a history of horrific violence, which he justified

  as   jihad;    that    Tamerlan,    unlike    Dzhokhar,     had   previously

  instigated, planned, and led brutal attacks; and that Tamerlan,

  unlike Dzhokhar, had influenced a less culpable person (Todashev)

  to participate in murder.


         Think back to how the Waltham murders occurred on the decade
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  anniversary of the 9/11 attacks.
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              The government still could have argued to the jurors —

  as it does to us — that Dzhokhar was nevertheless a willing

  criminal. The government also could have challenged the evidence's

  reliability, arguing that other than his self-serving statement

  about thinking he "had to" help clean up the scene, nothing proves

  Tamerlan bullied Todashev into doing anything.               See 18 U.S.C.

  § 3593(c) (providing that either party can rebut any information

  received at the hearing).         And maybe the government could have

  argued that the evidence undercuts Dzhokhar's mitigation theory —

  saying something like, Tamerlan had to pay Todashev money to get

  him to go along, while Dzhokhar joined on for free; and Todashev

  opted not to kill, while Dzhokhar killed with no reluctance or

  regret.    But all of this goes to weight and credibility and not to

  admissibility — i.e., the effect of Tamerlan's prior violence on

  Dzhokhar's radicalization, on his willingness to go from texting

  to bombing, was something the jurors should have gotten to decide

  for themselves.     See, e.g., United States v. Guzmán-Montañez, 756

  F.3d 1, 9 (1st Cir. 2014) (explaining that "[w]hen the issue lies

  on credibility of the evidence, it is up to the jury to decide"

  and adding that "[t]he factfinder is free to conduct its own

  interpretation of the evidence"); Nelson v. Quarterman, 472 F.3d




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  287, 313 (5th Cir. 2006) (en banc) (noting that the "strength" or

  "sufficiency" of mitigating evidence is for the jury to decide).46

              The government insists that because the circumstances of

  the Waltham killings are too dissimilar to the bombings, the

  Waltham evidence has no relevance here.           But in both situations,

  Tamerlan committed murder with help from someone who gave no prior

  sign of a willingness to commit such acts. And in both situations,

  Tamerlan used his interpretations of Islam to justify his actions.

  So the government's too-dissimilar argument has no merit either.

              Shifting from the relevancy question, the government

  defends    the   judge's    actions   by    insisting   that    the   Waltham

  evidence's admission would have led to mini-trials over whether

  Todashev's version of the killings "was believable" or just a pack

  of lies told to minimize his responsibility for those crimes.             But

  the concern is overblown.         As Dzhokhar notes, the defense could

  have relied, for instance, on the government's sworn search-

  warrant materials (to search Tamerlan's car after the bombings)




        46 The   government   does   not  argue   that   Todashev's
  unavailability precludes admission in the penalty-phase context —
  perhaps because of the relaxed evidentiary standards.     And the
  judge permitted the statements of other unavailable witnesses at
  the penalty phase — including FBI 302 reports summarizing
  interviews of some of Tamerlan's friends.


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  that credited Todashev's statements to the FBI.47            The government

  now tries to soft-pedal its crediting of Todashev's account in the

  search-warrant affidavit as "a far cry from embracing those claims"

  at trial.     But when the agent swore out the affidavit and the

  prosecutor submitted the materials to the magistrate judge, the

  government confirmed its belief in Todashev's veracity.                   See




         An FBI agent swore out an affidavit saying that "there is
        47

  probable cause to believe that Todashev and Tamerlan planned and
  carried out the murder of three individuals in Waltham . . . in
  September 2011." "On May 21, 2013," the affidavit stated,
        law enforcement agents interviewed Todashev. Todashev
        confessed that he and Tamerlan participated in the
        Waltham murders. He said that he and Tamerlan had agreed
        initially just to rob the victims, whom they knew to be
        drug dealers . . . . Todashev said that he and Tamerlan
        took several thousand dollars from the residence and
        split the money. Todashev said that Tamerlan had a gun,
        which he brandished to enter the residence.
  The affidavit further said that
        Tamerlan decided that they should eliminate any
        witnesses to the crime, and then Todashev and Tamerlan
        bound the victims, who were ultimately murdered.
        Todashev went on to say that after the murders, Tamerlan
        and Todashev tried to clean the crime scene . . . to
        remove   traces   of  their   fingerprints   and   other
        identifying details. . . .       [T]o clean the scene,
        Todashev said that they used bleach and other chemicals
        to clean surfaces, and even poured some on the bodies of
        the victims. Todashev said that they spent over an hour
        cleaning the scene.
  And the affidavit also noted that
        Todashev said that Tamerlan had picked Todashev up in
        the Target Vehicle and they traveled to the scene of the
        Waltham murders together. After the robbery and murder,
        they left the scene in the Target Vehicle.
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  generally    Franks     v.    Delaware,     438   U.S.     154,   164-65      (1978)

  (explaining that "[w]hen the Fourth Amendment demands a factual

  showing    sufficient    to     comprise    'probable      cause,'    the    obvious

  assumption is that there will be a truthful showing," and adding

  that "it is to be 'truthful' in the sense that the information put

  forth is believed or appropriately accepted by the affiant as

  true").    We know of no reason why the sworn affidavit — which the

  government asked the magistrate judge to credit — should now be

  disbelieved.     To this we add that the judge retained control over

  how much of this evidence could have come in.                He also could have

  limited the evidence as appropriate or cut off the presentation if

  the evidence became too extensive — a more suitable remedy than

  barring all evidence of Tamerlan's murderous past.                   So in the end

  we think the Waltham evidence was sufficiently reliable to go to

  the jurors, who could then decide whether to believe it and how

  much weight (if any) to assign it in mitigation.                      See Guzmán-

  Montañez, 756 F.3d at 9.

              The government is also off-base in saying that "[t]he

  Waltham    evidence     would    have     confusingly      focused     the    jury's

  attention on Tamerlan's character and the circumstances of an

  unrelated    offense."        But   the    parties   and    the   judge      put   the

  mitigating factors before the jury, front and center — factors

  that made clear that Tamerlan's character and prior conduct were

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  relevant    because    they   bore   on   the   broader   circumstances    of

  Dzhokhar's commission of the charged crimes.48              Arguing to the

  jury, the government called Dzhokhar's mitigation theory (centered

  on Tamerlan's influence over him) baseless because no evidence

  supported it.       But the Waltham evidence could have been that

  evidence.     And it would not have confused the jurors to have

  learned about it.      Caselaw tells us to presume that juries follow

  instructions.     See, e.g., Richardson v. Marsh, 481 U.S. 200, 211

  (1987).    And the jurors' penalty-phase verdicts — not recommending

  death on 11 of the 17 death-eligible counts — show they fully

  understood that Tamerlan's relative culpability was mitigating

  only to the extent it bore on the brothers' respective roles in

  committing the charged crimes.49          Which compels us to reject the

  government's claim that the jurors would have lost sight of this

  distinction.




         We are referring here to the mitigating factors mentioned
        48

  in the second bullet-point list above, which required the jurors
  to resolve a set of "whethers": whether Dzhokhar acted under the
  influence of Tamerlan; whether Tamerlan's aggressiveness made
  Dzhokhar susceptible to following his lead; whether Tamerlan
  instigated and led the bombings; whether Dzhokhar would ever have
  committed these crimes were it not for Tamerlan; and whether
  Tamerlan radicalized first and encouraged Dzhokhar to follow him.
        49The jury, for example, recommended death on those counts
  dealing with Dzhokhar's placing a bomb (the zenith of Dzhokhar's
  responsibility) but did not recommend death on those counts dealing
  with Tamerlan's placing a bomb (the nadir of Dzhokhar's
  responsibility).
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               So we find the judge abused his discretion in banning

   the Waltham evidence.         Compare McKinney v. Arizona, 140 S. Ct.

   702, 706 (2020) (stressing "that a capital sentencer may not refuse

   as a matter of law to consider relevant mitigating evidence"),

   with United States v. Rodriguez, 919 F.3d 629, 634 (1st Cir. 2019)

   (explaining "that a material error of law always amounts to an

   abuse of discretion").        The government thinks that any error was

   harmless    beyond   a   reasonable    doubt.50      But   the   government's

   harmlessness claim is essentially a reprise of its argument in

   support of exclusion:       In its view, just as the Waltham evidence

   is irrelevant because it does not show that Dzhokhar participated

   in the bombings under Tamerlan's influence, for the same reasons,

   its exclusion could not have affected the jurors' decision. Again,

   though,    the    exclusion    of    the   Waltham    evidence     undermined

   Dzhokhar's mitigation case.          Sure, as the government argues, a

   jury armed with the omitted evidence still might have recommended

   death.     But the omitted evidence might have tipped at least one

   juror's decisional scale away from death.              In other words, the

   government cannot show to a "near certitude," see Victor, 511 U.S.



          The parties spar a bit over whether a judge's mistake in
         50

   banning mitigating evidence is subject to harmless-error review.
   Dzhokhar argues it is not; the government argues it is. We need
   not get into that here: Even under its preferred approach, the
   government cannot win because (as we are about to explain) the
   government cannot satisfy its harmlessness burden.
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   at 15, that the excluded evidence — that Tamerlan cold-bloodedly

   killed the drug dealers, all in the name of jihad — would not have

   convinced even one juror that (contrary to the government's jury

   argument) Dzhokhar did not "bear the same moral culpability" as

   Tamerlan, see Skipper v. South Carolina, 476 U.S. 1, 8 (1986)

   (holding that because the judge's ruling excluding mitigating

   evidence "may have affected the jury's decision to impose the death

   sentence," the error was "sufficiently prejudicial" to require

   vacatur of the defendant's death sentence).

               This    leaves    us     then     with   Dzhokhar's      Brady-based

   challenge: that the judge also erred by denying the defense access

   to additional evidence both favorable and material to him —

   specifically,      the   report     and     recordings   of    Todashev's     FBI

   confession.

               Prosecutors have an "inescapable" duty "to disclose

   known,    favorable      evidence    rising     to   a   material     level    of

   importance."       Kyles     v.    Whitley,    514   U.S.     419,   438   (1995)

   (discussing Brady).       Favorable evidence includes both exculpatory

   and impeachment evidence that is relevant either to guilt or

   punishment.     See, e.g., United States v. Bagley, 473 U.S. 667,

   674-76 (1985); Giglio v. United States, 405 U.S. 150, 154 (1972).

   Material evidence includes information that creates a "reasonable

   probability" of a different outcome, see Kyles, 514 U.S. at 433 —

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   and in a capital case that encompasses data that "play[s] a

   mitigating, though not exculpating, role," see Cone v. Bell, 556

   U.S. 449, 475 (2009).           But make no mistake:           "A reasonable

   probability does not mean that the defendant 'would more likely

   than not have [gotten] a different [result] with the evidence,'

   only that the likelihood of a different result is great enough to

   'undermine[ ] confidence'" in the proceeding's outcome.             See Smith

   v. Cain, 565 U.S. 73, 75 (2012) (last alteration in original)

   (quoting Kyles, 514 U.S. at 434).          To find the withheld evidence

   not material, the judge must conclude that the other evidence is

   so overwhelming that, even if the undisclosed evidence had gotten

   in, there would be no "reasonable probability" of a different

   result.    And this standard is not met just because the government

   "offers a reason that the jury could have disbelieved [the withheld

   evidence], but gives us no confidence that it would have done so."

   Id. at 76.

                Several pages earlier we noted how the judge ruled that

   the government had already given the defense the gist of Todashev's

   statements and so the sought-after material did "not materially

   advance [the mitigation] theory beyond what is already available

   to the defense."        But as we also explained, that material had

   information that the defense never saw below, including:                  that

   Tamerlan planned the Waltham crime, got Todashev to join in, and

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   brought the key materials (gun, knives, duct tape, and cleaning

   supplies) to the apartment; that Tamerlan thought up the idea of

   killing the three men to cover up the robbery; and that Todashev

   felt "he did not have a way out" from doing what Tamerlan wanted.

   Todashev's    confession      showed    —    probably   more   than    any   other

   evidence — how and why Tamerlan inspired fear and influenced

   another to commit unspeakable crimes and thus strongly supported

   the defense's arguments about relative culpability.                    And armed

   with these withheld details, the defense could have investigated

   further and developed additional mitigating evidence.                 To us, this

   means   there    is    a   reasonable    probability    that    the   material's

   disclosure would have produced a different penalty-phase result.

   So the confession constituted Brady material, making it reversible

   error for the judge to rule the evidence off-limits from discovery.

                And we find that the judge also erred by relying on the

   qualified law enforcement investigatory privilege.                As the party

   asserting the privilege, the government had the burden of showing

   that withholding the FBI report and recordings would achieve the

   privilege's "underlying purpose" of not jeopardizing an ongoing

   investigation.        See Puerto Rico, 490 F.3d at 62-64 (recognizing "a

   qualified       privilege     for      law    enforcement      techniques      and

   procedures").         The showing must be specific not speculative,

   concrete not conclusory.            See id. at 62.        But the government

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   offered no specific ways in which disclosure would have endangered

   the   ongoing      Waltham-murders     investigation    —    particularly    if

   disclosure occurred under a protective order.                 See Ass'n for

   Reduction of Violence v. Hall, 734 F.2d 63, 66 (1st Cir. 1984)

   (emphasizing that where possible, a court should accommodate a

   moving party's interest in disclosure through excising privileged

   sections, editing or summarizing documents, or okaying discovery

   subject to a protective order).            The Waltham murders occurred in

   2011.        By 2015, when Dzhokhar's penalty phase began, the only

   identified suspects — Tamerlan and Todashev — were both dead.               And

   the government did not ask the district attorney's office to

   explain        whether   and   why   the   privilege   was    still    viable.

   Ultimately,        the   judge's     speculation   about     how   disclosing

   Todashev's statements might compromise the investigation was just

   that:        speculation.   Which as we just observed is not sufficient.

                  The long and the short of it is that the judge's handling

   of the Waltham evidence provides an additional basis for vacating

   Dzhokhar's death sentences.51



          Judge Kayatta does not join in this section of our opinion
           51

   entitled Mitigation Evidence About Tamerlan's Possible Homicidal
   Past to the extent it finds an abuse of discretion in refusing to
   admit the Todashev statements themselves. He does agree that the
   fact of the Waltham murders, the fact that law enforcement had
   probable cause to suspect Tamerlan as the perpetrator, the
   relationship of one of the victims to Tamerlan, and Dzhokhar's
   professed understanding of Tamerlan's involvement as reflected in
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                            Mitigation Evidence About
                           Dzhokhar's Mental Condition

               We   now    consider    Dzhokhar's     claim   that       the   judge

   infracted    his     constitutional    right     against   compelled        self-

   incrimination and the criminal rules of procedure by conditioning

   the admission of his "non-testimonial neuropsychological evidence"

   on   his   "be[ing]    interrogated,     without   limits,      by    government

   experts."

                                      Background

               A death-penalty defendant wishing to make an issue of

   his mental health and present expert evidence on that subject must

   notify the government within specified time limits.                  See Fed. R.

   Crim. P. 12.2(b).      If he does that, the judge may order a rebuttal

   exam by the government's expert "under procedures ordered by the

   [judge]."     See Fed. R. Crim. P. 12.2(c)(1)(B).                Judges often

   appoint assistant U.S. attorneys from another district as "fire-

   walled" attorneys to handle this process. See, e.g., United States

   v. Sampson, 335 F. Supp. 2d 166, 244-45 (D. Mass. 2004).                       The

   results and reports from a rebuttal exam must be sealed and not

   given to the prosecution or the defense unless the defendant is

   found guilty and confirms his intent to rely on mental-condition

   evidence    during     the   penalty   phase.      See   Fed.    R.    Crim.    P.


   the Kadyrbayev letter, collectively satisfied the low threshold
   for admissibility in the penalty phase of the trial.
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   12.2(c)(2).        If this happens, the defendant must then give the

   government any results and reports of his mental condition "about

   which [he] intends to introduce expert evidence."                 See Fed. R.

   Crim. P. 12.2(c)(3).        But prosecutors cannot use any statement he

   made during an exam conducted under this regime unless he first

   introduces evidence of his mental condition, see Fed. R. Crim. P.

   12.2(c)(4) — a rule designed to protect a defendant's Fifth

   Amendment privilege against compulsory self-incrimination,52 see

   Fed. R. Crim. P. 12.2 advisory committee notes. See also generally

   Estelle v. Smith, 451 U.S. 454, 466-69 (1981) (recognizing that a

   psychiatrist's court-ordered competency exam in a capital case

   raised the same Fifth (and Sixth) Amendment concerns as an in-

   custody interrogation by law enforcement); Buchanan v. Kentucky,

   483 U.S. 402, 424 (1987) (explaining that if a defendant tries to

   establish      a     mental-status       defense,    the     government     may

   constitutionally force him to submit to an interview with a mental-

   health expert for "limited rebuttal purpose[s]").

                Citing Criminal Rule 12.2, Dzhokhar's lawyers filed a

   pretrial notice of intent to introduce expert evidence about "his

   mental     condition   as   it   bears    on   the   issue   of   punishment."




         52The self-incrimination clause of the Fifth Amendment
   provides that "[n]o person . . . shall be compelled in any criminal
   case to be a witness against himself." U.S. Const. amend. V.
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   Simultaneously, they told the prosecution that they planned on

   presenting "neuropsychological testimony" that would rely on the

   results of various tests done on Dzhokhar (an intelligence test,

   for example).       The judge created a separate sealed docket and

   appointed     two    fire-walled      assistant     U.S.    attorneys     from

   Connecticut and New York to manage the government's rebuttal exams

   and to represent the government in any related litigation.               In an

   ex-parte proffer to the judge, Dzhokhar's attorneys claimed that

   the neuropsychological and neuroimaging exams revealed information

   that would support his mitigation theory.53

               Through the fire-walled attorneys, the government told

   the defense that it intended to have two experts examine Dzhokhar.

   The first would do a clinical interview of him and administer some

   tests (the just-mentioned intelligence test being one of them).

   The second would do a psychiatric exam focusing on his "life

   choices," especially "those decisions and actions underlying the

   charged criminal conduct," while also "explor[ing] the effects, if

   any of [his] social history, personality, mental state, social




          Ex parte is a Latin phrase basically meaning only one side
         53

   is heard — "[d]one or made at the instance and for the benefit of
   one party only, and without notice to, or argument by, anyone
   having an adverse interest." See Ex Parte, Black's Law Dictionary
   (11th ed. 2019).
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   environment, family influences, peer pressure, and any duress to

   which [he] may have been subjected."54

                The   defense    objected    to   the   government's      notice.

   Insisting that prosecutors have "only a limited rebuttal right,"

   the defense asked the judge to limit the exams of the government

   experts to "the same type of testing conducted by the defense

   experts" — i.e., "objective" tests, like the "computer based

   tests," "pen and paper tests," "physical tests," and "neuroimaging

   test[s]" that the defense experts used.           None of these tests, the

   defense argued, would elicit or rely on statements by Dzhokhar

   expressing his views about his own symptoms or history.                      So

   according to the defense, the judge had to bar the government

   experts from "asking questions beyond those specified in the test

   instruments themselves, or otherwise engaging [Dzhokhar] in any

   communication intended to elicit testimonial evidence, including[]

   opinions, view[s], beliefs, historical information or anything

   else."     That is because asking such questions would "compel him to

   testify against himself," or so the defense contended.

                Responding,     the   fire-walled     attorneys    argued    that

   Dzhokhar could not "dictate and limit" their experts' "testing by



         54The government also indicated that it wanted Dzhokhar to
   undergo some brain-imaging scans, with a third doctor then
   analyzing the results. But the defense has not complained about
   this proposed testing, either below or here.
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   selecting certain tests and then objecting to different tests that

   inform the subject matter under inquiry."              Dzhokhar, they noted,

   had not revealed exactly "what type of mental disease or defect

   defense he is intending to assert" — though they suspected he would

   "claim that he was particularly susceptible to his brother's

   persuasion" based on "a dependent personality disorder."                And they

   insisted that the government's proposed exams would rebut that

   claim by showing he could think independently.                Admittedly, some

   of the information the experts got might not be admissible, they

   said — but they insisted that "curtailing the government's right

   to prepare at this juncture d[id] nothing more than allow the

   defendant to present completely un-contradicted testimony."

                After   a   hearing,     the     judge    overruled      Dzhokhar's

   objection.    Rule 12.2 did not "limit[] the rebuttal to simply the

   same . . . tests or investigations" that the defense performed,

   the judge said.       "[A]n appropriate rebuttal," the judge pointed

   out, might be "to say that the wrong tests were done or that

   insufficient tests were done."         The judge did not want to prevent

   the   government     experts   from   using    tests   that    they    in   their

   "professional judgment" deemed "appropriate."             But the judge made

   clear that his ruling did not "mean necessarily" that the exams'

   results would be "admissible" or "usable" at trial — it all

   depended on what the "defense present[ed]."              Attempting one last

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   stand,     defense   counsel   argued   that    "we   are   offering   nothing

   testimonial from [Dzhokhar]," just "the results of pen-and-paper

   tests."     So the defense asked the judge to "make the rebuttal call

   now   as   opposed   to   exposing    [him]    to   an   interrogation   by   a

   government agent, essentially."          But the judge remained unmoved.

   "I don't think I can make it until I know what the exam[s] might

   reveal and what [any government expert] might be offered to say."

   Consequently, the exams could go forward, even though they "may

   not produce admissible evidence" — an approach that he said posed

   no constitutional problems.

                After the ruling (but before the government experts

   could examine him), Dzhokhar withdrew his Rule 12.2 notice.               "The

   broad scope" of the planned exams, his lawyers wrote, "without the

   presence of counsel," plus "the use the [judge] indicated can be

   made" of the exams' results, violate Dzhokhar's constitutional

   rights and clash with Rule 12.2.               As the defense saw things,

   "[t]hese conditions separately and cumulatively impose too great

   a cost on the introduction of [his] proposed [mental-health]

   evidence."




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                           Basic Appellate Arguments

               Broadly speaking, Dzhokhar claims that the judge created

   a "constitutional mismatch."         In his telling, the results of the

   testing he planned to introduce were not testimonial in any

   constitutional sense.       During his test-taking — which he calls a

   "pen and paper" exercise, like having his "reflexes" evaluated —

   he neither offered his beliefs or thoughts on "historical or life

   events," nor talked about "the crimes charged against him[] or his

   family background." Contrastingly — at least according to Dzhokhar

   — and "as the price of" admitting his "non-speech" mental-health

   evidence, the judge essentially ruled that the government experts

   could interrogate him on a wide range of topics, including "the

   charged criminal conduct."          And, the argument goes, by setting

   this price, the judge forced him to withdraw his notice, damaging

   his mitigation case — which violated his rights both under the

   Fifth Amendment and Rule 12.2.

               The government counters with several arguments.              Among

   other things, the government contends — citing Luce v. United

   States, 469 U.S. 38 (1984) — that by withdrawing his Rule 12.2

   notice and not presenting his mental-health evidence, Dzhokhar

   failed to preserve this issue for appeal.          Preservation aside, the

   government claims that he cannot show that the Fifth Amendment

   privilege — which protects against real rather than speculative

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   dangers — actually applied here.          The judge did not order him to

   submit to any mental-health exams, the government notes, and

   prosecutors did not comment on his failure to introduce mental-

   condition evidence — which makes this situation the direct opposite

   of   compulsory.      Also,   the   government     reminds   us,    the   judge

   repeatedly said that he would not necessarily admit the results of

   the government experts' exams.          And, the argument proceeds, even

   if the judge did admit the exam results, prosecutors could only

   use them for rebuttal purposes — which the government says is

   perfectly permissible under Kansas v. Cheever, 571 U.S. 87, 94, 98

   (2013).   Additionally, to quote again from the government's brief,

   Dzhokhar's mental-health evidence "would have had little or no

   mitigating    effect,"    because    other    evidence   rebutted    what   the

   government surmises was his mitigation defense (the government

   highlights testimony about his academic achievements, like his

   getting mostly A's in middle school).

                Pertinently for our purposes, Dzhokhar's reply contests

   the government's preservation point.          As he sees things, a pair of

   Supreme Court cases — Brooks v. Tennessee, 406 U.S. 605 (1972),

   and New Jersey v. Portash, 440 U.S. 450 (1979) — allows a defendant

   to challenge on appeal obstacles that "'reach[] constitutional

   dimensions' without first taking the stand," which he argues is

   the situation here.

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                                      Analysis

               The parties note that different standards of review may

   come into play here:       for instance, fresh-eyed review ("de novo,"

   in legal parlance) for claims involving the judge's interpretation

   of the protections provided by privilege against forced self-

   incrimination, see Amato v. United States, 450 F.3d 46, 49 (1st

   Cir. 2006), but abuse-of-discretion review for claims about the

   exclusion of testimony under Rule 12.2, see United States v.

   Cartagena-Carrasquillo, 70 F.3d 706, 710 (1st Cir. 1995), and for

   claims concerning the scope of rebuttal testimony, see United

   States v. Sebaggala, 256 F.3d 59, 66 (1st Cir. 2001).

               Often "[t]he simplest way" to decide an issue is "the

   best."    See Stor/Gard, Inc. v. Strathmore Ins. Co., 717 F.3d 242,

   248 (1st Cir. 2013) (quoting Chambers v. Bowersox, 157 F.3d 560,

   564 n.4 (8th Cir. 1998) (R. Arnold, J.)).           And that is so here.

               Skipping over the parties' preservation points (which

   lets us avoid having to work through a complex series of arguments

   and cases), we conclude that Dzhokhar's reliance on the Fifth

   Amendment privilege fails.        To get anywhere, he must show that he

   had "reasonable cause to apprehend danger" from submitting to

   interviews with the government experts, see Hoffman v. United

   States, 341 U.S. 479, 486 (1951) — for as the Supreme Court has

   long emphasized, "the privilege protects against real dangers, not

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   remote and speculative possibilities," see Zicarelli v. N.J. State

   Comm'n of Investigation, 406 U.S. 472, 478 (1972).             But the judge

   here said over and over again that he would not automatically admit

   the results of the government experts' exams, and that even if he

   did admit them, prosecutors could use them only for "rebuttal" —

   which is copacetic under the Fifth Amendment.              See Cheever, 571

   U.S. at 94, 98.       So no appreciable danger of a Fifth Amendment

   violation    would    have   arisen   unless    (1) Dzhokhar     incriminated

   himself during the government experts' exams, (2) he still chose

   to present mental-health evidence, (3) the judge let a government

   expert testify based on Dzhokhar's self-incriminating comments,

   and (4) the expert's testimony was not proper rebuttal.             To ask us

   to find this rank conjecture sufficient (as Dzhokhar does) is

   asking too much.       See Minor v. United States, 396 U.S. 87, 98

   (1969) (explaining that one must show "'real and appreciable' risks

   to support a Fifth Amendment claim").

               On then to another issue.

                         Surviving Victims' Testimony

               In this section we tackle Dzhokhar's claim that the judge

   erred by admitting "victim impact" testimony by survivors at the

   penalty phase.       As briefed here, his challenge is factually and




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   legally intricate.          But because there is a straightforward route

   to resolving it, we can streamline and simplify our discussion.

                The FDPA says that when the government seeks a death

   sentence, it must "serve on the defendant[] a notice . . . setting

   forth the aggravating factor or factors" it believes justify the

   death   penalty.       18    U.S.C.   §   3593(a).         In   its   notice   here,

   prosecutors      specified       several     statutory          aggravators    they

   envisioned proving in pursuing the death penalty against Dzhokhar

   — including:

         his "knowingly creat[ing] a grave risk of death to 1 or more

          persons in addition to" the victims who died, see 18 U.S.C.

          § 3592(c)(5);

         his   "committ[ing]      the   offense    in   an    especially      heinous,

          cruel,   and   depraved    manner    in   that      it    involved   serious

          physical abuse to the victim," see id. § 3592(c)(6); and

         his "committ[ing] the offense after substantial planning and

          premeditation to cause the death of a person and commit an

          act of terrorism," see id. § 3592(c)(9).

   The notice also listed several nonstatutory aggravators, see id.

   § 3593(a)(2) — including:

         his "target[ing] the Boston Marathon, an iconic event that

          draws large crowds of men, women[,] and children to its final



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          stretch, making it especially susceptible to the act and

          effects of terrorism"; and

         his    "participat[ing]    in    additional    uncharged     crimes   of

          violence," like "assault with intent to maim, mayhem[,] and

          attempted murder."

                 Dzhokhar's   appellate     argument    only   focuses    on    the

   victim-impact aggravator.        And it proceeds in four steps:         (1) He

   notes (emphasis ours) that § 3593(a)(2) provides that nonstatutory

   aggravators

          may include factors concerning the effect of the offense
          on the victim and the victim's family, and may include
          oral   testimony,   a   victim impact   statement   that
          identifies the victim of the offense and the extent and
          scope of the injury and loss suffered by the victim and
          the victim's family, and any other relevant information.

   (2) He then says that the reference to the "victim and the victim's

   family"      precludes   penalty-phase    testimony    on   "the    impact   of

   survivors'      injuries   on   those    survivors    (or   their   families)

   themselves."      (3) That is so, he contends, because even though

   this FDPA subsection does not define "victim," Congress used

   "victim" in three other subsections and in the Act's legislative

   history to refer to a "victim" who died.55            And (4) asking us to


           The provisions he cites are:
          55                                18 U.S.C. § 3591(a)(2)
   (referring to offenses where the defendant "killed the victim,"
   offenses that "resulted in the death of the victim," and offenses
   where the "victim died"); 18 U.S.C. § 3592(a)(7) (listing as a
   mitigating factor the fact that the victim "consented to the
   criminal conduct that resulted in the victim's death"); and 18
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   apply the usual rule of statutory interpretation that identical

   words bear identical meaning throughout the same act, he believes

   that such an analysis should lead us to conclude that the judge

   misinterpreted the statute to allow "victim impact evidence from

   surviving victims at the penalty phase."

               If   preserved,    we   review    challenges    to   the   judge's

   interpretation of the FDPA afresh (i.e., de novo), see United

   States v. Troy, 618 F.3d 27, 35 (1st Cir. 2010), and challenges to

   his   rulings    admitting     or   excluding    evidence     for   abuse    of

   discretion, see Sampson I, 486 F.3d at 42.                 Dzhokhar says he

   preserved his challenges at trial; the government says he did not

   and so must now prove plain error on the judge's part.              A famously

   demanding standard, plain error requires the proponent to show not

   just error, but error that is plain, that affects his substantial

   rights, and that seriously impaired the fairness, integrity, or

   public perception of the trial.              See, e.g., United States v.

   Takesian, 945 F.3d 553, 563 (1st Cir. 2019).               Because we see no



   U.S.C. § 3592(c)(5) (providing for an aggravating factor where the
   defendant "created a grave risk of death to 1 or more persons in
   addition to the victim of the offense"). The legislative history
   he quotes says that the "aggravating factors for which notice is
   provided may include factors concerning the effect of the offense
   on the victim and the victim's family" and that "[t]he effect on
   the victim may include the suffering of the victim in the course
   of the killing or during a period of time between the infliction
   of injury and resulting death."     H.R. Doc. No. 102-58, at 166
   (1991).
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   error in any event, we need not resolve their dispute about the

   standard of review.

               We can leave the resolution of the interpretive question

   about the FDPA for another day, because (as the government notes)

   even assuming without granting that Dzhokhar is correct here, the

   surviving    spectators'     testimony    had    relevance   to   the   jury's

   weighing of aggravating factors other than victim impact.56

               For organizational convenience, the survivors' testimony

   Dzhokhar complains about can be grouped into these categories:

      1. "[R]eactions to facing death":           Jeffrey Bauman, for example,

         described making "peace" with death because he "had a great

         life."    Roseann Sdoia said she knew she "was bleeding out"

         but resolved to "stay calm and stay conscious" because if she

         panicked she "would die."       And Celeste Corcoran described how

         she at first "wanted to die" because she was in so much pain

         but realized she needed to "be there" for her family.

      2. "[U]ncertainty     about    what   had    happened   to   other   family

         members":     Eric Whalley, for instance, said he and his wife

         each thought the other had died.          And Stephen Woolfenden said

         he was "terrified" when first responders whisked his son away



         56Dzhokhar accepts, as he must, that "surviving victims —
   like any other witnesses — may testify at the penalty phase in
   support of any properly alleged statutory or non-statutory
   aggravating factor relating to the capital charges."
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         because he "didn't know if [he] was ever going to see [him]

         again."

      3. "[F]eelings of helplessness watching their injured child or

         partner suffer": Rebekah Gregory, for example, said she could

         hear   her   son   calling   "mommy"    after   the   blast   and   felt

         "helpless as a mother" because she could not go to him. Lying

         there on the pavement, she said a prayer, "God, if this is

         it, take me but let me know that Noah is okay."             And Jessica

         Kensky discussed her frustration at not being able to care

         for her husband (one of the bombs left his "foot and part of

         his leg . . . completely detached, hanging on kind of by a

         thin thread").

      4. "[T]he    long-term    implications     of   becoming    an   amputee":

         Roseann Sdoia, for instance, said her amputation made it

         "extremely difficult" to learn to walk and run again, and to

         deal with the snow. Jessica Kensky said becoming a "bilateral

         amputee" was "terrifying."        She wanted to keep "some memory"

         of her legs, to "paint [her] toenails," and to "put [her]

         feet in the sand." And the pain from surgeries and treatments

         was "[a]bsolutely horrendous," putting her "in a very dark

         place" of "really not wanting to live" anymore.            And Adrianne

         Haslet-Davis said her husband could not attend the trial

         because he had checked himself into a mental-health facility.

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                 Given how low the relevance threshold is, we cannot say

   that the judge slipped in finding this evidence at least minimally

   relevant to an aggravating factor other than victim impact.

                 The survivors' reactions to facing death (category 1)

   helped show that Dzhokhar "knowingly created a grave risk of death

   to 1 or more persons in addition to" the persons who died — a

   statutory-aggravating factor.         See 18 U.S.C. § 3592(c)(5).         That

   they felt they might die helps show they actually faced a grave

   risk of death.      And their specific descriptions of what that felt

   like   made    it   more   likely   that   the   jury   would   credit   their

   statements about being at death's door. Plus their testimony could

   help the jury in weighing the grave-risk-of-death factor as part

   of its death-penalty decision.             See Sampson I, 486 F.3d at 44

   (upholding admission of graphic evidence about a murder because it

   "would help the jury to determine how much weight it should give"

   the aggravating factors).           Above and beyond all that, their

   testimony could help prove other aggravators — that Dzhokhar

   substantially       planned   "an   act    of    terrorism,"    a   statutory-

   aggravator, see 18 U.S.C. § 3592(c)(9); and that he "participated

   in additional uncharged crimes of violence" like "assault with

   intent to maim, mayhem[,] and attempted murder," a nonstatutory

   aggravator.



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                The survivors' uncertainty regarding what happened to

   their family members (category 2) was relevant to the grave-risk

   of-death aggravator.      See id. § 3592(c)(5).         In most cases, family

   members got separated because so many victims were on the verge of

   dying that rescuers had to evacuate them as soon as possible.                  And

   the multiple family separations highlighted how "grave" the "risk"

   was.    The evidence was also relevant to the statutory terrorism

   aggravator.     It is hard to think of anything more terrifying than

   to   lose   track   of   one's   child    or   parent    in   a   life-or-death

   situation.       The     evidence   was    additionally       relevant    to     a

   nonstatutory aggravator — that he "targeted the Boston Marathon,"

   an event "especially susceptible to the . . . effects of terrorism"

   because of its "large crowds of men, women[,] and children."

                The survivors' feelings of helplessness as loved ones

   suffered (category 3) was relevant for the same reasons.                   Their

   inability to aid their family members after the bombings magnified

   the terror that Dzhokhar sought to create.

                Finally, the testimony about the long-term implications

   of becoming an amputee (category 4) helped establish the statutory

   grave-risk-of-death aggravator.           The survivors' comments about

   surgeries and suicidal thoughts showed that the risk of death

   continued past the immediate aftermath of the bombings.                  And the



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   long-term effects of their injuries were directly relevant to the

   existence and weight of these factors.

               Enough said about the surviving victims' testimony.

                                Whole Foods Video

               We now take up Dzhokhar's challenge to the admission of

   a video showing him buying milk at a Whole Foods soon after the

   bombings.    What he essentially wants us to do is to remand for a

   hearing on his claim that agents derived the video from involuntary

   statements he made at the hospital after his arrest.                Each side

   spends much energy debating two principal points.               The first is

   whether Dzhokhar waived this claim — the government says he did

   just that by not moving to suppress the video before trial; while

   Dzhokhar says prosecutors made a pretrial promise not to use his

   confession, which excuses any untimeliness in his raising the

   claim.    The second is whether agents discovered the video through

   an independent source untainted by any constitutional violations

   — the government says a tip from Tamerlan's wife led agents to the

   video; while Dzhokhar (noting the government identified her as the

   tipster after he had filed his opening brief) says his involuntary

   statements (not his sister-in-law's tip) steered the agents to the

   video.    But because Dzhokhar is getting another penalty-phase

   trial, the parties and the judge should address these matters —

   e.g., was the source for the video genuinely independent of his

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   hospital confession, and if not, was the confession voluntary? —

   if the government again opts to offer the video into evidence and

   Dzhokhar objects.

                      An Expert's Testimony About ISIS
            and the Prosecution's Use of an Islamic Song and a
                Photo of Dzhokhar Raising His Middle Finger

               In the next section of his opening brief, Dzhokhar raises

   three claims.     He first knocks the judge for wrongly admitting (in

   the guilt phase) expert testimony on ISIS (the popular acronym for

   the Islamic State of Iraq and Syria).                 He then accuses the

   prosecutor of committing misconduct by juxtaposing (in the guilt-

   phase closing) a photo slideshow of the post-bombing carnage with

   a recording of an Islamic song found on a computer in Tamerlan's

   home that Dzhokhar used to surf the internet.                 And he lastly

   accuses another prosecutor of committing misconduct by displaying

   (in the penalty-phase opening) posters of the four murder victims

   beside a photo of him raising his middle finger at a cell-block

   security camera.

                                    Background

               Before trial, the defense had moved to exclude any expert

   testimony "about terrorist leaders and attacks in which [Dzhokhar]

   was not involved" unless the government could show that he knew of

   the materials under discussion and "endorsed" or "absorbed" them.

   The judge did not rule on the motion until just before the

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   prosecution called Dr. Matthew Levitt as an expert witness on

   international terrorism during the guilt phase.             Recognizing that

   Federal Rule of Evidence "403 is an important consideration," and

   cautioning the government not to "step too far on this," the judge

   denied the motion, saying that Levitt could "testify about the

   history     of     recent   terrorist       activity,     particularly      the

   encouragement of jihadi actions by particular prominent figures."

   The government, for its part, promised to be "very sensitive" to

   the defense's concerns.

                Levitt   talked   to   the    jury   about   the   "global   jihad

   movement."       What drove this movement, he said, was not a formal

   organizational structure but a decades-old "idea" that "there is

   a need for a global effort on behalf of Muslims to unite as a

   nation" and to "defend itself" through "acts of violence."                  The

   movement's ideology, he added, permitted the killing of innocents

   and focused its wrath on the United States.                 And, he further

   explained, calling on followers to conduct independent terrorist

   attacks "at home" had "become a major theme of radical propaganda."

                Levitt noted that this was true not only of "al-Qaeda"

   but "now [also] the so-called Islamic state or ISIS."             The defense

   objected to "bringing in" ISIS.           But the judge ruled the testimony

   admissible "[a]s . . . general background."           Levitt then said that

   "ISIS" — which both fought and cooperated with al-Qaeda — "is the

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   latest   incarnation      of    this    global   jihad    movement."    And    he

   explained that "ISIS, like al-Qaeda, has glossy magazines" and

   "very impressive online radical and radicalization literature"

   that tells supporters they "don't have to come" to a foreign

   battlefield — "just do something back home."

               Later    in   his    testimony,      Levitt    described   how    the

   conflict in the Russian republic of Chechnya had become a "rallying

   cry" that jihadists used to "radicalize people."                  He then said

   that the "Syrian conflict" — which started "four years" before in

   2011 — had also "become a rallying cry around the world."                     The

   defense objected "to the whole discussion of Syria that goes beyond

   the date of any of the events alleged in the indictment" — to which

   the   judge    said,      "Overruled."      Levitt       then   explained    that

   "[s]ticking even to the first two years of the Syrian conflict two

   years ago," there were "different things that drew jihadis to this

   conflict," including "jihadi ideology and want[ing] to go fight

   with the next incarnation of al-Qaeda."

               We fast-forward to the prosecution's guilt-phase closing

   arguments. There, the prosecutor argued that the Tsarnaev brothers

   had been "radicalized to believe that jihad was the solution to

   their problems."       He reviewed the evidence of Dzhokhar's radical

   beliefs — which included Dzhokhar's boat manifesto, plus his

   "library" of jihadist videos, writings, and "nasheeds" (Islamic

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   chants) that Dzhokhar watched, read, and listened to on his

   computer and other devices.           He noted that after the Tsarnaev

   brothers carjacked Dun Meng, they "went back to Watertown" to get

   "a CD containing those jihad nasheeds on it" for some "portable

   inspiration" as they continued their escape.             He also noted that

   Dzhokhar had created a twitter account with the display name

   "Ghuraba" — an Islamic word that means "stranger."

               Later in his guilt-phase closing, the prosecutor said

   that Dzhokhar had "murdered four people" and "wounded hundreds" to

   "make a statement" and to "be a terrorist hero."                "This is how

   [Dzhokhar] saw his crimes," the prosecutor stated while displaying

   a PowerPoint presentation.        The presentation combined photos with

   the audio of a nasheed.          Involving a singer chanting "Ghuraba"

   repeatedly,     the   nasheed    played    over   a   slide   of   bombmaking

   instructions (from Inspire, al-Qaeda's English-language magazine),

   a photo of Dzhokhar seated in front of a black flag with Arabic

   script, and three images of severely wounded victims in the

   aftermath of the bombings.            The nasheed played for about 19

   seconds.     After the chanting stopped, the prosecutor said that

   "this is the cold reality of what his crimes left behind."                  And




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   then he showed additional slides of the bombings' aftermath in

   silence.

                 Calling the prosecutor's playing "this haunting music

   over    the   [photos]"    a   bid   to   "inflame    religious    or   ethnic

   prejudice," the defense moved for a mistrial after the guilt-phase

   summations and before the jury began deliberating (the defense did

   not object during the closing, probably to not draw undue attention

   to the presentation). The government responded that both the audio

   file and the photos were in evidence and that the slideshow

   provided      "perspective"    on    Dzhokhar's      "state   of   mind,    his

   radicalization."      The judge denied the defense's motion, adopting

   "the government's radicalization position."

                 We now skip ahead to the prosecution's penalty-phase

   opening statement.        There, the prosecutor displayed on easels 3-

   foot by 4-foot photos of Lingzi Lu, Krystle Campbell, Sean Collier,

   and Martin Richard.       A fifth easel in the middle had a black cloth

   covering it.     Near the end of her statement, the prosecutor said:

          On July 10th, 2013, almost three months after Dzhokhar
          Tsarnaev had murdered Krystle Marie Campbell, Lingzi Lu,
          Martin Richard, and Officer Sean Collier, he was here in
          this courthouse. He knew the United States had charged
          him for his crimes. In the room that he was in, there
          was a video camera.     [He] was alone.    There was no
          brother with him. And once more, just as he had done
          with the boat [in Watertown], he had one more message to
          send.



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   The prosecutor then pulled the black cloth off the middle easel,

   revealing    a   3-foot    by   4-foot   photo   of   Dzhokhar   in   his   cell

   thrusting his middle finger at a surveillance camera.             Concluding,

   the prosecutor remarked:

         This is Dzhokhar Tsarnaev, unconcerned, unrepentant, and
         unchanged. Without remorse, he remains untouched by the
         grief and the loss that he caused.          And without
         assistance, he remains the unrepentant killer that he
         is. It is because of who [he] is that the United States
         will return and ask you to find that the just and
         appropriate sentence for [him] is death.

               After the opening statement, a lawyer for Dzhokhar noted

   as a "point of record-keeping" that the prosecution had "displayed

   the cell block photograph" during its opening.               Counsel claimed

   "that the prejudicial" and "inflammatory" effect "of what we think

   was an out of context and . . . quite distorted still [shot] from

   the cell block was greatly enhanced . . . by its juxtaposition

   between these very attractive and touching photographs of the

   victims in life."      The judge did not comment on the issue.

                             Basic Appellate Arguments

               Dzhokhar calls Levitt's ISIS testimony both "irrelevant

   and prejudicial," noting that the group (which he had no ties to)

   "was well known for its barbarism at the time of his trial, but

   unknown — indeed, hardly existent — at the time of his crimes."

   He labels the prosecution's audiovisual presentation misconduct.

   According to him, by "pairing religiously evocative images and

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   gruesome photographs of the bombings, and overlaying both with an

   Arabic chant," the prosecution "played to commonly held biases

   against Muslims: that they are foreign, frightening, and violence-

   prone."        And       he   alleges    an    instance      of   misconduct     in   the

   prosecution's extracting the image of him "raising his middle

   finger at a cellblock camera, juxtapos[ing] it with photographs of

   the four decedents in the case, and then [telling] the jurors" —

   "with no factual basis" — "that this obscene gesture was [his]

   'message' to his victims."               All of which, his theory runs, shows

   the jury voted for death under the influence of "[p]assion and

   [p]rejudice."

                  Taking the opposite view, the government argues that

   Levitt's testimony was more pertinent than prejudicial, because

   his comments helped the jurors see how the global jihad movement

   inspires home-grown militants to commit "independent terrorist

   attacks" — comments he delivered briefly and in an academic tone.

   The   government         also    defends      the    propriety    of    the   PowerPoint

   presentation, saying the playing of "a 19-second audio clip of a

   nasheed    .    .    .    over   photos       of    [Dzhokhar]    and   the    bombing's

   aftermath" were "tied specifically to the trial evidence regarding

   [his] inspiration for the bombing."                    And the government sees no

   prosecutorial        misconduct         regarding      the   middle-finger      poster,

   because — contrary to the defense's representation — the prosecutor

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   did not "say [Dzhokhar's] middle finger was a message 'to his

   victims'" but instead only said that his "gesture was intended to

   send the same 'message' that he had written in a boat before his

   arrest, when he wrote that the bombings were a 'message' to the

   United States Government."

                                      Analysis

                Taking first things first, we consider Levitt's guilt-

   phase testimony.      Preserved relevance and prejudice claims, like

   these   ones,    prompt   "abuse-of-discretion      review    —   a    famously-

   deferential standard that requires a challenger to show that no

   rational person could accept the judge's decision."                   See United

   States v. Rodríguez-Soler, 773 F.3d 289, 293 (1st Cir. 2014).                But

   even deference has limits.       See United States v. Ayala-García, 574

   F.3d 5, 18 (1st Cir. 2009).         And our deference reaches its limit

   here.

               The relevance of Levitt's ISIS testimony is hard to see.

   For example, we do not understand how the actions of a group that

   did not meaningfully exist before Dzhokhar's crime could have made

   any fact of consequence more likely (the government admits that

   the threat posed by ISIS was generally "after the Boston Marathon

   attacks").      See United States v. Kilmartin, 944 F.3d 315, 335 (1st

   Cir. 2019) (emphasizing that "[e]vidence is relevant as long as it

   has some tendency to make a fact of consequence more or less

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   probable").      And calling the evidence "background," as the judge

   did, does not move the needle.           Again, because ISIS barely existed

   at the time of the bombings, Levitt's testimony could not have

   provided      "background"   or    "stich[ed]      together   an   appropriate

   context in which the jury could assess the evidence introduced

   during the trial."       See United States v. McKeeve, 131 F.3d 1, 13

   (1st   Cir.    1997).     And     by   falsely   linking   Dzhokhar    to   this

   infamously brutal group, the unfair prejudicial effect of Levitt's

   ISIS comments far outweighed any probative value that it had.

                 But what saves the government is that this error is

   harmless beyond a reasonable doubt.              See 18 U.S.C. § 3595(c)(2)

   (explaining that a circuit court cannot reverse or vacate a federal

   death sentence if the error is harmless beyond a reasonable doubt).

   Running about two transcript pages, the contested testimony was

   briefly given and tonally academic.              Plus an overwhelming amount

   of other evidence showed that Dzhokhar drew inspiration from

   radical Islamic propaganda, including from articles in a magazine

   published by al-Qaeda (Inspire) and from lectures given by an Imam

   connected to al-Qaeda.          So any suggestion during the guilt phase

   that he got inspiration from another radical Islamic group (ISIS)

   would not have affected the jury's sentencing verdict.                Moreover,

   the jurors unanimously found the existence of several statutory

   intent factors, statutory aggravating factors, and nonstatutory

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   aggravating factors supported the death penalty.                And Dzhokhar

   does not challenge the evidentiary support for any of them.                 And

   given the overwhelming force of these factors — driving home the

   devastating effects of Dzhokhar's actions — we find beyond a

   reasonable doubt that the jury would have imposed death even if

   the judge had excluded the ISIS testimony.             See generally Jones,

   527 U.S. at 404-05 (noting that a reviewing court doing a harmless-

   error check of a death sentence can consider whether "the jury

   would have reached the same conclusion" absent the error).

               Turning to the prosecutorial-misconduct claims, we note

   that we review preserved claims de novo (that is, without giving

   the district judge's decision any weight), and unpreserved claims

   for plain error.     See, e.g., United States v. Sepúlveda-Hernández,

   752 F.3d 22, 31 (1st Cir. 2014).             The parties dispute whether

   Dzhokhar preserved all of his claims. But the dispute is academic,

   because any error also fails on harmless-error review.

               When faced with a prosecutorial-misconduct allegation,

   we first look to see if the prosecutors acted improperly.                 See,

   e.g., United States v. Veloz, 948 F.3d 418, 435 (1st Cir. 2020).

   If they did, we then see if their misconduct "so poisoned the well

   that the trial's outcome was likely affected," id. (quoting French,

   904 F.3d at 124) — "weigh[ing] factors such as the severity of the

   misconduct, the context in which it occurred, the presence or

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   absence     of       curative   instructions,   and      the    strength    of   the

   evidence," United States v. Walker-Couvertier, 860 F.3d 1, 10 (1st

   Cir. 2017).          Ultimately, reversal is justified "only where there

   would     be     a    miscarriage   of   justice    or       where   the   evidence

   preponderates heavily against the verdict."                     United States v.

   Rodríguez-De Jesús, 202 F.3d 482, 486 (1st Cir. 2000) (quoting

   United States v. Gonzalez-Gonzalez, 136 F.3d 6, 12 (1st Cir.

   1998)).

                  Both sides have strong arguments. As for the audiovisual

   presentation, Dzhokhar correctly says that prosecutors offered no

   proof that the nasheed used had any significance to him (let alone

   that he ever played it or that it had any connection to the crimes

   themselves), and they never played that nasheed during the trial.

   And the government correctly notes that the presentation consisted

   of photos and an accompanying audio file that the judge had

   admitted into evidence.          Dzhokhar calls the presentation — scored

   with    a      "foreign-sounding      soundtrack"        —     too   emotional    or

   frightening, intended not to inform but "to stoke religious bias."

   To this the government replies — with quotes from United States v.

   Mehanna, 735 F.3d 32, 64 (1st Cir. 2013) (quotation marks omitted)

   — that "terrorism-related evidence is often emotionally charged,"

   even "alarming" and "blood curdling," yet "much of this emotional

   overlay is directly related to the nature of the [terrorist]

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   crimes." And, the government suggests, if that is true of Mehanna,

   where the defendant committed no violent acts, it is all the more

   reasonable to expect emotionally charged evidence and argument

   here, where Dzhokhar partook in terrorist attacks that killed four

   and grievously injured hundreds of others.

               Rather than resolving this close question, we assume

   error — though the error did not irreversibly poison the well.               As

   per usual, the judge told the jurors that counsel's arguments are

   not evidence. And as required by the FDPA, see 18 U.S.C. § 3593(f),

   the judge told them they could not consider Dzhokhar's religious

   beliefs or national origin in deciding whether to recommend death.

   Also as required by the FDPA, they specifically certified in the

   penalty-verdict form that "consideration of the . . . religious

   beliefs" or "national origin . . . of Dzhokhar . . . was not

   involved in reaching" their decision.          Last but not least, in the

   context of this case — with the overwhelming evidence of Dzhokhar's

   devotion    to   radical    jihadist     ideology    and   with    his   guilt

   unquestioned — the jury's penalty-phase verdict was not likely

   affected by 19 seconds of music played weeks earlier during the

   guilt phase.

               Sounding a familiar refrain, we note that each party

   makes good points on the next issue too.          Dzhokhar insists that by

   displaying the image of his middle-finger salute alongside photos

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   of those who had died, the prosecutor fueled the jurors' passions

   by saying — without any factual support — that this was his

   "message" to the murder victims.         The government insists that the

   prosecutor never said that he was flipping off his victims —

   rather, she said that what he did was meant to convey the same

   "message" as his "boat" manifesto:          that a religious duty to wage

   jihad against the United States justified his actions.                And the

   government reminds us that courts do not lightly infer that a

   prosecutor intends an "ambiguous remark" to carry its most harmful

   meaning.     Not leaving that claim unanswered, Dzhokhar says that

   given how the prosecutor displayed the photos, "[t]he inference

   that these images were related to one another is not only the most

   damaging meaning, but also the most obvious."

               Yet even if the government is wrong and Dzhokhar is

   right, he cannot win.          The evidence overwhelmingly showed his

   disdain for his victims.         Far from simply gesturing at them, he

   set off a bomb designed to kill them by sending pieces of metal

   tearing through their bodies.           And after doing this, he later

   tweeted that he was "a stress free kind of guy."              So even if the

   jurors understood the prosecutor as saying that Dzhokhar directed

   his middle-finger salute at his victims, the prejudice from that

   inference would pale when compared with evidence of his violently

   and intentionally killing them — without showing any remorse.

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               Even   though    the    government    won     the   prosecutorial-

   misconduct     challenges     on    harmless     error,    we   suggest   that

   prosecutors not to repeat these tactics on remand.              And by tactics

   we mean the prosecution's (a) showing the jury a photo slideshow

   of the post-bombing carnage scored with a nasheed that had zero

   connection to the crime itself; and (b) displaying a poster-sized

   photo of Dzhokhar sticking out his middle finger placed between

   the same-sized photos of the decedents, thereby implying his

   gesture constituted his "message" to the victims — even though no

   evidence showed he in fact directed his gesture toward the victims.

                      Penalty-Phase Jury Instructions
             About Weighing Aggravating and Mitigating Factors

               We turn our attention to Dzhokhar's suggestion that the

   judge stumbled by not telling the jurors that to recommend death

   they had to find beyond a reasonable doubt that the aggravating

   factors outweighed any mitigating ones.

                                      Background

               To place the matter into proper perspective (and to save

   the reader from having to flip back to a footnote many pages ago),

   we highlight certain aspects of how capital sentencing works.               For

   a defendant to get a death sentence under the FDPA, the jurors

   must make several penalty-phase determinations — including:               they

   must find unanimously and beyond a reasonable doubt that he acted

   with the statutorily required intent, see 18 U.S.C. § 3591(a)(2);
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   they must find unanimously and beyond a reasonable doubt that at

   least one statutory aggravator is present, see id. § 3593(e)(2);

   see also id. § 3592(c); and they must find unanimously that the

   aggravators (statutory and nonstatutory) sufficiently outweigh any

   mitigators, see id. § 3593(e).

                Before   the    penalty-phase    deliberations      started,      the

   defense asked the judge to tell the jurors that they could only

   call for Dzhokhar's death if they found the aggravators outweighed

   any mitigators "beyond a reasonable doubt."             Without hearing any

   argument, the judge said that "Circuit law" precluded him from

   giving an instruction like that.            The judge probably had in mind

   Sampson I — a case holding that because "the requisite weighing

   constitutes a process, not a fact to be found," a jury need not

   make the weighing determination beyond a reasonable doubt.                  See

   486 F.3d at 32.

                           Basic Appellate Arguments

                The Supreme Court tells us "that only a jury, and not a

   judge, may find [beyond a reasonable doubt] facts that increase a

   maximum penalty, except for the simple fact of a prior conviction."

   See Mathis v. United States, 136 S. Ct. 2243, 2252 (2016) (citing

   Apprendi v. New Jersey, 530 U.S. 466, 490 (2000)).               Dzhokhar says

   that   the   weighing       determination    is   a   "fact[]"    that   ups    a

   defendant's "maximum possible punishment from life to death."                  So

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   he argues that the judge erred by not telling the jurors that they

   had to find the aggravators outweighed the mitigators under the

   reasonable-doubt standard.           He admits that Sampson I forecloses

   his claim.       But he thinks that the Supreme Court "abrogated"

   Sampson I in Hurst v. Florida, 136 S. Ct. 616 (2016).

                 The government disagrees.          Sampson I, the government

   says, is still good law because nothing in Hurst weakens Sampson

   I's holding that the "outweighs" decision — coming into play only

   after   the    jurors   find   the    defendant    death-eligible    beyond   a

   reasonable doubt — is not a fact determination, but a moral one

   about what is just.

                                        Analysis

                 Dzhokhar's claim rises or falls on the notion that Hurst

   requires that jurors make the weighing determination beyond a

   reasonable doubt.       Using our independent (or de novo) judgment,

   see Sampson I, 486 F.3d at 29, we think his argument must fall.

                 Hurst invalidated Florida's capital-sentencing scheme.

   See 136 S. Ct. at 619-20. Under that scheme, "the maximum sentence

   a capital felon" could get based on "the [jury] conviction alone

   [was] life imprisonment."            Id. at 620.      He could get a death

   sentence only if the judge later determined that (1) "sufficient

   aggravating      circumstances       exist"     and   that   (2) "there     are

   insufficient mitigating circumstances to outweigh the aggravating

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   circumstances."     Id. at 620, 622 (quotation marks omitted).           Hurst

   said that determination (1) — that sufficient aggravators exist —

   violated the defendant's constitutional right to a jury trial,

   because it "impermissibly allowed 'a sentencing judge to find an

   aggravating circumstance, independent of a jury's factfinding,

   that is necessary for imposition of the death penalty.'" McKinney,

   140 S. Ct. at 707 (quoting Hurst, 136 S. Ct. at 624).                        But

   importantly here, Hurst made no holding regarding determination

   (2) — that the mitigators do not outweigh the aggravators.                   See

   136 S. Ct. at 624 (summarizing the case as holding that Florida's

   sentencing procedure, "which required the judge alone to find the

   existence     of    an    aggravating      circumstance,       is    .   .     .

   unconstitutional" (emphasis added)).

               About a week after Hurst came out, the Supreme Court

   issued Kansas v. Carr.        Carr held that the Constitution does not

   "require[] capital-sentencing courts . . . to affirmatively inform

   the jury that mitigating circumstances need not be proven beyond

   a reasonable doubt."        See 136 S. Ct. 633, 642 (2016) (quotation

   marks omitted).      In doing so, Carr

         doubt[ed] whether it is even possible to apply a standard
         of proof to the mitigating-factor determination . . . .
         Whether mitigation exists . . . is largely a judgment
         call (or perhaps a value call); what one juror might
         consider mitigating another might not.



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   Id.    And then Carr emphasized the discretionary nature of the

   weighing process, saying

         the ultimate question whether mitigating circumstances
         outweigh aggravating circumstances is mostly a question
         of mercy — the quality of which, as we know, is not
         strained. It would mean nothing, we think, to tell the
         jury that the defendants must deserve mercy beyond a
         reasonable doubt; or must more-likely-than-not deserve
         it.

   Id. (emphasis added).57

               Carr causes problems for Dzhokhar in two ways.             One, if

   the Supreme Court in Hurst intended to impose the reasonable-doubt

   standard on the weighing process — as Dzhokhar argues — the Court

   in Carr would not have said days later that telling the jury to

   use that standard "would mean nothing."            And two, Carr's "mercy"

   talk supports Sampson I's statement that "[t]he outcome of the

   weighing process is not an objective truth that is susceptible to

   (further) proof by either party."          See 486 F.3d at 32.

               Now   consider    McKinney    v.   Arizona,    a   Supreme   Court

   opinion from this year.       McKinney held that while cases like Hurst

   require a jury to "find the aggravating circumstance that makes




         57Dzhokhar calls this passage "dicta" that we can disregard.
   But Supreme Court dicta are different from other judicial dicta,
   because "we 'are bound by the Supreme Court's considered dicta
   almost as firmly as by the Court's outright holdings.'"        See
   LaPierre v. City of Lawrence, 819 F.3d 558, 563-64 (1st Cir. 2016)
   (quoting Cuevas v. United States, 778 F.3d 267, 272-73 (1st Cir.
   2015)).
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   the defendant death eligible," they "did not require jury weighing

   of aggravating and mitigating circumstances."             See 140 S. Ct. at

   707-08 (holding that an appellate court can reweigh aggravators

   and   mitigators    if   the   judge   failed    to   properly    consider    a

   mitigator).     So McKinney helps sink Dzhokhar's claim that Hurst

   requires the jury to make the weighing determination beyond a

   reasonable doubt — a view we hold because McKinney makes crystal

   clear Hurst addressed only the finding of aggravating facts and

   had nothing to do with the weighing process.

               The bottom line of this discussion is that our Sampson

   I opinion — holding that the reasonable-doubt standard does not

   apply to the weighing process — remains good law.58

                        Penalty-Phase Jury Instructions
                              About Jury Deadlock

               Dzhokhar makes a second claim of instructional error:

   that the judge botched the proceedings by not telling the jurors

   that failure to reach a unanimous recommendation on the death



         58Dzhokhar takes another dig at Sampson I, arguing that
   Sampson I "failed to take account of" United States v. Gaudin, 515
   U.S. 506 (1995). Gaudin held that a jury must decide whether a
   criminal defendant "is guilty of every element of the crime with
   which he is charged, beyond a reasonable doubt." Id. at 510. And
   Gaudin further held that materiality, as an element of a false-
   statement crime under 18 U.S.C. § 1001, is a mixed question of law
   and fact for the jury to resolve. Id. at 511-12, 522. But nowhere
   did Gaudin suggest that the weighing determination is an element
   or fact that a jury must find applying a reasonable-doubt standard.
   So Gaudin does not help Dzhokhar.
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   penalty would result in his imposing a life sentence without the

   possibility of release.

                                      Background

                As a matter of helpful repetition, we emphasize again

   that jurors in a federal capital case cannot recommend that a

   defendant die unless (as relevant here) they unanimously find

   beyond   a   reasonable    doubt    a   requisite   intent   factor    and   an

   aggravating circumstance, and then unanimously find that all the

   aggravators outweigh any mitigators to justify his getting death.

   See Jones, 527 U.S. at 376-77 (reviewing the FDPA).               And if they

   cannot make a unanimous recommendation, the judge steps in and can

   impose either a life sentence without release or any lesser

   sentence allowed by law.        See id. at 380-81.       The parties concur

   that jury deadlock on any of these prerequisites here would have

   resulted in a sentence of life without release.

                With this understanding in place, we return to the

   particulars of Dzhokhar's case — right before the penalty-phase

   deliberations.      The defense asked the judge to tell the jurors

   that he would impose a sentence of life without release if, after

   weighing the aggravating and mitigating circumstances, they could

   not unanimously agree on a sentencing recommendation. The proposed

   instruction read:

         If the jury is unable to reach a unanimous decision in
         favor of either a death sentence or of a life sentence,
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         I will impose a sentence of life imprisonment without
         possibility of release upon the defendant. That will
         conclude the case. At this sentencing stage of the case,
         the inability of the jury to agree on the sentence to be
         imposed does not require that any part of the case be
         retried. It also does not affect the guilty verdicts
         that you have previously rendered.

               The defense conceded that the Supreme Court's Jones

   decision "authorize[d] district courts" to refuse to give such an

   instruction.      See 527 U.S. at 381 (holding that judges are not

   required to instruct sentencing juries on the consequences of a

   deadlock in the weighing process).           But the defense claimed that

   without it, the jury might "wrongly assume that a failure to agree

   on sentence would require the case to be retried before a new

   jury."     And   this   mistaken    belief,    the   defense    added,   would

   "coerc[e]" some jurors into accepting a death verdict to avoid

   having to "put the victims and the survivors and the entire

   community through this entire case again."

               The judge rejected the defense's request, saying that

   the   suggested     instruction     could     "undercut[]"     the   "process

   anticipated by" the FDPA by essentially empowering "one juror" to

   "simply decid[e] that the decision was his or hers" without

   sufficiently engaging in the deliberative process.             But the judge

   explained that he would address the defense's coercion concerns by

   giving "a very strong instruction" that "each individual juror is



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   to give his or her own [verdict] and not agree just to agree with

   others."

                After    the       parties   presented     their       penalty-phase

   evidence, the judge told the jurors that they had to decide —

   unanimously and beyond a reasonable doubt — whether the government

   established the existence of one of the "gateway" mental-intent

   factors (which we will later discuss) and one of the statutory

   aggravating factors.          The judge noted that if they could not so

   agree, he then would sentence Dzhokhar to life imprisonment without

   release.     But the judge said that if they could so agree, they

   then   had   to    consider     whether   the    aggravators    outweighed   any

   mitigators to justify a death sentence. And if, after the weighing

   process, they unanimously found that death or life without release

   was the proper sentence, the judge stated that they should mark

   the corresponding part of the verdict form.

                The judge did not instruct the jurors about what would

   happen if they deadlocked in making a sentencing recommendation.

   But he did tell them that "[b]efore you reach any conclusion based

   on a lack of unanimity on any count, you should continue your

   discussions       until   you    are   fully     satisfied   that    no   further

   discussion will lead to a unanimous decision."               And he emphasized

   that "[a]ny one of you is free to decide that a death sentence

   should not be imposed," that "[e]ach juror must individually

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   decide" whether to recommend death, and that "no juror is ever

   required to impose a sentence of death."

                The defense later objected to the judge's "refusal" to

   instruct the jurors about what would occur if they deadlocked on

   the penalty recommendation.

                           Basic Appellate Arguments

                Dzhokhar criticizes the judge for not telling the jurors

   that if they could not unanimously agree on whether to recommend

   death, then he (Dzhokhar) would automatically get life without

   release.     He thinks this because to him the jurors likely drew a

   "negative inference" from the instructions at earlier stages —

   i.e., that because the judge said that deadlock at the intent and

   aggravator stages would result in an automatic life sentence

   without release, his not saying anything about deadlock at the

   weighing stage would cause them to infer that the "failure to reach

   unanimity" there "would yield a result other than a mandatory life

   sentence."      And,   still    repeating    arguments    made   below,     this

   "omission[]"     (to   quote    again    from   his   brief)     "created     an

   intolerable risk of coercing holdout jurors for life to acquiesce

   in a death verdict in order to spare the victims' families, the




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   survivors, and the Boston community the significant financial and

   emotional strain" of a second penalty-phase "trial."

               The government takes a diametrically opposed position.

   It says that the judge's decision not to instruct about the effect

   of a deadlock on the sentence decision squares with the Supreme

   Court's Jones opinion. It also says that Dzhokhar's argument about

   the jurors drawing a negative inference "is speculative at best"

   and so cannot undermine the judge's ruling.

                                      Analysis

               The   parties   disagree    about   what   standard    of   review

   applies to this claim.       We review anew (de novo, as the cases say)

   preserved claims that the jury instructions mislead the jurors,

   "taking into account the charge as a whole and the body of evidence

   presented at trial." Sampson I, 486 F.3d at 29. Dzhokhar believes

   he said enough below to preserve his arguments.               The government

   believes differently. But we assume without deciding that Dzhokhar

   is correct because he loses here under either standard.

               Jones lights the path to decision.         Construing § 3594 of

   the FDPA, Jones held that if the jury fails to reach a unanimous

   verdict on punishment for a capital crime, the judge must enter a

   sentence other than death — so there is no mistrial or second




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   penalty-phase proceeding.59        See 527 U.S. at 380-81.         Jones also

   held that a judge need not tell the jurors about the consequences

   of deadlock at that stage.          See 527 U.S. at 381, 384.         "[I]n a

   capital sentencing proceeding," Jones explained, "the Government

   has 'a strong interest in having the jury express the conscience

   of the community on the ultimate question of life or death.'"               Id.

   at 382 (quoting Lowenfield v. Phelps, 484 U.S. 231, 238 (1988)).

   And telling the jurors about the consequences of nonunanimity,

   Jones said, could undermine those vital interests because it might

   amount     to   "an   open   invitation    for   the   jury   to   avoid    its

   responsibility and to disagree."          Id. at 383-84 (quoting Justus v.

   Virginia, 266 S.E.2d 87, 92 (Va. 1980)).          Jones also stressed that

   if a defendant thinks the judge's charge "caused jury confusion,"

   he must show "a reasonable likelihood that the jury has applied




         59   Section 3594 says:
         Upon a recommendation under section 3593(e) that the
         defendant should be sentenced to death or life
         imprisonment without possibility of release, the court
         shall sentence the defendant accordingly.     Otherwise,
         the court shall impose any lesser sentence that is
         authorized by law. Notwithstanding any other law, if
         the maximum term of imprisonment for the offense is life
         imprisonment, the court may impose a sentence of life
         imprisonment without possibility of release.
   18 U.S.C. § 3594.
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   the challenged instruction[s]" in a legally flawed way.                 Id. at

   390 (quoting Estelle v. McGuire, 502 U.S. 62, 72 (1991)).

               Dzhokhar has not shown a reasonable likelihood that the

   jury applied the instructions incorrectly.              Our reasons for so

   concluding are threefold.

               In the first place, the judge's instructions that he

   would sentence Dzhokhar to life without release if the jury

   deadlocked at the intent-and-aggravator-factor stages passed legal

   muster.    See Jones, 527 U.S. at 380-81.           So too did the judge's

   decision not to instruct on the effect of their deadlocking on the

   sentence decision.      See id. at 381-84.       Devastating to his claim,

   Dzhokhar cites no precedent holding that if the judge instructs on

   the effect of an impasse at one stage, he must also do so at every

   other stage.

               In   the   second    place,    Dzhokhar's    negative-inference

   theory — the omission of a consequences-of-deadlock instruction at

   the weighing stage signaled to the jury that a deadlock there would

   lead to a mistrial and a new penalty phase — rests on nothing but

   speculation.      See Carr, 136 S. Ct. at 643 (stressing that "[a]

   meager 'possibility' of confusion is not enough" (quoting Boyde v.

   California, 494 U.S. 370, 380 (1990))).           We doubt that the jurors

   recognized the inconsistency that his lawyers see, particularly

   since "[j]urors do not sit in solitary isolation booths parsing

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   instructions for subtle shades of meaning in the same way that

   lawyers might."       See Brown v. Payton, 544 U.S. 133, 143 (2005)

   (quoting Boyde, 494 U.S. at 380-81).              But even indulging his

   speculative inference drawing, we think that the jurors were at

   least as likely to conclude that the effect of a deadlock at the

   weighing stage would be the same as at the earlier stage — i.e.,

   that the judge would hand down a sentence of life without release.

   And even assuming the jurors wanted to avoid a new penalty phase,

   we believe the instructions could just as easily have caused them

   to compromise by choosing to recommend life without release.

   Anyhow, their verdict shows they did not feel compelled to return

   a death verdict, given how they recommended life on 11 of the 17

   death-eligible counts.

                Also hurting Dzhokhar is that Jones rejected a similar

   negative-inference claim.         The Jones defendant claimed that an

   alleged ambiguity in the instructions might have caused the jury

   to think that if it failed to reach unanimity on the sentencing

   issue, the judge might give him a term less severe than life

   without release.        572 U.S. at 387.         But Jones rebuffed this

   negative-implication argument, holding that the defendant had

   "parse[d]"    the    instructions     "too    finely"   and   that   —   after

   considering the instructions as a whole — the inferences he relied



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   on did not "create a reasonable likelihood" of confusion over the

   deadlock's effect.       Id. at 391-92.

               In   the   third    place    and     finally,   Dzhokhar   cites   no

   authority holding that an instruction that is constitutionally

   permissible can become unconstitutionally coercive by ambiguous

   negative    inferences       drawn   from   other   instructions.      That    is

   probably because the caselaw is against him. For Jones holds "that

   instructions that might be ambiguous in the abstract can be cured

   when read in conjunction with other instructions."                 Id. at 391.

   And reviewing the instructions holistically — instructions that

   stressed that "[a]ny [juror] is free to decide that a death

   sentence    should     not    be     imposed,"    that   "[e]ach    juror   must

   individually decide" whether to recommend death, and that "no juror

   is ever required to impose a sentence of death" (which we presume

   they obeyed, see Marsh, 481 U.S. at 206) — we see no basis for

   Dzhokhar's conjecture that any juror was coerced into voting for

   a death sentence to avoid causing a mistrial.

                             Ex-Parte Communications

               Up for review here is Dzhokhar's claim that a "secret

   channel of communication" existed between prosecutors and the




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   judge — "repeated private access" that violated his constitutional

   rights to due process and effective assistance of counsel.

                                    Background

               During Dzhokhar's prosecution, the government filed a

   number of documents ex parte.         And the judge held a number of ex-

   parte conferences with the government.          All of this resulted in 26

   ex-parte docket entries, involving 4 court orders, 16 government

   motions or notices, and 6 ex-parte conferences.

               As Dzhokhar's appeal moved along, the government (with

   the judge's approval) voluntarily disclosed 13 of the ex-parte

   filings to the defense. After some motion practice, the government

   disclosed a lightly-redacted transcript of an ex-parte conference

   on the Waltham evidence.       So 12 ex-parte items remain undisclosed.

                           Basic Appellate Arguments

               The nub of Dzhokhar's argument is that the judge's "back-

   channel talks" with the government robbed him of his "Fifth

   Amendment right to due process and his Sixth Amendment right to

   the assistance of counsel."        Quoting a decision from us, he points

   out that

         not only is it a gross breach of the appearance of
         justice when the defendant's principal adversary is
         given private access to the ear of the court, it is a
         dangerous procedure [because it invites the question
         whether] "[t]he firmness of the court's belief [in the
         prosecutor's position] may well have been due not only
         to the fact that the prosecutor got in his pitch first,

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          but, even more insidiously, to the very relationship
          . . . that permitted such [ex parte] disclosures."

   See Haller v. Robbins, 409 F.2d 857, 859-60 (1st Cir. 1969).                And

   he notes that the constitutional right to counsel applies to all

   critical stages of the prosecution.            See Lafler v. Cooper, 566

   U.S.    156,    165   (2012)   (underscoring   that   this   "constitutional

   guarantee applies to pretrial critical stages that are part of the

   whole course of a criminal proceeding, a proceeding in which

   defendants cannot be presumed to make critical decisions without

   counsel's advice").

                  Seeing no violations, the government insists that the

   in-camera procedures helped the judge "to independently assess

   whether the materials were discoverable" — and because they "were

   not" discoverable, Dzhokhar had "no right to obtain them."                   As

   support, the government stresses that a judge's ex-parte, in-

   camera review of documents may be authorized under the Classified

   Information Procedures Act and Criminal Rule 16(d)(1).             See United

   States v. Pringle, 751 F.2d 419, 426-28 (1st Cir. 1984).60                  And


           "[E]nacted to limit the practice of criminal defendants
          60

   threatening to disclose classified information . . . to force the
   government to dismiss the charges," the Classified Information
   Procedures Act (among other things) lists a series of rules for
   preserving confidentiality of classified information and for
   allowing discrete use of such information. See Dhiab v. Trump,
   852 F.3d 1087, 1092 n.9 (D.C. Cir. 2017).        That Act defines
   "[c]lassified information," in relevant part, as "any information
   or material that has been determined by the United States
   Government pursuant to an Executive order, statute, or regulation,
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   quoting     one   of   our   cases,    the    government    adds    that    the

   "requirements of confidentiality [can] outweigh the interest in

   adversarial litigation and permit a court to rule on an issue in

   camera and without the participation of an interested party."               See

   United States v. Innamorati, 996 F.2d 456, 487 (1st Cir. 1993).

                                      Analysis

               The interests on each side of this controversy are

   profound.      And both parties have points in their favor.                 But

   reviewing Dzhokhar's legal challenge de novo, see United States v.

   Lustyik, 833 F.3d 1263, 1267 (10th Cir. 2016) — i.e., without

   giving the judge's take any special weight — we side with the

   government.

               A criminal defendant's right to an adversary proceeding

   is central to our system of justice.           See, e.g., Innamorati, 996

   F.2d at 487.      That right includes the right to have counsel at all

   critical stages of the criminal process.          See, e.g., United States

   v. Cronic, 466 U.S. 648, 654, 659 (1984).              But the law permits

   some exceptions to this norm.         See, e.g., Innamorati, 996 F.2d at

   487.   In exceedingly "rare situations" a judge may act in camera




   to require protection against unauthorized disclosure for reasons
   of national security." 18 U.S.C. app. 3 § 1(a). And Criminal
   Rule 16(d)(1) provides that "[t]he court may permit a party to
   show good cause [for an order restricting discovery] by a written
   statement that the court will inspect ex parte."
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   and with the benefit of only the prosecution's views, like when

   there is a need to stop disclosure of sensitive information — for

   example    (and   without   limitation),     material    that   could   damage

   national security, see id., compromise an in-progress criminal

   inquiry, see Puerto Rico, 490 F.3d at 64, or fall outside the rule

   of Brady v. Maryland, see United States v. Claudio, 44 F.3d 10, 14

   (1st Cir. 1995).61     And because the point is so powerful and cannot

   be made enough, we repeat what we said in Innamorati:

         Outside of emergencies, . . . the ex parte submission of
         information from a party to the court and the court's
         ruling on that information without notice to or
         participation of the opposing party is fundamentally at
         odds with our traditions of jurisprudence . . . and can
         be   justified   only   in    the   most   extraordinary
         circumstances.

   996 F.2d at 487.

               The "burden of justification" here is on the government.

   See Claudio, 44 F.3d at 14.        And it is a burden the government has

   carried.

               The government notes that aside from a few documents on

   a restitution issue (which the judge never ruled on), all of the

   remaining ex-parte items involve "either classified or otherwise

   sensitive material" that prosecutors gave the judge for an in-



          Generally speaking (and as noted earlier), Brady requires
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   the prosecution to give the accused information that is both
   favorable and material to guilt or punishment. See 373 U.S. at
   87.
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   camera review to see if "the material should be protected from

   disclosure or should instead be produced to the defense."62             Asking

   us to take his side, Dzhokhar zeroes in on an ex-parte proceeding

   held after the defense filed a motion challenging the prosecution's

   proposed trial exhibits. With the benefit of only the government's

   presentation, the judge there offered some suggestions about how

   the evidence could best be shown at trial.           But neither he nor the

   government touched on Dzhokhar's objections.           We do not understand

   why the judge had to consider this presentation issue on an ex-

   parte      basis.     But   given   the   "unimportance   of   the   material"

   discussed at this brief hearing, any error "inflicted no prejudice"

   on Dzhokhar.        See Innamorati, 996 F.2d at 488.

                 As for the other ex-parte communications, we think that

   the necessity to keep sensitive information from the defense

   sufficiently justified the procedures employed in this case.                And

   not for nothing, but these ex-parte measures actually helped

   protect Dzhokhar's due-process rights, for they allowed the judge

   to review and rule on the materials' discoverability — rather than

   leaving the decision in the hands of prosecutors.              See generally

   Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987) (explaining that




         62The government has given Dzhokhar's appellate counsel and
   us a document (filed under seal) describing the ex-parte materials
   and explaining why the defense should not get them.
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   "[i]n the typical case where a defendant makes only a general

   request for exculpatory material under Brady . . ., it is the

   [government] that decides which information must be disclosed").

   On this point Innamorati put it best:            "[T]he interests of justice

   are better served by encouraging the government to let the district

   court resolve" concerns about sensitive information "in close

   cases"; and a "[d]efendant[] in general would not gain from a

   regime that encouraged the government to decide the matter itself."

   See 996 F.2d at 488.       See also generally Ritchie, 480 U.S. at 59-

   60 (finding the defendant's interest in discovering exculpatory

   information adequately protected by trial court's in-camera review

   of sensitive materials).

               Dzhokhar does not gain any more traction by turning to

   the judge's ex-parte, in-camera handling of the Todashev material

   — proceedings prompted by the government's pressing the qualified

   law enforcement investigatory privilege.            True, we today hold that

   the judge erred by denying the defense access to these items.               But

   the   potentially    sensitive    nature    of    the   information   involved

   justified    the    judge's   "initial"     ex-parte     examination.       See

   Innamorati, 996 F.2d at 488.        Which is why we applaud rather than

   criticize the judge's use of established protocols for assessing

   the merits of this privilege claim.



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                 Not only does Dzhokhar's due-process argument collapse

   — his right-to-counsel argument does too.

                 Citing Cronic, Dzhokhar insists that "[t]he ex parte

   communications concerning contested discovery" violated his right

   to counsel at a "critical stage" of his prosecution.              Cronic held

   that if a defendant was completely denied the right to counsel for

   a "critical stage" of the trial, we irrebuttably presume that it

   was harmful (we do not ask whether the error was harmless).                 See

   466 U.S. at 659 & n.25; see also Bell v. Cone, 535 U.S. 685, 695-

   96   (2002).      But   Dzhokhar    never   explains   how   these   ex-parte

   proceedings qualified as critical stages.           Then there is the just-

   discussed caselaw saying that ex-parte review is appropriate in

   those "rare" instances where the need to keep sensitive information

   from    the     opposing    party     "outweigh[s]     the    interest"      in

   inquisitorial proceedings.         See Innamorati, 966 F.2d at 487.         See

   also generally Ritchie, 480 U.S. at 60 (recognizing that ex-parte

   proceedings "den[y]" the defendant "the benefits of an 'advocate's

   eye,'" but finding no constitutional problem there because the

   trial judge was "obligated to release information material to the

   fairness of the trial").           And that takes care of his right-to-

   counsel theory.

                 We end here with a caveat.      This is a jury trial, not a

   bench trial where the judge decides the facts.            And our reasoning

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   does    not    necessarily    apply   to   the    latter    without    further

   consideration.

                        Fair-Cross-Section Requirement

                 Dzhokhar contends that an underrepresentation of African

   Americans in the grand and petit jury wheels violated his right to

   an impartial jury selected from a fair cross-section of the

   community.63     He calls the statistical methodology that our circuit

   uses to determine underrepresentation — the absolute-disparity

   method — "legally and statistically unsound."64            Conceding that we

   as a three-judge panel are stuck with this circuit's approach, he

   says that he raises the issue simply to preserve it for possible

   "en banc or Supreme Court review."           So "[f]or present purposes,"

   he adds, "nothing else need be said" — a point with which we agree.




           A jury wheel is "[a] physical device or electronic system
          63

   used for storing and randomly selecting names of potential jurors."
   See Jury Wheel, Black's Law Dictionary (11th ed. 2019). A grand
   jury decides whether to indict a suspect. See Grand Jury, Black's
   Law Dictionary (11th ed. 2019). And a petit jury decides whether
   to convict the indictee.     See Jury:    Petit Jury, Black's Law
   Dictionary (11th ed. 2019).
           The absolute-disparity method "measures the difference
          64

   between the percentage of members of the distinctive group in the
   relevant population and the percentage of group members on the
   jury wheel." United States v. Royal, 174 F.3d 1, 6-7 (1st Cir.
   1999) (discussing United States v. Hafen, 726 F.2d 21, 23 (1st
   Cir. 1984)).
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                  Death Penalty for Offenders Under Age 21

                That takes us to Dzhokhar's constitutional claim that as

   a person accused of having committed death-eligible crimes when he

   was under 21 (he was 19 at the time of the bombings), he is

   "categorically exempt from the death penalty."

                Citing Roper v. Simmons, 543 U.S. 551 (2005), Dzhokhar

   concedes — as he must — that the Supreme Court has "dr[awn] a

   bright line" for death eligibility "at age 18."                 He just thinks

   that the factors Roper considered relevant in granting death-

   penalty immunity to persons under 18 — that they lack the maturity

   we attribute to adults; that they are more vulnerable to peer

   pressure than are adults; and that their personality traits are

   less fixed, suggesting a higher likelihood of rehabilitation of

   juveniles than of adults, see id. at 569-79 — apply equally to

   persons under 21.        Looking for support, he argues that "scientific

   research"     since     Roper   "has    explained    the     effects    of    brain

   maturation, or the lack thereof, on the behavioral and decision-

   making abilities of late adolescents in their late teens and early

   twenties."        He   also   says   that   there   is   a   "growing   national

   consensus against the death penalty" for offenders between 18 and

   20.         See        Am.    Bar    Ass'n,      Resolution      111         (2018),

   https://www.americanbar.org/content/dam/aba/images/abanews/mym20

   18res/111.pdf.

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               Unimpressed,        the       government     writes      that     Dzhokhar

   discusses       no    research      about       "brain    maturation         that   is

   substantially different from the research available" at the time

   Roper came down.          Citing one of his sources, the government also

   writes that "not a single state with an active death penalty

   scheme" bans the execution of 18-to-20-year-olds.                       And if the

   United States made that group death-penalty immune, the government

   adds, quoting another of his sources, it "would be taking an

   unusual legal stance with respect to prevailing international

   norms."

               Because Dzhokhar did not raise this issue below, we

   review    for    plain     error      —    reversing     only   if    (among    other

   requirements)        he   can    show      an   "indisputable"       error,    "given

   controlling precedent."            See United States v. Correa-Osorio, 784

   F.3d 11, 22 (1st Cir. 2015).                This he cannot do, however, given

   Roper's square holding that 18 is "the age at which the line for

   death eligibility ought to rest."               See 543 U.S. at 574.        The change

   he proposes is certainly worthy of careful consideration.                           As

   members of what the Constitution calls an "inferior" court, see

   U.S. Const. art. III, § 1, we simply note that whether a change

   should occur is for the Supreme Court to say — not us, see Morey

   v. United States, 903 F.2d 880, 883 (1st Cir. 1990).



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                                Crime of Violence

               We end with Dzhokhar's challenge to five convictions for

   using a firearm during a "crime of violence."

                                    Background

               The jury convicted Dzhokhar of (among other crimes)

   multiple violations of 18 U.S.C. § 924(c).           As relevant here, that

   section    has   two   prongs:     the   "use   or   carry"   prong    and   the

   "possession" prong.      The first punishes anyone who "during and in

   relation to any crime of violence . . . uses or carries a firearm."

   Id. § 924(c)(1)(A) (emphasis added).            The second punishes anyone

   who "in furtherance of any such crime[] possesses a firearm."                Id.

   (emphasis added).65        The statute carries hefty minimum prison

   terms, especially for recidivists (and these sentences are over

   and above the ones they get for the underlying crime).                 See id.

   § 924(c)(1)(A)-(C).        Another    provision      increases   the   maximum

   penalty to death if the defendant, "in the course of a violation

   of subsection (c)," kills "a person through the use of a firearm"

   and the killing is a murder as defined in the federal murder

   statute.    See id. § 924(j)(1).




         65Critically for present purposes, "firearm" includes
   "destructive device[s]" such as bombs. See 18 U.S.C. § 921(a)(3)-
   (4).
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               Section 924(c) defines "crime of violence" (a phrase we

   italicized above) as "an offense that is a felony" and

         (A) has as an element the use, attempted use, or
         threatened use of physical force against the person or
         property of another, or

         (B) that by its nature, involves a substantial risk that
         physical force against the person or property of another
         may be used in the course of committing the offense.

   Id. § 924(c)(3). Courts commonly call subsection (A) the "elements

   clause" (sometimes also referred to as the "force clause") and

   subsection (B) the "residual clause."          See, e.g., United States v.

   Davis, 139 S. Ct. 2319, 2324 (2019).

               Two methods exist for deciding if a prior crime is a

   crime of violence:       the "categorical approach" and the "modified

   categorical approach."          See, e.g., United States v. Taylor, 848

   F.3d 476, 491-92 (1st Cir. 2017).

               If   the    prior     crime   involved    a   violation     of    an

   "indivisible" statute — i.e., one that "sets out a single . . .

   set   of   elements    to   define    a   single   crime" —   we   apply     the

   categorical approach.       See Mathis, 136 S. Ct. at 2248.        That means

   we see whether the prosecution had to prove that the defendant

   used, attempted to use, or threatened to use physical force against

   the person or property of another — not whether he actually did.

   See id.    And because we care only whether the prior crime requires

   physical force — not whether his criminal conduct involved physical

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   force    —    we     focus   on    the    least    forceful   conduct   generally

   criminalized under the statute, knowing that there must be a

   realistic probability the statute would be used to criminalize the

   conduct.       See United States v. Báez-Martínez, 950 F.3d 119, 124

   (1st Cir. 2020).         And "physical force" here means "force capable

   of causing physical pain or injury" to a person or physical damage

   to property.         See Johnson v. United States, 559 U.S. 133, 138-40

   (2010) ("Curtis Johnson"); see also Davis, 139 S. Ct. at 2325-26.

                 Alternatively, if the prior crime involved a violation

   of a "divisible" statute — i.e., one that defines multiple crimes

   with    distinct       elements —    we    apply    the   modified    categorical

   approach (if the statute simply lists different means of committing

   a single crime, then it is indivisible and we use the categorical

   approach).         See Mathis, 136 S. Ct. at 2249.         This approach allows

   us to look beyond the face of the statute to a limited set of

   documents      —    known    as   "Shepard   documents,"      which   include   the

   indictment, jury instructions, and verdict forms — to see "what

   crime, with what elements," the defendant committed.                      See id.

   (discussing Shepard v. United States, 544 U.S. 13 (2005)); see

   also United States v. Delgado-Sánchez, 849 F.3d 1, 8 (1st Cir.

   2017).       But the approach "serves a limited function," namely, to

   "help[] effectuate the categorical analysis" when we are faced

   with a divisible statute — in other words, after reviewing the

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   relevant documents and identifying the specific crime underlying

   the defendant's conviction, we must then apply the categorical

   approach to that crime to see if it is a crime of violence.                 See

   Descamps v. United States, 570 U.S. 254, 260 (2013).

               Days after the judge sentenced Dzhokhar — giving him

   death on some of the death-eligible counts and various concurrent

   and consecutive terms on the remaining counts (including 20 life

   terms) — the Supreme Court invalidated the Armed Career Criminal

   Act's    similarly   worded    residual    clause    as    unconstitutionally

   vague.   See Johnson v. United States, 135 S. Ct. 2551, 2557 (2015)

   ("Samuel Johnson").        For easy reading, we shorten Armed Career

   Criminal Act to "ACCA."           The ACCA's residual clause defined

   "violent felony" as any crime punishable by a term of imprisonment

   exceeding one year that "involves conduct that presents a serious

   potential risk of physical injury to another."                 See 18 U.S.C.

   § 924(e)(2)(B).       In tossing out that residual clause, Samuel

   Johnson (in brief) found "[t]wo features of the [ACCA's] residual

   clause" troublesome:       it "leaves grave uncertainty about how to

   estimate the risk posed by a crime" and "about how much risk it

   takes for a crime to qualify as a violent felony."             See 135 S. Ct.

   at 2557-58 (emphasis added).

               Relying on Samuel Johnson, Dzhokhar moved for a judgment

   of acquittal on all of the § 924(c) counts.               He also asked for a

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   new penalty-phase trial as well.            According to his motion, the

   judge had told the jury (without objection) that all of the

   "predicate" offenses — malicious destruction of property, for

   example, or conspiracies to use a weapon of mass destruction, to

   bomb a place of public use, and to maliciously destroy property —

   constituted crimes of violence as a matter of law.              But, he noted,

   the judge did not say which of § 924(c)'s clauses applied to which

   predicate.    Insisting that the government could no longer rely on

   the residual clause after Samuel Johnson, he also claimed that

   none of the predicates categorically qualified as a crime of

   violence under the elements clause.

                Opposing the motion, the government argued first that

   Dzhokhar had waived his challenge to the § 924(c) counts by not

   raising it sooner.        The government premised this argument on two

   theories:     that Dzhokhar had to raise defects in the indictment

   before trial and that he had to object to the judge's crime-of-

   violence instructions either before or after the judge gave them.

   Waiver   aside,    the    government    also    argued   that   the   different

   wordings    between      § 924(c)'s    residual    clause   and   the    ACCA's

   residual clause made Samuel Johnson's void-for-vagueness analysis

   inapplicable to Dzhokhar's case.           And relying on Curtis Johnson,

   the government insisted that the predicates qualified as crimes of

   violence under the elements clause because they involved the use,

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   attempted use, or threatened use of violent physical force against

   the person or property of another.

               The judge denied Dzhokhar's motion, finding § 924(c)'s

   residual    clause     not   impermissibly    vague    and   each   contested

   predicate a crime of violence under the elements clause.                  In a

   footnote, the judge theorized how Dzhokhar may have waived any

   argument that the predicates failed to satisfy the elements clause.

   But the judge did not resolve the waiver issue because he found no

   error.

               During the briefing phase of this appeal, the Supreme

   Court    issued   an   opinion   declaring    § 924(c)'s     residual   clause

   overly vague.     See Davis, 139 S. Ct. at 2336.           With Davis on the

   books, that leaves only one potential path for treating the

   predicates as crime-of-violence offenses:           the elements clause, a

   provision (as we said) that sweeps in crimes having "as an element

   the use, attempted use, or threatened use of physical force," see

   18 U.S.C. § 924(c)(3)(A) — i.e., "force capable of causing physical

   pain or injury" to a person or physical damage to property, see

   Curtis Johnson, 559 U.S. at 140.

                            Basic Appellate Arguments

               On appeal Dzhokhar limits his challenge to five § 924(c)

   convictions involving Counts 13, 15, 16, 17, and 18.                Counts 13

   and 15 alleged as predicates the malicious destruction of property,

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   colloquially known as arson, resulting in death (as charged in

   Counts 12 and 14, respectively).            See 18 U.S.C. § 844(i).         And

   Counts 16, 17, and 18 alleged as predicates conspiracies to use a

   weapon of mass destruction, to bomb a place of public use, and to

   maliciously destroy property, all resulting in death (as charged

   in   Counts    1,   6,   and    11,     respectively).      See    18    U.S.C.

   §§ 2332a(a)(2), 2332f(a)(1) and (2), 844(i) and (n).

               In essence, Dzhokhar's position boils down to this.

   Arson — the predicate crime for Counts 13 and 15 — fails to satisfy

   the elements clause because, first, one can commit the offense by

   maliciously destroying "any" property, including one's own and so

   does not require as an element that force be used against the

   person or property of another, as the elements clause requires;

   and second, one can commit the crime with a reckless mental state

   but the elements clause demands intentional conduct.                    Arguing

   further, Dzhokhar contends that the challenged conspiracies — the

   predicate crimes for Counts 16, 17, and 18 — fail to satisfy the

   elements clause because conspiracies criminalize mere agreements

   to commit an act and thus do not necessarily have as an element

   the actual, attempted, or threatened use of physical force.

               The government responds, essentially, this way.                  It

   agrees that malicious destruction of property "simpliciter . . .

   is not categorically a crime of violence."            It admits that under

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   our current precedent "reckless conduct, as opposed to intentional

   conduct, cannot constitute the use of force against the person or

   property of another."        It accepts that "conspiring to commit a

   violent act does not necessarily have as an element the use,

   attempted use, or threatened use of physical force."                   And it

   consents to our vacating of Count 18 — predicated on conspiracy to

   commit arson — albeit on grounds different from those offered by

   Dzhokhar66 (thus sparing us the need to discuss Count 18 further).

                But the government insists that when the indictment

   charges arson as a capital crime, "the jury must find as an

   element" at least one of the FDPA's gateway-intent factors — each

   of which "requires proof that the defendant engaged in intentional

   conduct that directly resulted in a victim's death," meaning he

   used a level of force required under the elements clause.67                  It



         66Dzhokhar argues that Count 18 is not a valid predicate
   because conspiracy to commit an offense is simply an agreement to
   commit an offense, and such an agreement does not always require
   the actual, attempted, or threatened use of physical force. But
   the government insists Count 18 is invalid because the indictment
   did not charge the predicate conspiracy as a capital count.
         67   The gateway-intent factors require proof that the defendant
         (A) intentionally killed the victim;
         (B) intentionally inflicted serious bodily injury that
         resulted in the death of the victim;
         (C) intentionally participated in an act, contemplating
         that the life of a person would be taken or intending
         that lethal force would be used in connection with a
         person, other than one of the participants in the
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   also insists that the death-resulting allegations "independently

   require[] proof that the victim was subjected to 'physical force'"

   as used in the elements clause.          And it takes a similar approach

   with the remaining conspiracy predicates, claiming that the death-

   resulting allegations establish the type of force needed to satisfy

   the elements clause.

                                      Analysis

               The parties spend some time addressing our standard of

   review.     Dzhokhar argues for a de novo appraisal, noting that we

   typically    evaluate    judgment-of-acquittal       and   crime-of-violence

   assessments without giving any deference to the district judge's

   views.    See United States v. Santos-Soto, 799 F.3d 49, 56 (1st

   Cir. 2015) (judgment of acquittal); United States v. Turner, 501

   F.3d 59, 67 (1st Cir. 2007) (crime of violence).              The government

   pushes for plain-error review, repeating the waiver arguments it


         offense, and the victim died as a direct result of the
         act; or
         (D) intentionally and specifically engaged in an act of
         violence, knowing that the act created a grave risk of
         death to a person, other than one of the participants in
         the offense, such that participation in the act
         constituted a reckless disregard for human life and the
         victim died as a direct result of the act.
   18 U.S.C. § 3591(a)(2)(A)-(D). Because no one argues otherwise,
   we assume without deciding that the government is right in saying
   that each factor (including (D)) requires intentional conduct.
   See also Báez-Martínez, 950 F.3d at 124–28 (holding that the mens
   rea required for second-degree murder satisfies the ACCA's
   elements clause).
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   made in the district court:        that Dzhokhar had to — but did not —

   raise the crime-of-violence issue pretrial or object to the crime-

   of-violence instructions either before or after the judge gave

   them.

               We think Dzhokhar has the better of this standard-of-

   review exchange.       United States v. Cruz-Rivera concluded that a

   defendant's judgment-of-acquittal motions preserved his § 924(c)

   predicate-offense challenge.          904 F.3d 63, 65 (1st Cir. 2018).

   And Cruz-Rivera did so even though the defendant had not moved to

   dismiss the indictment or objected to the jury charge instructing

   that the at-issue predicate constituted a crime of violence as a

   matter of law.     See Br. for Appellee at 10, Cruz-Rivera, 904 F.3d

   63 (No. 16-1321), 2018 WL 3035960, at *9-10; Br. for Appellant at

   20, Cruz-Rivera, 904 F.3d 63 (No. 16-1321), 2018 WL 3261713, at

   *20.    The government tries to downplay the importance of this

   decision by saying "Cruz-Rivera . . . did not definitively opine

   on" the waiver question because "the government never challenged

   the preservation of the claim."         When we give de novo review to an

   unpreserved claim because the government failed to argue plain

   error to us, we say so.       See, e.g., United States v. Blewitt, 920

   F.3d 118, 122 n.2 (1st Cir. 2019) (quoting United States v.

   Encarnación-Ruiz, 787 F.3d 581, 586 (1st Cir. 2015)).               But Cruz-

   Rivera said nothing of the sort — it only said that the defendant

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   had "preserved this issue below."           904 F.3d at 65.       So de novo

   review is called for.

               To the merits then.

               First up is whether Dzhokhar's arson convictions (on

   Counts 12 and 14) satisfy the elements clause.            The arson statute

   at issue punishes the use "of fire or an explosive" to "maliciously

   damage[] or destroy[] . . . any . . . property used in interstate

   or foreign commerce or in any activity affecting interstate or

   foreign commerce."      18 U.S.C. § 844(i) (emphasis added).           And the

   parties agree (or at least do not dispute) that "maliciously" there

   includes both intentional and reckless acts.           See generally United

   States v. Grady, 746 F.3d 846, 848-49 (7th Cir. 2014) (adopting

   this definition and collecting circuit cases doing the same).

               Our caselaw says that recklessness does not suffice the

   ACCA's materially identical elements clause.             See Báez-Martínez,

   950 F.3d at 126 (discussing our bright-line rule that "reckless

   conduct bereft of an intent to employ force against another falls

   short of the mens rea required under" the ACCA (emphasis removed

   and citation omitted)).68      And our caselaw routinely uses decisions


         68To give a rough sense of our caselaw's evolution:       The
   Supreme Court has found recklessness sufficient to count as a crime
   that "has, as an element, the use or attempted use of physical
   force" under 18 U.S.C. § 921(a)(33)(A) — a statute barring persons
   convicted of a "misdemeanor crime of domestic violence" from
   possessing a gun. See Voisine v. United States, 136 S. Ct. 2272,
   2280 (2016). Voisine said "use" refers to "the act of employing
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   interpreting the ACCA's elements clause in construing § 924(c)'s,

   see Taylor, 848 F.3d at 491 — no surprise, since both clauses

   encompass "the use, attempted use, or threatened use of physical

   force against the person . . . of another," compare 18 U.S.C.

   § 924(e)(2)(B)(i),      with    id.   § 924(c)(3)(A).         Which    perhaps

   explains    why   the   government     concedes    that   crimes      requiring



   something." Id. at 2278 (quotation marks omitted). So, Voisine
   held, the "use of physical force" requires "volitional" but not
   "knowing or intentional" conduct. See id. at 2279-80. Voisine,
   though, left undecided whether this statutory interpretation
   should apply in other contexts. See id. at 2280 n.4.
        On the heels of Voisine, we decided Bennett v. United States,
   868 F.3d 1 (1st Cir. 2017). Bennett noted that the ACCA requires
   a use of physical force "against the person of another," while the
   statute in Voisine requires a use of physical force without the
   "against the person of another" jargon.      See 868 F.3d at 18.
   Bennett   reasoned   that   "against"   may  require   that   "the
   perpetrator . . . knowingly or purposefully . . . caus[e] the
   victim's bodily injury." Id. But Bennett also found compelling
   the possibility that "against" does not change Voisine's analysis.
   Id. at 18-20. Finding a "grievous ambiguity" concerning whether
   recklessness suffices under the ACCA's elements clause, Bennett
   invoked the rule of lenity to hold in the defendant's favor that
   recklessness did not suffice. Id. at 23 (quotation marks omitted).
   We withdrew Bennett after the defendant died.      See Bennett v.
   United States, 870 F.3d 34, 36 (1st Cir. 2017) (per curiam). But
   we adopted its reasoning in a later case. See United States v.
   Windley, 864 F.3d 36, 37 n.2 (1st Cir. 2017) (per curiam).
        The government believes that we decided these cases wrongly.
   The Supreme Court granted certiorari to resolve a circuit split
   regarding whether a crime involving "ordinary recklessness can
   satisfy the ACCA's [elements] clause." Báez-Martínez, 950 F.3d at
   125 n.5. The Court dismissed certiorari after the petitioner died,
   see Walker v. United States, 140 S. Ct. 953 (2020), but the Court
   recently granted certiorari in another case to address the same
   issue, see United States v. Borden, 769 F. App'x 266 (6th Cir.
   2019), cert. granted, 140 S. Ct. 1262 (2020).
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   recklessness, as opposed to intent, do not qualify as crimes of

   violence under § 924(c)'s elements clause — at least under existing

   circuit precedent.

               Our caselaw is also clear about what happens next.

   Applying the minimum-conduct rule (as a reminder, the elements-

   based    approach     focuses       on   "the     least   culpable   conduct"

   criminalized, Báez-Martínez, 950 F.3d at 124), we must presume

   that Dzhokhar acted with recklessness, see Taylor, 848 F.3d at

   492.    So — as counterintuitive as it might first seem — his arson

   convictions are not crimes of violence for purposes of § 924(c)'s

   elements clause.

               And   none   of   the    government's    responses   alters   this

   conclusion.

               The   government    argues     that    "[w]here . . .    arson   is

   charged as a capital offense, the jury must find as an element at

   least one of the four 'gateway' special intent factors" in the

   FDPA.   These factors, says the government, require proof that the

   defendant intentionally engaged in conduct that resulted in a

   victim's death and thus proof that he "intentionally used force

   sufficient to kill the victim."

               This aspect of the government's response overlooks that

   the gateway factors are drawn from the FDPA, not § 844(i) itself.

   Under either the categorical or modified categorical approach, we

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   generally look to the statute of conviction to determine the

   elements of the crime.         See, e.g., Mathis, 136 S. Ct. at 2248.

   And nowhere in § 844(i) does there appear an intent element.                The

   government has pointed us to no authority suggesting that we can

   look beyond the statute of conviction to an unrelated statutory

   scheme — like the FDPA — to add elements to a crime for these

   purposes.       See    Taylor,   848    F.3d   at   491   (explaining     that

   "'[e]lements' are the 'constituent parts' of a crime's legal

   definition" (alteration in original) (quoting Mathis, 136 S. Ct.

   at 2248)).     To convict Dzhokhar on the arson offenses (Counts 12

   and 14) — the predicates for the contested § 924(c) counts (Counts

   13 and 15) — the jurors did not have to find any of the gateway-

   intent factors.        Instead, they could convict even if he acted

   recklessly    rather    than   intentionally.       Had   the   penalty-phase

   jurors not found the gateway factors proven beyond a reasonable

   doubt as to the arson charges, Dzhokhar could not have gotten a

   judgment of acquittal on those counts (Counts 12 and 14); indeed,

   the indictment on those two counts does not reveal on its face

   that the government had to prove intent. Surely then those factors

   cannot be elements of the arson predicates.

                The government next contends that the death-resulting

   allegations in Counts 12 and 14 provide an independent basis for

   us to conclude that the arson predicates satisfy § 924(c)'s

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   elements clause.       But even assuming without deciding that the

   death-resulting allegations are elements (the parties fight over

   whether they are), we know the minimum conduct necessary to commit

   arson resulting in death is still recklessness.                See generally

   United States v. Gullett, 75 F.3d 941, 947-48 (4th Cir. 1996)

   (deeming evidence of malice sufficient to convict the defendant of

   violating the arson statute, § 844(i), specifically rejecting his

   argument that the jury had to find that he intended to damage the

   property). As we will discuss shortly, the fact that death results

   (when included as an element of the statute of conviction) may

   indicate the application of violent force.                 But it does not

   necessarily involve the intentional application of physical force

   (i.e., a "use" in the language of the elements clause) as our

   caselaw requires.      See Bennett v. United States, 868 F.3d 1, 7–9

   (1st Cir. 2017) (holding that recklessly causing bodily injury

   does not constitute the "use . . . of physical force against the

   person of another"), opinion withdrawn as moot, 870 F.3d 34, 36

   (1st Cir. 2017), reasoning adopted by United States v. Windley,

   864 F.3d 36, 37 n.2 (1st Cir. 2017).           So the government's second

   basis for affirming these contested § 924(c) counts (Counts 13 and

   15) is not compelling either.69


         69Given our analysis, we need not address Dzhokhar's
   alternative claim: that the arson convictions cannot be predicates
   because § 844(i) punishes the destruction of one's own property,
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                Next up is whether Dzhokhar's conspiracy convictions (on

   Counts   1   and   6)   satisfy    the    elements      clause.       Recall   that

   prosecutors predicated the relevant § 924(c) counts (Counts 16 and

   17) on his allegedly conspiring to use a weapon of mass destruction

   (Count 1), see 18 U.S.C. § 2332a(a)(2), and to bomb a place of

   public use (Count 6), see id. § 2332f(a)(1) and (2), each resulting

   in death.     Section 2332a(a)(2) criminalizes anyone "who, without

   lawful authority, uses, threatens, or attempts or conspires to

   use, a weapon of mass destruction . . . against any person . .                    .

   within the United States," provided the "threat, attempt, or

   conspiracy[] would have affected interstate or foreign commerce."

   Section 2332f(a)(1) applies to anyone who "unlawfully delivers,

   places, discharges, or detonates an explosive . . . in, into, or

   against a place of public use . . . with the intent to cause death

   or serious bodily injury, or . . . with the intent to cause

   extensive    destruction    of     such   a   place."      Section 2332f(a)(2)

   prohibits      "attempts      or     conspirac[ies]         .     .     .      under

   [§ 2332f(a)(1)]."       And "if death results" from these crimes, the

   statutes provide for punishment "by death or imprison[ment] for




   while § 924(c)'s elements clause covers the use of force against
   the property of the another. See generally PDK Labs. Inc. v. DEA,
   362 F.3d 786, 799 (D.C. Cir. 2004) (Roberts, J., concurring)
   (explaining that "if it is not necessary to decide more, it is
   necessary not to decide more").
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   any term of years or for life."         See id. § 2332a(a); see also id.

   § 2332f(c).

               Helpfully,     the    parties     agree     that      the     at-issue

   convictions     concern    conspiracies      to   use   a    weapon       of    mass

   destruction and to bomb a place of public use (not attempts to do

   either crime, for example), with death resulting.70                     Our "task"

   then "is to compare" the elements of those conspiracies "to the

   definition of a 'crime of violence' in the force clause."                        See

   United States v. García-Ortiz, 904 F.3d 102, 106 (1st Cir. 2018)

   (using the categorical approach where the parties "agree[d]" that

   the   defendant's    "conviction     concerned    Hobbs     Act   robbery      (not

   extortion)").     So the question is whether the at-issue conspiracy

   offenses have as an element the use, attempted use, or threatened

   use of "violent [physical] force — that is, force capable of

   causing physical pain or injury to another person."                     See Curtis

   Johnson, 559 U.S. at 140; see also Moncrieffe v. Holder, 569 U.S.

   184, 190-91 (2013) (requiring courts to consider whether the least

   serious form of the relevant offense meets that standard).                     If it

   does, then the relevant conspiracies qualify categorically as

   crimes of violence — if not, then not.



         70The government's brief does quote § 2332f(a)(1), which
   again punishes the bombing of a place of public use (we simplify
   slightly here). But the government tailors its arguments to the
   conspiracy context, which of course implicates § 2332f(a)(2).
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               A conspiracy is — as the parties concur — a knowing

   agreement between two or more people "to commit a crime, intending

   that the underlying offense be completed."             See United States v.

   Ledée, 772 F.3d 21, 32 (1st Cir. 2014).              The crime of conspiracy

   is the agreement rather than the completed offense.              See Iannelli

   v. United States, 420 U.S. 770, 777 (1975) (explaining that

   "[c]onspiracy is an inchoate offense, the essence of which is an

   agreement to commit an unlawful act").71         So "conspiracy's elements

   are met as soon as the participants have made an agreement."

   Sessions v. Dimaya, 138 S. Ct. 1204, 1219 (2018). Thus — to borrow

   a line from the government's brief (emphasis omitted) — "simply

   conspiring to commit a violent act does not necessarily have as an

   element the use, attempted use, or threatened use of physical

   force," meaning "most conspiracies to commit what would otherwise

   be crimes of violence are not categorically crimes of violence

   under" § 924(c)'s elements clause.

               But the "death results" element changes things.              Báez-

   Martínez says that any crime for which "death results" (or any

   serious    bodily    injury   results)     is   an    element   automatically

   satisfies the ACCA's "violent force" requirement.                950 F.3d at




         71Inchoate means "[p]artially completed or imperfectly
   formed; just begun." See Inchoate, Black's Law Dictionary (11th
   ed. 2019).
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   132.    So while most conspiracies are not crimes of violence,

   conspiracies that are categorically defined to result in death are

   (assuming the other requirements like intent are satisfied).                And

   here, the statute makes "death results" an element of the crime.

   Section 2332a says that "if death results" from a violation of the

   at-issue conspiracy statutes, the punishment may be up to life in

   prison or death. 18 U.S.C. § 2332a(a). Section 2332f incorporates

   this penalty scheme.       Id. § 2332f(c).

               Dzhokhar argues that "death results" is not an element

   of § 2332a or § 2332f under the crime-of-violence categorical

   approach because, like the FDPA gateway factors, that element need

   only be proven to the jury at the penalty phase.              But unlike the

   FDPA gateway factors, the "death results" element appears in the

   statute of conviction itself (or is incorporated into that statute,

   for § 2332f).      True, as Dzhokhar suggests, a (guilt-phase) jury

   could have convicted him under § 2332a or § 2332f without deciding

   that anyone died, and those convictions would stand even if the

   (penalty-phase) jury found that no deaths resulted.                 But these

   statutes, it seems to us, are divisible into two branches:              one in

   which there is no "death results" element (and the penalty is up

   to life in prison), and one in which "death results" is an element

   (and the penalty can be death).          See Mathis, 136 S. Ct. at 2256

   (noting    that    "[i]f    statutory     alternatives     carry    different

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   punishments, then under Apprendi they must be elements"). Yet we

   know Dzhokhar's conduct falls into the latter branch.             And this we

   know from the indictment — which for Counts 1 and 6 says that the

   conspiracy resulted in the death of at least one person; and from

   the jury's guilt-phase verdict — which found beyond a reasonable

   doubt that the conspiracies resulted in at least one death.72                So

   under the modified categorical approach, the predicate offenses

   (Counts 1 and 6) are crimes of violence.          And thus his convictions

   on Counts 16 and 17 must stand.

               Our use of the modified categorical approach here aligns

   with the purpose behind that doctrine.          The Supreme Court designed

   the categorical and modified categorical approaches to simplify

   the types of evidence we can look to in making a crime-of-violence

   assessment.    See Taylor v. United States, 495 U.S. 575, 601 (1990)

   (recognizing the "practical difficulties and potential unfairness

   of a factual approach"); see also Shepard, 544 U.S. at 17.                Were

   we to go beyond these Shepard documents, we could find ourselves




          The judge instructed the guilt-phase jurors that to convict
         72

   Dzhokhar on the contested conspiracy counts (Counts 1 and 6), the
   government had to prove three elements beyond a reasonable doubt:
   first, that he agreed with another to use a weapon of mass
   destruction (Count 1) and to bomb a place of public use (Count 6);
   second, that he knowingly joined these conspiracies, intending
   that the crimes be committed; and third, that these conspiracies
   "resulted in the death of a person named in the respective count
   of the indictment."
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   lost in a sea of evidence presented at trial to the jury.                  And we

   might never be able to tell whether certain facts were proven

   beyond a reasonable doubt. But our analysis requires no guesswork,

   for (again) the Shepard-approved documents and the text of § 2332a

   and § 2332f indicate that at least one person died as a result of

   Dzhokhar's involvement in the conspiracy.

               In     a    different      context,   we   have    noted     that     an

   indictment's     death-resulting        references     "invoked"     a   statute's

   "sentencing regime," increasing "the maximum sentence available,"

   and so is "pertinent only to sentencing."                     United States v.

   Hilario-Hilario, 529 F.3d 65, 69 (1st Cir. 2008) (emphasis added).

   And except for a fact of a prior conviction, any fact that boosts

   a crime's maximum sentence or minimum sentence must be established

   beyond a reasonable doubt to a jury's satisfaction (unless the

   defendant agrees to a bench trial or formally admits the facts).

   See Apprendi, 530 U.S. at 490 (maximum); Alleyne v. United States,

   570 U.S. 99, 103 (2013) (minimum); see also United States v.

   Gonzalez, 949 F.3d 30, 41-42 (1st Cir. 2020).                      See generally

   Burrage v. United States, 571 U.S. 204, 210 (2014) (stating that

   "[b]ecause the 'death results' enhancement [in 21 U.S.C. § 841(b)]

   increased    the       minimum   and    maximum   sentences     to   which      [the

   defendant] was exposed, it is an element that must be submitted to

   the jury and found beyond a reasonable doubt").                Dzhokhar's reply

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   brief touches on these points, at least inferentially.              But while

   an   additional       sentencing    element —     like    § 2332a's     "death

   results" —    would    be   "pertinent   only   to   sentencing"     for   most

   purposes, see Hilario-Hilario, 529 F.3d at 69, for purposes of the

   modified categorical approach, we think here that it is right to

   consider this as an element of the crimes of conviction, see

   Mathis, 136 S. Ct. at 2256.73

                                      CONCLUSION

                Having completed our review, the net result is this:            We

   reverse Dzhokhar's convictions on Counts 13, 15, and 18, with

   directions to acquit.       And we vacate his death sentences on Counts

   4, 5, 9, 10, and 14, with directions to hold a new penalty-phase

   trial consistent with this opinion and with Local Rule 40.1(k)(1)

   of the District of Massachusetts.          But make no mistake:       Dzhokhar

   will spend his remaining days locked up in prison, with the only

   matter remaining being whether he will die by execution.



                          -Concurring Opinion Follows-




          Not to put too fine a point on it, the government proved
         73

   the death-resulting element beyond a reasonable doubt — something
   we know without looking beyond the Shepard documents.
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                TORRUELLA, Circuit Judge (Concurring in part, Joining in

   part, Concurring in Judgment).         I agree with the lion's share of

   the majority's reasoning and join all its holdings.            I regretfully

   must write separately, however, to express my disagreement with

   its handling and tentative conclusion of Tsarnaev's claim that he

   could not receive a fair trial by an impartial jury in this venue.

                Tsarnaev properly raised this issue with our blessing,

   and it therefore requires -- and deserves -- a straight answer.

   In my view, the district court's rulings on Tsarnaev's motions for

   transfer of the trial venue, affirmed on intermediate appeal by

   this court and tentatively adopted by the majority, was patently

   incorrect.74    Furthermore, the issue of unduly prejudicial pretrial

   publicity is likely to recur with more frequency in this modern

   day of technology.        If an accused's Fifth and Sixth Amendment

   rights are to be other than a hollow platitude, it is imperative

   that this court's jurisprudence establish a realistic standard for

   cases such as this one, in which a steady stream of information by

   way   of   myriad   sources    inundated     an   already   deeply   affected

   community.     If this case did not present a sufficient basis for a




   74 The denials of Tsarnaev's mandamus petitions further reflect a
   long-standing circuit bias on the pretrial publicity issue, which
   required a panel of out-of-circuit judges to overcome. Compare
   United States v. Casellas-Toro, 807 F.3d 380 (1st Cir. 2015) with
   United States v. Moreno-Morales, 815 F.2d 725 (1st Cir. 1987).
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   change of venue, there are no set of circumstances that will meet

   this standard, at least not in the First Circuit.

                Let me be clear that at the sentencing retrial of this

   case, if the issue of venue is again raised, Tsarnaev will have to

   allege and prove prejudicial circumstances at the time of his

   motion, likely nearly a decade after the crime was committed.               But

   that is a horse of another color.             The question before us that

   must be decided is whether Boston was the appropriate venue for

   Tsarnaev's trial in 2015.

                                  I.   Discussion

                In denying Tsarnaev's second mandamus petition, the

   mandamus majority assured that it "reviewed the entire voir dire

   conducted to this point by the [district] court and the parties,"75

   and   that   "the   process   ha[d]    been   thorough    and   appropriately

   calibrated to expose bias, ignorance, and prevarication."                In re

   Tsarnaev ("Tsarnaev II"), 780 F.3d 14, 24-25 (1st Cir. 2015); see

   id. at 24 (noting that "[t]he careful selection process and the

   trial judge's expressed confidence in finding sufficient jurors

   . . . is supported by the record," and that "[the voir dire




   75   This court denied Tsarnaev's second mandamus petition on
   February 27, 2015.   The district court provisionally qualified
   seventy-five jurors as of February 25, 2015, after voir dire was
   completed. It was from these seventy-five jurors that the petit
   jury was chosen.
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   process]    is   working   to    ferret       out   those   jurors    who   should

   appropriately be excused for cause"), 26 (declaring that "the

   careful     process   employed     by    the    district     court    . . . ha[s]

   afforded [it] 'a sturdy foundation to assess fitness for jury

   service.'" (quoting Skilling v. United States, 561 U.S. 358, 395

   (2010))),    26-28    (describing       the    district     court's   efforts   to

   "explore,     and     eliminate,        any    prejudice"      as     "rigorous,"

   "extensive," and "careful").            Today, this court reverses course

   and finds the district court's juror inquiry lacked adequate

   safeguards, a finding with which I fully agree.

                The majority's reason for reaching that conclusion,

   however, misses the forest for the trees.                 Although I agree that

   jury selection in this case failed to comply with this court's

   mandate in Patriarca v. United States, 402 F.2d 314, 318 (1st Cir.

   1968), the fact of the matter is that "[n]o amount of voir dire

   [could have] overcome th[e] pervasive prejudice" against Tsarnaev

   in the Eastern Division of the District of Massachusetts, "no

   matter how carefully it [was] conducted."                 Tsarnaev II, 780 F.3d

   at 30 (Torruella, J., dissenting).              The district court's denials

   of Tsarnaev's motions for change of venue amount to an abuse of

   discretion and denied Tsarnaev the right to a fair trial and

   sentencing determination.



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   A.   This Panel Should Address Venue

                To decide this case on Patriarca grounds, the majority

   puts its weight on the mandamus majority's expectation that a

   searching voir dire would be conducted.            See slip op. at 42, 72.

   Yet, this was not the only assurance that drove the mandamus

   majority's denial in Tsarnaev II.           That venue-change-denial also

   heavily   relied     upon   the   assumption   that,   should     Tsarnaev   be

   convicted, he would "have the opportunity to raise a challenge

   based on a lack of a fair and impartial jury on direct appeal."

   780 F.3d at 18.      "Indeed, that is the customary mechanism by which

   such challenges are presented and assessed."              Id. at 18-19; see

   also id. at 29 ("[M]ost importantly, . . . the petitioner remains

   able to raise claims of lack of an impartial jury on direct

   appeal.").        Because this "double layer of review is itself a

   guarantee    of    due   process,"    the   mandamus   majority    concluded,

   Tsarnaev could not make a showing of the "irreparable injury"

   necessary to warrant mandamus relief.          Id. at 28-29.

                The question of whether venue was proper in the Eastern

   Division is a preliminary matter that precedes all others raised

   in this case -- be it jury selection, the exclusion of mitigating

   evidence, or any evidentiary challenge.            This is so because the

   impropriety of venue is a primordial prejudicial error; should a

   presumption of prejudice be warranted, the district court should

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   not have embarked in jury selection (or made any evidentiary

   rulings) in the first place.          Cf. Rideau v. Louisiana, 373 U.S.

   723, 727 (1963) (finding a presumption of prejudice "without

   pausing to examine a particularized transcript of the voir dire");

   United States v. Casellas-Toro, 807 F.3d 380, 389 (1st Cir. 2015)

   (looking to jury selection only after assuming the presumption of

   prejudice is rebuttable).        The administration of justice demands

   that the question of venue be resolved.

               Despite claiming not to decide the venue issue, by one-

   sidedly laying out the government's arguments as to venue and then

   proceeding to find Patriarca error, see slip op. at 54-72, the

   majority implicitly and effectively resolves the issue in the

   government's favor -- tacitly finding that venue would have been

   proper in the Eastern Division had the district court conducted an

   adequate voir dire.      For the following reasons, I cannot agree.

   B.   Venue in the Eastern Division was Improper

               The physical and emotional wake of the Boston Marathon

   bombings, and the events of the following week, flooded the

   residents of the Eastern Division with sorrow, fear, and anger.

   Few crimes have been as offensive and devastating to an entire

   community than those committed by the Tsarnaev brothers.               But for

   even the most heinous of offenses, our system of justice demands

   vigorous    protection    --   both   in   appearance   and   fact   --   of   a

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   defendant's right to a fair trial and sentencing.              "[T]he right to

   jury trial guarantees to the criminally accused a fair trial by a

   panel of impartial, indifferent jurors.            The failure to accord an

   accused a fair hearing violates even the minimal standards of due

   process." Irvin v. Dowd, 366 U.S. 717, 722 (1961) (emphasis added)

   (internal quotations marks omitted).

        1. A Presumption of Prejudice was Warranted

                Article III of the United States Constitution instructs

   that criminal trials "shall be held in the State where the said

   Crimes shall have been committed[.]"             U.S. Const. art. III, § 2,

   cl. 3.       The Sixth Amendment further directs that a criminal

   defendant be tried by a jury "of the State and district wherein

   the crime shall have been committed."            U.S. Const. amend VI.

                Sometimes in tension with this directive is a criminal

   defendant's Sixth Amendment right to an impartial jury and Fifth

   Amendment promise of fundamental fairness.             One such circumstance

   is when "extraordinary local prejudice" will prevent a fair trial

   in    the   judicial   district   in   which     the   crime   was   committed.

   Skilling, 561 U.S. at 378.        Where these constitutional provisions

   collide, Article III's venue dictate must give way.              Accordingly,

   "[u]pon     the   defendant's   motion,    the    court   must   transfer   the

   proceeding against that defendant to another district if the court

   is satisfied that so great a prejudice against the defendant exists

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   in the transferring district that the defendant cannot obtain a

   fair and impartial trial there."         Fed. R. Crim. P. 21(a).

               "The theory of our [trial] system is that the conclusions

   to be reached in a case will be induced only by evidence and

   argument in open court, and not by any outside influence, whether

   of private talk or public print."             Skilling, 561 U.S. at 378

   (alteration in original) (quoting Patterson v. Colorado ex rel.

   Att'y Gen. of Colo., 205 U.S. 454, 462 (1907) (opinion for the

   Court by Holmes, J.)).        Where "pervasive pretrial publicity has

   inflamed passions in the host community past the breaking point"

   and "permeat[es] the trial setting . . . [such] that a defendant

   cannot possibly receive an impartial trial," the district court

   must presume local prejudice and transfer the proceeding.               United

   States v. Quiles-Olivo, 684 F.3d 177, 182 (1st Cir. 2012); see

   also Sheppard v. Maxwell, 384 U.S. 333, 362 (1966) ("Due process

   requires that the accused receive a trial by an impartial jury

   free from outside influences.").           A presumption of prejudice is

   "reserved for those extreme cases where publicity is both extensive

   and   sensational    in   nature."      Quiles-Olivo,     684   F.3d   at   182

   (internal    quotation    marks   omitted)    (quoting    United   States    v.

   Misla-Aldarando, 478 F.3d 52, 58 (1st Cir. 2007)).

               We have once again been tasked with determining whether

   the effects of these tragic events, coupled with the unrelenting

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   pretrial publicity, caused such extraordinary local prejudice that

   Tsarnaev    could    not    receive    a    fair   trial    and      sentencing

   determination.      In more than forty-five years on the bench at both

   the trial and appellate levels, and in my years of practice before

   that, I have never borne witness to a case with pretrial publicity

   more "extreme" or "extraordinary" than this one -- with so great

   a    potential    for    jury   determinations       induced    by     "outside

   influence."76    A presumption of prejudice was warranted.

            a. The residents of the Eastern            Division    were    neither
               impartial nor indifferent

               The impact on the residents of the Eastern Division of

   the defendant and his brother's week-long reign of terror, and the

   extraordinary outpouring of unity and resilience that followed,

   quite understandably left the residents of the Eastern Division


   76 As an addition to the harm caused by the plethora of pretrial
   publicity, upon arrival at the courthouse, and during the jury
   selection process and later trial, prospective jurors were met not
   only by a building whose front sidewalk was mobbed by all kinds of
   press   representatives   and   additaments,   including   several
   television towers, but by an atmosphere of intensive security.
   The courthouse was patrolled on all sides by numerous
   representatives of the Massachusetts State police, the Boston
   Police Department, the Federal Protective Service, the U.S.
   Marshals, and even the U.S. Coast Guard and Boston Harbor Police,
   the last two of whom manned boats on the courthouse's harbor
   side. This, of course, is not a comment on the need or adequacy
   of the security provided, but rather is meant only to call
   attention to a factor that I believe has relevance to the issue of
   whether an impartial jury was or could be selected when the issue
   of appropriate venue was raised.


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   neither impartial nor indifferent.              The majority opinion has

   detailed but a fraction of heart-wrenching destruction, pain, and

   suffering inflicted by the Tsarnaev brothers through their crimes.

   I do not believe it necessary to further elaborate on these

   harrowing details.        Suffice it to say, a detailed read of the

   record touches even the most detached of readers.

               Although the impact of the defendant's crimes was felt

   nationally and internationally, the destruction was acutely felt

   by the residents of the Eastern Division.           The prospective jurors

   and their loved ones, and the communities themselves, were all

   victims of these disturbing acts of terror.            In addition to those

   killed and maimed by the bombings, millions in Greater Boston

   witnessed firsthand the carnage at the finish-line, knew someone

   directly impacted by the bombings, were ordered to shelter in

   place, had their houses searched by law enforcement with weapons

   drawn,77 saw their neighborhoods occupied by military personnel,




   77  Radley Balko, Was the Police Response to the Boston Bombing
   Really    Appropriate?,    Wash.    Post   (Apr.    22,    2014),
   https://www.washingtonpost.com/news/the-watch/wp/2014/04/22/the-
   police-response-to-the-boston-marathon-bombing/   (last   visited
   July 10, 2020).
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   or   were   otherwise    affected    by   the   events.78     The   physical,

   psychological, and emotional trauma of these events was long felt

   locally.     While others around the country may have viewed the

   marathon bombings "as an attack on all of America," slip op. at

   58, to the residents of the Eastern Division, the Boston Marathon

   bombings were an attack on them.79

                In the wake of that distressing April week, the residents

   of Greater Boston rallied together as never before to support each

   other.      Immediately after the bombings, residents watching the

   marathon worked alongside first responders to treat the injured.80


   78 Indeed, eight residents of the Boston area, self-identified as
   "Republicans, Democrats and Independents," submitted to this court
   an amicus brief to this effect. See Brief for Robert Bloom et al.
   as Amici Curiae Supporting Appellant Dzhokhar Tsarnaev, United
   States v. Tsarnaev, No. 16-6001, at 1. Amici notes that "[t]he
   multiple violent terrorist acts and their aftermath profoundly
   affected our friends and neighbors," id. at 1, "every member of
   the great Boston community [was] deeply affected," id. at 2, and
   "many in our community . . . suffered from vicarious trauma," id.
   at 12.
   79 "[T]he attack in this case was uniformly viewed as a community-
   wide event -- a deliberate and purposeful attack upon the greater
   Boston area itself." Brief for Bloom et al, supra note 78, at 25
   (emphasis added); see also Meghan E. Irons, Cambridge Tries to
   Heal from Marathon Horror, Boston Globe (May 13, 2013),
   https://www.bostonglobe.com/metro/2013/05/12/cambridge-tries-
   heal-make-sense-bombing-horror/uEyVs89m8tOrzICc1POeAJ/story.html
   ("The bombings have felt like a personal afront in this city.")
   (last visited July 10, 2020).

   80 Jessica Hartogs, Stories of Kindness Amid Tragedy in Boston
   Marathon     Bombing,    CBS     News     (Apr.    16,     2013),
   https://www.cbsnews.com/news/stories-of-kindness-amid-tragedy-
   in-boston-marathon-bombing/ (last visited July 10, 2020).
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   Runners that had finished the race and countless local citizens

   rushed   to    the    hospitals   to   donate    blood -- so   much   so   that

   hospitals had to turn people away.81            Others cared for the injured

   for months and years following the bombings.            And to a previously

   unparalleled         extent,   the     community     participated     in    the

   identification and capture of the two bombing suspects.82

                 Memorials, commemorations, and fundraisers to support

   the victims began soon after the finish-line attacks.                  Amongst

   many others, all four of Boston's major sports teams played host

   to these events.        A week later, iconic Red Sox designated hitter

   David Ortiz exclaimed to a sold-out Fenway Park, "[t]his is our

   fucking city, and nobody is going to dictate our freedom.                  Stay

   strong."83


   81 Id.; Alexander Abad-Santos, This is What Boston Heroism Looks
   Like,       The       Atlantic       (Apr.       16,       2013),
   https://www.theatlantic.com/national/archive/2013/04/boston-
   hero-stories/316222/ (last visited July 10, 2020).
   82  From Fear to Cheer; The Capture; Tsarnaev's Friends; Mystery
   Motive; A Tense 24 Hours; Boston Bombing Suspect in Custody, CNN
   (Apr.                          20,                         2013),
   http://transcripts.cnn.com/TRANSCRIPTS/1304/20/bn.09.html   (last
   visited July 10, 2020) ("Officials are going to study this for
   quite some time because police officers up there did something
   that's never been quite done before. They essentially established
   a capture net for the suspect and enlisted the help of the 4.5
   million people. The population of the whole city to help them.").
   83
      See Major League Baseball, David Ortiz Rallies the Boston Crowd
   after Boston Marathon Tragedy, YouTube (Apr. 20, 2013),
   https://www.youtube.com/watch?v=1NttSTenyEk (last visited July
   10, 2020).
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               Perhaps enhanced by Ortiz's comments, the ubiquitous and

   inspiring "BOSTON STRONG" campaign grew rapidly as an impressive

   expression of "defiance, solidarity, and caring."84                  The blue

   background with yellow lettering (borrowing from the colors of the

   Boston Athletic Association, the organizers of the Boston Marathon

   race) was emblazoned on buildings, fences, fields, and bodies all

   over the Greater Boston metropolitan area.           The campaign reflected

   a sense of compassion, unity, and recovery much needed in a

   community reeling from its upheaval.          See Tsarnaev II, 780 F.3d at

   25 n.13 ("[T]he Boston Strong theme [was] about civic resilience

   and recovery.").         "BOSTON STRONG" reflected "all of us coming

   together as a city," one member of the venire aptly noted.                   As

   then-Boston     Police    Commissioner     Edward   F.   Davis,    III,   told

   Congress:

               These two terrorists tried to break us. What
               they accomplished was exactly the opposite.
               They strengthened our resolve, causing us to
               band together as a city and a Nation in time
               of crisis, to help one another during life
               changing moments, to allow heroes to emerge
               and to prove to Bostonians and to the world,
               that our city is, indeed Boston Strong.85

   84  Ben Zimmer, "Boston Strong," the Phrase that Rallied a City,
   Boston          Globe           (May          12,          2013),
   https://www.ca1.uscourts.gov/sites/ca1/files/citations/%E2%80%9C
   Boston%20Strong%2C%E2%80%9D%20the%20phrase%20that%20rallied%20a%
   20city%20-%20The%20Boston%20Globe.pdf (last visited July 10,
   2020).
   85The Boston Bombings: A First Look: Hearing Before the H. Comm.
   On Homeland Sec., 113th Cong. 16 (May 9, 2013) (Testimony of Edward
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   Prospective    jurors    (including    those   in   the   venire)   purchased

   "BOSTON STRONG" merchandise, attended fundraisers and concerts to

   raise money for the victims, or donated directly to the One Fund

   Boston.86     The slogan, and what it stood for, became forever

   ingrained in the community psyche.

                Underlying this awesome showing of resilience was its

   root cause: "deep[] personal grief, [and] a sense of loss forged

   by years of Patriots Day celebrations and the cherished ritual of

   cheering the runners on."87        "From Hopkinton to Boston, . . . the

   bombings hit wrenchingly close to home and left many forlorn and

   adrift."88    Residents struggled to make sense of what had happened,


   F.     Davis,     III,      Commissioner,     Boston     Police),
   https://www.govinfo.gov/content/pkg/CHRG-113hhrg82590/html/CHRG-
   113hhrg82590.htm (last visited July 10, 2020).
   86 One Fund Boston was established by the then-Governor of
   Massachusetts Deval Patrick, and Boston's then-Mayor Thomas
   Menino, to provide monetary support to the victims of the Boston
   Marathon bombings and their families. Rande Iaboni & Zain Asher,
   One Fund Boston To Distribute Nearly $61 Million to Marathon
   Victims,          CNN          (June          29,          2013),
   https://www.cnn.com/2013/06/29/us/massachusetts-boston-victims-
   fund/index.html. The Fund raised and donated over $81 million.
   The One Fund Boston Will Close, WBUR (July 16, 2015),
   https://www.wbur.org/news/2015/07/16/one-fund-closing.
   87  Lisa Kocian & Peter Schworm, Along Marathon Route, Grief and
   Anger    Run    Deep,    Boston   Globe    (Apr.    17,    2013),
   https://www.bostonglobe.com/metro/2013/04/16/along-route-boston-
   marathon-grief-and-anger-run-
   deep/k8BHS5WwmFIyA9jImhoEvM/story.html (last visited July 10,
   2020).
   88   Id.
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   to themselves and their neighbors, loved ones, and communities.

   They knew that things would never be the same.89               Widely shared

   amongst the Eastern Division was a feeling of sorrow, and that

   each day "[w]e are all just doing the best we can."90

               Just as the victims of other crimes (and their loved

   ones) cannot be "indifferent" or "impartial" for purposes of their

   wrongdoer's    trial,    despite   any   declarations     to   the   contrary,

   neither here were the residents of the Eastern Division.                 Thus,

   the Fifth and Sixth Amendments required that they not be seated on

   Tsarnaev's jury.




   89
      Id.; Davis, III, supra n.85 ("[T]he impact on Boston will last
   for years."). Indeed, five years later, Boston Mayor Martin Walsh
   noted that, "[o]n April 15, 2013, our city changed forever." Sarah
   Betancourt & Vaishnavee Sharma, Boston Marks 5 Years Since
   Marathon Bombings with Tributes, NBC San Diego (Apr. 15, 2018),
   https://www.nbcsandiego.com/news/sports/Boston-Marks-5th-
   Anniversary-of-Marathon-Bombings-479801993.html     (last   visited
   July 10, 2020).
   90   Irons, supra n.79.
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            b. Local pretrial        publicity    was    both    extensive     and
               sensational

     In a district still suffering physical and emotional trauma, the

   pretrial publicity enhanced its effects.          Indisputably the volume,

   depth, and duration of the media coverage, from the bombings to

   Tsarnaev's    capture,     and   well   beyond,    was   nothing    short    of

   extraordinary.      Nor can one challenge the sensational nature of

   the pretrial publicity -- including the horrific sights and sounds

   at the marathon finish line, the ensuing manhunt and lockdown of

   a million people, and the removal of a bloodied Tsarnaev from a

   boat in Watertown.      This coverage included photographic and video

   footage of the crime being committed, maimed victims with bones

   protruding from their bodies, and the marathon finish line covered

   in blood.     Every moment of the search for the suspects was live-

   streamed.      And newspapers and magazines documented Tsarnaev's

   confessions (both written in the boat and at the hospital, the

   latter of which he gave without the benefits of Miranda warnings,

   despite his request for a lawyer, and which thus would not be

   offered into evidence).

                Coverage of the marathon bombings and its aftermath

   received international attention -- the who, what, where, and when

   of the crimes themselves widely covered.             For anyone exposed to

   the media spectacle (as 99.7% of the venire was), or anyone with

   a smartphone and social media account, the pretrial publicity was
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   "in a very real sense" the guilt-phase of Tsarnaev's trial.                 See

   Rideau, 373 U.S. at 726.           For those in the Eastern Division,

   however, the media coverage was amplified.            The disturbing images

   of maimed victims were broadcast on repeat.91          Many local residents

   were confined to their homes during the Governor's lockdown order,

   watching live footage of law enforcement scouring the city for the

   Tsarnaevs.     After viewing this news coverage, "[a]ny subsequent

   court proceedings [about Tsarnaev's guilt] . . . could be but a

   hollow formality."       See id.    Indeed, approximately two-thirds of

   prospective jurors admitted in court to having concluded that

   Tsarnaev was guilty of the charged crimes before seeing a single

   piece of evidence.

                The majority adopts the government's view -- unsupported

   by the record -- that "this is not a case where almost everybody

   locally knows something and very few elsewhere know of it."               Slip

   op. at 55.      Tsarnaev submitted volumes of articles from local

   newspapers that belie this assertion.          Despite its recognition of

   these articles in its recantation of the facts, see slip op. 24-




   91See, e.g., The Associated Press, Marathon Bombing Aftermath Was
   Top Massachusetts Story of 2014, MassLive (Dec. 26, 2014),
   http://www.masslive.com/news/index.ssf/2014/12/marathon_bombing_
   aftermath_was.html (last visited July 10, 2020) ("The legal
   aftermath of the Boston Marathon attacks dominated headlines in
   Massachusetts in 2014, much as the attack itself did last year and
   the accused bomber's trial surely will in 2015.").
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   25, the majority seemingly ignores this detail in its venue

   analysis.

               Whereas nationwide coverage of the bombing gradually

   waned over the following weeks and months, the record reflects

   that local media coverage did not.           In Greater Boston, the scope

   of that reporting shifted from the facts surrounding the bombing

   to a focus on "the city as a whole[,] . . . includ[ing] stories of

   the victims and their family and friends, those who bravely risked

   their lives to help the victims, and how the entire community came

   together." Tsarnaev II, 780 F.3d at 31 (Torruella, J., dissenting)

   (footnote omitted).      News sources humanized the local victims and

   their families, describing in heart-wrenching and gruesome detail

   the emotional and physical struggles of the wounded surviving

   victims.    Of the first responders, local newspapers (befittingly)

   wrote that "what every firefighter in the city[,] . . . every cop,

   every EMS worker did[] . . . was nothing short of heroic."92             Other

   journalists    described     how   the   Greater   Boston    community    came

   together to mourn the deceased, honor the injured, and begin the

   collective healing process.         Many of the articles, (rightfully)




   92 Kevin Cullen, Answering the Call, in all its Poignant Horror,
   Boston          Globe          (Apr.          17,          2013),
   https://www.bostonglobe.com/metro/2013/04/16/when-doing-your-
   job-more-than-doing-job/QOdqUtt5oeZREmbUmhhbJI/story.html   (last
   visited July 10, 2020).
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   pointing    to   the    defendant   as    the   cause    of   the    community's

   suffering, took to the use of negative descriptors -- including

   repeatedly calling him a "monster", a "terrorist," "depraved,"

   "callous," "vile," "revile," and the "devil."

               Tsarnaev's guilt preordained, reporters soon focused on

   whether Tsarnaev should be put to death -- prior even to the

   government's announcement of its intention to seek this outcome.

   This   despite    the    fact   that     Massachusetts    abolished      capital

   punishment in its state courts in 1984,93 had not executed a

   criminal defendant for nearly forty years prior,94 and that the

   majority of residents of the Eastern Division had previously

   expressed general opposition to the death penalty.95                In this case,

   the media reported, even those who had previously opposed capital

   punishment admitted to being conflicted.96                Krystle Campbell's


   93  See Commonwealth v. Colon-Cruz, 470 N.E.2d 116 (Mass 1984);
   Mass. Gen. Laws ch. 265, § 2 (2020) (no longer providing for
   capital punishment).
   94 History of the Death Penalty, Death Penalty Information Center,
   https://deathpenaltyinfo.org/state-and-federal-info/state-by-
   state/massachusetts (last visited July 16, 2020).
   95 See Massachusetts Isn't OK with the Death Penalty, but Dzhokhar
   Tsarnaev's Jurors Have To Be, PRI, The World (Jan. 5, 2015),
   https://www.pri.org/stories/2015-01-05/massachusetts-isnt-ok-
   death-penalty-dzhokhar-tsarnaevs-jurors-have-be    (last   visited
   July 10, 2020).
   96   See Jan Ransom & Jacqueline Tempera, Religious Leaders
   Conflicted on Tsarnaev death penalty, Boston Globe (May 18, 2015),
   https://www.bostonglobe.com/metro/2015/05/17/religious-leaders-
   struggle-with-feelings-over-tsarnaev-death-
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   mother, Patricia Campbell, told the Boston Globe that she had been

   rethinking her longtime opposition to the death penalty because

   "an eye for an eye feels appropriate."           Some of the amputees and

   their families were reported to have expressed similar sentiments.

   First responders and victims told reporters that a death sentence

   would   "help    everyone    in   their   recovery."       Mayor   Menino,    a

   proclaimed opponent of the death penalty, exclaimed, "in this one,

   I might think it's time . . . that this individual serves his time

   and [gets] the death penalty."97 After he assumed office in January

   2014, Boston Mayor Martin J. Walsh -- who had opposed the death

   penalty as a state representative -- expressed his support of

   Attorney General Eric Holder's "process that . . . brought him to

   [the] decision" to seek capital punishment.98             Other politicians




   penalty/EOl9cNhRQrGwBnkhTQAJAI/story.html?event=event12     (last
   visited July 10, 2020); Tara McKelvey, Boston in Shock over
   Tsarnaev death penalty, BBC News, Boston (May 16, 2015),
   https://www.bbc.com/news/world-us-canada-32762999 (last visited
   July 10, 2020); NBC News, Americans Divided Over Death for Boston
   Bomber   Dzhokhar   Tsarnaev,   Poll  Finds   (Apr.   8,   2015),
   https://www.nbcnews.com/storyline/boston-bombing-
   trial/americans-divided-over-death-boston-bomber-dzhokhar-
   tsarnaev-poll-finds-n338076 (last visited July 10, 2020).
   97 Mark Arsenault & Milton J. Valencia, Suspect Charged with Using
   a Weapon of Mass Destruction, Boston.com (Apr. 22, 2013),
   https://www.boston.com/news/local-news/2013/04/22/suspect-
   charged-with-using-weapon-of-mass-destruction (last visited July
   10, 2020) (alteration in original).
   98 Matt Apuzzo, U.S. is Seeking Death Penalty in Boston Case, The
   N.Y.          Times           (Jan.          30,           2014),
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   did   the   same,    including     both   United     States   Senators    from

   Massachusetts.99         In    contrast     to     these   more    restrained

   endorsements, some expressed less hesitation about their support100

   for Tsarnaev's execution.101         Former Boston Police Commissioners

   Edward F. Davis and William Evans,102 and MIT Police Chief John



   https://www.nytimes.com/2014/01/31/us/boston-marathon-bombing-
   case.html (last visited July 10, 2020).
   99 Shira Schoenberg, US prosecutors will seek the death penalty
   against alleged Boston Marathon bomber Dzhokhar Tsarnaev, Mass
   Live                (Jan.               30,                 2014),
   https://www.masslive.com/news/boston/2014/01/dzokhar_tsarnaev_us
   _will_seek_death_penalty.html (last visited July 10, 2020).
   100  I do not dispute that some, including public figures, also
   expressed their moral objection to the use of capital punishment.
   But only those individuals who voiced a willingness to consider
   recommending a death sentence, and whose views would not prevent
   them from doing so, could be (and were) sat on the jury.      See
   Wainwright v. Witt, 469 U.S. 412, 424 (1985); Witherspoon v.
   Illinois, 391 U.S. 510, 518, 520 (1968).
   101Tara McKelvey, Boston in Shock Over Tsarnaev Death Penalty, BBC
   News, Boston (May 16, 2015), https://www.bbc.com/news/world-us-
   canada-32762999 (quoting nearby employee as saying "[p]ut him in
   a cage and let wild animals tear him apart") (last visited July
   10, 2020); Catherine E. Schoichet, For Boston Bombing Victims,
   Death Penalty Decision a 'Step Forward,'", CNN (Jan. 30, 2014),
   https://www.cnn.com/2014/01/30/justice/tsarnaev-death-
   penalty/index.html (last visited July 10, 2020); Brian MacQuarrie,
   In Globe Poll, Most Favor Life Term for Dzhokhar Tsarnaev , Boston
   Globe               (Sept.                16,               2013),
   https://www.bostonglobe.com/metro/2013/09/15/most-boston-
   residents-favor-life-without-parole-for-tsarnaev-convicted-poll-
   shows/Ur6ivWIUiYCpEZLXBApHDL/story.html?event=event12        (last
   visited July 10, 2020) (quoting respondent to poll as saying
   "[l]ife without parole is insufficient").
   102Boston Police Commissioner: Pursuing Death Penalty for Tsarnaev
   is "Appropriate", New England Cable News (March 1, 2014),
   https://www.necn.com/news/local/_necn__boston_police_commissione
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   DiFava, all expressed their approval.103             And, although it was

   defeated    in   the    Massachusetts       House   of   Representatives,     a

   bipartisan group of lawmakers used the bombing as support for a

   bill seeking to reinstate the death penalty.104

               Perhaps because of the nature of the crime, or because

   of its impact on them and their communities, the residents of the

   Eastern Division were inundated with reporting about this case.105

             c. Pride begets prejudice

               Jury selection began in early January 2015.                "BOSTON

   STRONG"    continued    to   be   proudly   displayed    throughout    Greater

   Boston up to and through Tsarnaev's trial.               Merchandise bearing

   the slogan continued to be sold at Boston Logan's International


   r__pursuing_death_penalty_for_tsarnaev_is__appropriate__necn/191
   6798/ (last visited July 10, 2020).
   103Antonio Planas, John Zaremba, Laurel J. Sweet, MIT's Chief Calls
   for Death Penalty in Boston Bombing Case, The Boston Herald (July
   11, 2013), https://www.bostonherald.com/2013/07/11/mits-chief-
   calls-for-death-penalty-in-boston-bombing-case/     (last   visited
   July 10, 2020).
   104 Stephanie Ebbert, Mass. House Defeats Proposal to Restore Death
   Penalty,       Boston       Globe      (Apr.       23,       2013),
   https://www.bostonglobe.com/metro/2013/04/23/lawmakers-citing-
   marathon-bombings-propose-restoring-death-penalty-
   massachusetts/72UOgtShrscd9pSFRv1YsN/story.html     (last   visited
   July 10, 2020).
   105 The crimes charged in this case involved one of the first major
   terrorist attacks in the United States in age of widespread social
   media. Although the parties have not outlined arguments over the
   impact of this technological advancement, I find it (again) worth
   highlighting the advanced speed at which information and opinions
   spread.
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   Airport. A banner displaying "BOSTON STRONG" was hung from a hotel

   nearby the courthouse, high above the surrounding buildings.                And

   the   drum   of   a   cement   truck   parked   directly   across    from   the

   courthouse's visitor's entrance was decorated with "BOSTON STRONG"

   on one side and "THIS IS OUR CITY" on the other.           A local Teamsters

   union continued to distribute "BOSTON STRONG" t-shirts and jackets

   to its members.       Fundraising for the victims continued, and local

   road races placed the "BOSTON STRONG" logo on shirts distributed

   to its participants.

                The district court dismissed the prevalence of these

   displays in various ways: although the defense team took the

   photographs of the banner and cement truck while jury selection

   was ongoing, the district court found the logo's appearances

   inconsequential because the cement truck photograph was taken on

   a day on which no empaneled jurors attended court,106 and the hotel

   banner was not visible at the juror's entrance to the courthouse

   or from the jury room107; that the association of "BOSTON STRONG"

   "weakened somewhat over time through overuse"; and that (quoting

   Skilling, 561 U.S. at 361), "the decibel level of media attention



   106 The record does not reflect whether the cement truck was in
   the area on any days other than the one that the photograph was
   taken on.
   107 But it may have been visible during the jurors' commutes into
   and out of the courthouse.
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   [had] diminished somewhat."        As jury selection in this case began

   less than two years after the bombings, the district court ignored,

   however, that the continued displays of "BOSTON STRONG" reflected

   an enduring community sentiment which formed the base of the

   movement, and a well-deserved pride of accomplishment in the

   community's efforts to return to normalcy.108          As one member of the

   venire put it, "BOSTON STRONG" was "the spirit of Boston, that

   despite whatever happens, . . . we will continue."

                A coming together remarkably similar to this one emerged

   in the wake of the 1995 bombing of the Alfred P. Murrah Federal

   Office Building in Oklahoma City, Oklahoma, which killed 168

   people,    injured   hundreds    more,    and   damaged    numerous    federal

   buildings.      See United States v. McVeigh, 918 F. Supp. 1467,

   1471-72 (W.D. Okla. 1996). Like "BOSTON STRONG," "Oklahoma family"

   became "a common theme" amongst the Oklahoma media and political

   leaders, emphasizing "how the explosion shook the entire state,

   . . . how the state has pulled together . . . as a family," and



   108 Nor did the sentiment end with this trial. It was announced
   in December of 2015 that a new park in honor of Martin Richard
   would be built less than two blocks from the courthouse.       Lisa
   Creamer, A New Park Near Boston Children's Museum Will Honor Martin
   Richard,          WBUR           (Dec.          10,          2015),
   https://www.wbur.org/news/2015/12/10/martin-richard-new-boston-
   park (last visited July 10, 2020). And in September of that same
   year, Bridgewater State University, roughly 30 miles south of
   Boston, unveiled a life-sized sculpture of the 8-year-old victim.
   Id.
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   that "the survival and recovery from this tragedy is 'Oklahoma's

   story.'"    Id. at 1471.     Finding that the values of due process and

   fairness required that the trial of the Oklahoma City bombing

   suspects     be   transferred     to    Denver,109    Chief    Judge    Matsch

   pertinently described the profound potential for prejudice in this

   situation:

                Pride is defined as satisfaction in an
                achievement, and the people of Oklahoma are
                well deserving of it. But it is easy for those
                feeling pride to develop a prejudice . . .
                [t]he existence of [which] is difficult to
                prove. Indeed it may go unrecognized in those
                who are affected by it. The prejudice that
                may deny a fair trial is not limited to a bias
                or discriminatory attitude.    It includes an
                impairment of the deliberative process of
                deductive reasoning from evidentiary facts
                resulting from an attribution to something not
                included in the evidence. That something has
                its most powerful effect if it generates
                strong emotional responses and fits into a
                pattern of normative values.

   Id. at 1472 (internal quotation marks and citation omitted).

   Similarly, the Supreme Court has noted that "[t]he influence that




   109 The defendant and government in McVeigh agreed that the trial
   could not take place in Oklahoma City, in part because "obtaining
   an impartial jury in Oklahoma City would be 'chancy.'" McVeigh,
   918 F. Supp. At 1470.     "The effects of the explosion on th[e]
   [Oklahoma City] community [were] so profound and pervasive" that
   no further consideration of that venue was necessary. Id. The
   district court was called upon to then resolve the parties' dispute
   about whether there was "so great a prejudice against the[]
   defendants in the [entire] State of Oklahoma that they [could not]
   obtain a fair and impartial trial anywhere in the state." Id.
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   lurks   in   an     opinion    once    formed      is   so   persistent       that    it

   unconsciously fights detachment from the mental processes of the

   average man."       Irvin, 366 U.S. at 727.

                Such was the state of the Eastern Division.                    Amongst an

   entire community so deeply affected by these crimes, the "intensity

   of the humanization of the victims" by the media, McVeigh, 918

   F. Supp. at 1472, the heavy emphasis on grief, and the powerful

   portrayals of people struggling to make sense of this calamity,

   imprinted     a    pervasive     and    insurmountable         prejudice      in     the

   community psyche.       In such circumstances, an individual juror "may

   have an interest in concealing his own bias . . . [or] may be

   unaware of it."        Smith v. Phillips, 455 U.S. 209, 221-22 (1982)

   (O'Connor, J., concurring).             And the unconscious nature of this

   impairment makes juror questionnaires and voir dire a poor means

   for assessing juror impartiality.            See William H. Farmer, Presumed

   Prejudiced, But Fair?, 63 Vand. L. Rev. En Banc 5, 8 (2010).

                The    majority's       "serious    points      against    [Tsarnaev's]

   venue-change arguments" lean heavily on the pretrial polling data.

   See slip op. at 54-55.           The majority finds this data convincing

   because   the      pollster    did    not   "ask    respondents        to   judge    for

   themselves whether they are biased[]" and "[i]nstead . . . asked

   whether Tsarnaev should get the death penalty."                   Slip op. at 55.

   But, even though the pollster did not explicitly ask respondents

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   if they were biased,110 it is the court's (and the majority's)

   dependence on this polling data to decide the venue challenge that

   leaves prospective jurors as the judges of their own impartiality.

   This is the very problem that the majority takes issue with in its

   Patriarca analysis.      See slip op. at 62, 65, 67, 72.         Further, the

   data cannot be relied upon to accurately identify local prejudice.

   Despite the majority's conclusory claim otherwise, see slip op. at

   55, the survey does not -- and cannot -- account for the fact that

   the people who are most acutely affected by trauma and persistent

   media coverage thereof often lack awareness of the impact this

   exposure    has   to   their   decision-making      capacity    in   the   jury

   deliberation room -- particularly when they are being asked to

   make a decision as high-stakes as the appropriate punishment for

   the individual that wreaked havoc on their lives and those of their

   neighbors and communities.         See McVeigh, 918 F. Supp. at 1473.

   That over 92% of Boston residents admitted in the community poll

   that they believed Tsarnaev was "definitely" or "probably" guilty

   based on their exposure to pretrial publicity, whereas 25% less

   admitted prejudgment in their juror questionnaires, highlights the

   inadequacy of survey polling to determine local prejudice in



   110 A strange question indeed; most people asked during a vote-
   by-mail poll would not likely respond to such a question by stating
   that they are "biased," especially because most would not be aware
   that they may be so.
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   circumstances such as existed in the Eastern Division, and the

   potential inability of jury selection to sufficiently weed out the

   prejudices in this venue.

               This    "impairment      of    the    deliberative      process,"

   particularly during a moment such as jury deliberations in a case

   of such prominence, is not easily quantifiable.              Again, I invoke

   Chief Judge Matsch:

               The possible prejudicial impact of this type
               of publicity is not something measurable by
               any objective standards. . . . [S]urveys are
               but crude measures of opinion at the time of
               the interviews.   Human behavior is far less
               knowable   and   predictable  than   chemical
               reactions or other subjects of study by
               scientific   methodology.     There   is   no
               laboratory experiment that can come close to
               duplicating the trial of criminal charges.

   Id.111

               Given the unknowing nature of the prejudicial effect of

   inflammatory pretrial publicity on severely afflicted people, see

   Irvin, 366 U.S. at 727; McVeigh, 918 F. Supp. at 1472-73, and the

   great potential for equivocation by individual jurors impacted by

   these outside influences, see Smith, 455 U.S. at 221-22, it must

   be given little weight that polling data showed somewhat similar



   111 I recognize that the district judge's exercise of discretion
   in McVeigh does not itself mean that the district court's decision
   not to move Tsarnaev's trial was necessarily an abuse. But, given
   its similarity to our situation, it certainly cannot be ignored in
   the exercise of our review.
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   (but still lower) numbers regarding a proclivity for the death

   penalty in Springfield and New York than in Boston.112

               The   majority     next   declares,     again        without   record

   support, that "most of the publicity was true."              Slip op. at 55.

   Much of the local publicity included not only factual narrations

   of the events that transpired but also commentary and opinions,

   such   as   the   aforesaid     references     to   him     as     a   "monster,"

   "terrorist," "evil," the "devil," and other similar derogations.

   I have no doubt that other media sources either did the same or

   quoted others who did.113      Even if these are appropriate adjectives

   to describe Tsarnaev, this does not mean the descriptors did not

   have a prejudicial impact on the venire's ability to make decisions

   based solely on what was presented in court.              See, e.g., Rideau,

   373 U.S. at 725-26 (televised confession was factual but prejudicial).



   112 The majority strangely and misleadingly finds convincing that
   "fewer [survey] respondents preferred life without parole in
   Springfield (45.4%) than in Boston (51.2%)." See slip op. at 55.
   But the lower percentage of Springfield respondents preferring
   life without parole does not mean that a higher percentage of
   Springfield respondents preferred the death penalty than in
   Boston.   In fact, the opposite is true: a higher percentage of
   respondents preferred the death penalty in Boston than in
   Springfield, Manhattan, or Washington, D.C. The fact that fewer
   respondents in Springfield stated a preference for life without
   parole than in Boston is explained by the fact that a higher
   percentage of respondents in Springfield (19.5%) refused to
   provide an answer to the question than in Boston (12.1%).
   113  See, e.g., Planas et al., supra n.103 (calling Tsarnaev a
   "punk" and a "bad guy").
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   The same is true of the reports that public officials believed

   Tsarnaev should die, and the detailed chronicling of the pain of

   the survivors and decedents' families.              These reports may reflect

   reality, but the media's emphasis of these topics carried a

   significant risk of disturbing potential jurors' impartiality.

   This publicity was anything but "trivial."

                I do not mean to imply that every juror was being

   disingenuous or deceitful in their self-declared impartiality.

   But our "[t]rust in their ability" to disregard this prejudicial

   information      "diminishes    when   the    prior       exposure   . . . evokes

   strong emotional responses or such an identification with those

   directly affected by the conduct at issue that the jurors feel a

   personal stake in the outcome."            McVeigh, 918 F. Supp. at 1473.

   Our own biases often go unrecognized or ignored.                     The risk of

   implicit biases in this case was impermissibly high, particularly

   with the defendant's life on the line.

              d. The "Skilling" factors

                The    majority    suggests     that    an    application      of    the

   eponymous Skilling factors counsels against an abuse-of-discretion

   finding. See slip op. at 56-58. As I noted in my mandamus dissent,

   I   find   the     comparison   between    this     case   and   Skilling    to   be

   inapposite.        See Tsarnaev II, 780 F.3d at 42 (Torruella, J.,

   dissenting).       Skilling involved "neither heinous nor sensational"

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   facts, but rather white-collar economic crimes which impacted only

   a minority of potential jurors in the Eastern District of Texas.

   561 U.S. at 370, 384 (noting that the "jurors' links to Enron were

   either nonexistent or attenuated"); see also United States v.

   Skilling, 554 F.3d 529, 560 n.47 (5th Cir. 2009), aff'd in part,

   vacated in part, 561 U.S. 358 (2010) (noting an opinion poll that

   found that one in three Houstonians knew someone harmed by what

   happened at Enron).      Contrast that with the facts in this case: a

   terrorist attack with explosives at the iconic Boston Marathon; a

   widespread and crowdsourced search for the suspects; the execution

   of a police officer; a carjacking; a shootout on a suburban street;

   a shelter-in-place order; a televised manhunt; a standoff around

   the Watertown boat; the televised removal of a bloodied defendant

   from that boat; and a traumatized Eastern Division.

               Even assuming arguendo the applicability of the Skilling

   factors to this terrorism case, I would find that they weigh in

   Tsarnaev's favor.      First, the Skilling Court looked to the "size

   and characteristics of the community in which the crime occurred,"

   noting that Houston was the fourth most populous city in the United

   States with a "large, diverse pool of potential jurors."              561 U.S.

   at 382. Boston is not even in the top twenty in terms of population

   size. See United States Census Bureau, Population Division, Annual



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   Estimates of City and Town Population Totals: 2010-2019 (May 21,

   2020).

                Equally if not more important are the characteristics of

   the community.       See Casellas-Toro, 807 F.3d at 387 (commenting that,

   although Puerto Rico has a population of approximately three million,

   it is an "insular community that is highly susceptible to the impact

   of local media" and "seem[s] to be a small island" (internal quotation

   marks and citation omitted)).       The Court in Skilling noted that only

   12.3% of Houstonians were able to name Skilling as an Enron

   executive they believed guilty of crimes, and 43% had never heard

   of   him.     This    case   is   again   easily   distinguishable.      Here,

   "Tsarnaev and the Boston Marathon bombings [were] one and the

   same."      Tsarnaev II, 780 F.3d at 42 (Torruella, J., dissenting);

   see also Def.'s Reply to Opp'n to Mot. to Change Venue at 4, United

   States v. Tsarnaev, No. 13-cr-10200-GAO (D. Mass. filed Aug. 7,

   2014), ECF No. 461-23 (showing that approximately 90% of survey

   participants in Boston recognized the name Dzhokhar Tsarnaev, as

   opposed to 58% in Springfield, MA, 44 % in Manhattan, and 34% in

   Washington, D.C.).       For instance, 99.7% of the voir dire had been

   exposed to pretrial publicity about the case as every local news

   sources reported about it, and two thirds admitted in their juror

   questionnaires that they believed Tsarnaev to be guilty.




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               Moreover,     terrorism    targets       the   very   fabric    of    the

   community, seeking to tear it apart.            We should thus be especially

   sensitive to the community response here as being indicative of

   its sense of communal victimhood -- a marker perhaps of its

   tightness    as    a   judicial   division.       The      Greater   Boston      area

   "band[ed] together"114 in response to this crisis, a "close-knit

   place" where "we grieve for [our neighbors]."115                  At that moment,

   the Eastern Division was "BOSTON STRONG."116

               Second,     the   news   stories    in    Skilling     "contained      no

   confession or other blatantly prejudicial information."                    561 U.S.

   at 382.     This case involved both.           Not only did the media print

   Tsarnaev's message in the boat admitting his crimes, it also

   reported information about his non-Mirandized hospital confession

   to the FBI.       The news stories also contained blatantly prejudicial

   opinions that Tsarnaev should die.




   114   Davis, III, supra n.85.
   115  Jeff Brady, 8-Year-Old Boy Among Those Killed in Boston
   Bombing,      NPR     (Apr.      16,     2013,      3:00     PM),
   https://www.npr.org/2013/04/16/177507497/8-year-oldboy-
   among-those-killed-in-boston-bombing (last visited July 10, 2020
   (reporting about speech by then-Mayor Menino on the day after the
   bombing).

   116 My intention is not to cast the "BOSTON STRONG" campaign in a
   negative light.    Quite the opposite, the community's recovery
   efforts have my highest admiration.
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               Third, the Skilling Court looked to the media attention

   surrounding Skilling's crime and trial, noting that "the decibel

   level . . . diminished somewhat" over the four years between

   Skilling's crime and his trial.        Here, although there was a slight

   diminution    of   pretrial    publicity     over   the   twenty-one    months

   between the bombings and the commencement of jury selection, the

   reporting continued to be omnipresent.117


   117 The majority finds the time that elapsed between the bombings
   and Tsarnaev's trial to be "closer in magnitude to the four years
   in Skilling (a point cutting against a venue change) than the two
   months in Casellas-Toro (a point favoring a venue change)." Slip
   op. at 57.      But the majority misconstrues our precedents.
   Casellas's trial did not occur two months after his crime was
   committed, but rather two and a half months after the major event
   that kept him in the media spotlight -- his televised sentencing
   for the murder of his wife. Casellas-Toro, 807 F.3d at 383. Like
   Tsarnaev, Casellas allegedly lied to the FBI almost two years prior
   to his trial for that crime. Id. at 382 (noting that Casellas
   made a false report to the FBI on June 17, 2012), 384 (stating
   that voir dire began on April 7, 2014).
   Like Casellas, Tsarnaev remained a focal point for the media since
   he committed these crimes. Several well-publicized events ensured
   that he remained at center stage. In January 2014, the government
   announced that it would seek the death penalty, which drew an
   enormous media response.       In April 2014, on the one-year
   anniversary of the marathon bombings (the week preceding the 2014
   running of the Boston Marathon -- which itself garnered
   extraordinary attention), the City of Boston held a ceremony to
   pay tribute to the Boston Marathon bombing victims.      The event
   featured local and national politicians, clergymen, and the
   victims and their families. Amongst the attendees (and speakers)
   was Vice President Joe Biden.      See John R. Ellement & Martin
   Finucane, At Tribute, Marathon Bombing Victims, Survivors Honored,
   Boston          Globe           (Apr.          15,          2014),
   https://www.bostonglobe.com/metro/2014/04/15/tribute-boston-
   marathon-victims-underway/xIxOSTNzhaPDpRXlaiXnrN/story.html (last
   visited July 10, 2020).
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               Finally, the Skilling Court looked to the jury verdict,

   finding that the jury's not-guilty findings on nine of the twenty-

   eight counts in the case "yielded no overwhelming victory for the

   government."      561 U.S. at 375, 383.          Here, because Tsarnaev's

   counsel   admitted    Tsarnaev's     guilt   during   opening    and   closing

   statements, the jury verdict finding Tsarnaev guilty on all thirty

   counts neither supports nor refutes a presumption of impartiality.


   The focus on Tsarnaev continued into the next year.       In early
   January 2015, gunmen attacked the Paris office of satirical
   newspaper Charlie Hebdo. The media took the opportunity to draw
   comparisons between that attack and the Boston Marathon bombings.
   See, e.g., Kevin Johnson, Paris and Boston Attacks Pose Striking
   Parallels,       USA        Today,       Jan.        9,       2015,
   http://www.usatoday.com/story/news/nation/2015/01/08/paris-
   boston-attacks/21445461/ (last visited July 10, 2020). That same
   month, pictures went viral of a man clearing snow off of the Boston
   Marathon finish line following a blizzard.        Eastern Division
   residents hailed him as a "hero." Anastasia Williams & Michele
   McPhee, Blizzard Mystery Solved: Man Who Shoveled Marathon Finish
   Line     Revealed,      ABC      News     (Jan.     28,      2015),
   https://abcnews.go.com/US/boston-blizzard-mystery-solved-man-
   shoveled-marathon-finish/story?id=28550626 (last visited July 10,
   2020). Also that month, Tsarnaev's friend pled guilty to charges
   related to the destruction of evidence in this case and lying to
   the FBI. See, e.g., Milton J. Valencia, Tsarnaev Friend to Plead
   Guilty,       Boston       Globe       (Jan.       13,       2015),
   http://www.bostonglobe.com/metro/2015/01/13/judge-sets-jan-plea-
   hearing-for-friend-boston-marathon-
   bombers/SPbRARYlkYS5XYJMrZNFcM/story.html (last visited July 10,
   2020).
   Finally, on the first morning of jury selection, the press reported
   that Tsarnaev unsuccessfully offered to plead guilty in exchange
   for the government's agreement not to seek the death penalty. See,
   e.g., Evan Perez, Boston Bombing Trial Lawyers Fail to Reach Plea
   Deal,            CNN           (Jan.           5,            2015),
   https://www.cnn.com/2015/01/05/politics/dzhokhar-tsarnaev-trial-
   plea-deal-fails/index.html (last visited July 10, 2020).
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   See, e.g., Luong v. State, 199 So. 3d 139, 148 (Ala. 2014) ("[I]n

   light of the facts of this case, in particular Luong's admission

   that he threw each of his children off the bridge, the fact that

   Luong was not acquitted of any of the charged offenses does not

   either    support    or    rebut    a   presumption     of   jury    bias    or

   impartiality.").

               The majority's comparison of the nine acquittals in

   Skilling to Tsarnaev's jury's decision to recommend death for six

   of the seventeen death-eligible counts is mind-boggling.              See slip

   op. at 57-58.     There is a monumental distinction between the full

   acquittals in Skilling -- resulting in no punishment for that

   defendant, and this jury's decision about which of the two most

   extreme punishments in our criminal justice system to recommend

   for each count.       The jury's decision to recommend that Tsarnaev

   receive six death sentences and serve eleven life sentences,

   instead of recommending that Tsarnaev be killed on seventeen

   separate counts, does not indicate a lack of prejudice.              Far from

   it.    A criminal defendant can only be put to death once.                  The

   Supreme Court has noted that the decision of whether to recommend

   a death sentence "is mostly a question of mercy."            Kansas v. Carr,

   136 S. Ct. 633, 642 (2016).        As Tsarnaev points out, "six separate

   death sentences can hardly be considered an act of mercy such as



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   to establish that jurors were either unaffected by the pretrial

   publicity or willing to ignore the community sentiment."

               Tsarnaev was entitled to a presumption of prejudice.

      2. The Government Cannot Overcome the Presumption of Prejudice

               The parties quarrel over whether the presumption of

   prejudice is rebuttable.         In Casellas-Toro, this court assumed

   without deciding that the presumption was rebuttable, and I follow

   the same track.        807 F.3d at 388-90.           Yet, even under this

   assumption, the government cannot prevail.

               The government argues that it can rebut that presumption

   by showing that the district court was able to ascertain the

   effects of the potential jurors' exposure to extensive pretrial

   publicity and excuse those that were incapable of setting any

   prejudice aside.      Not so.    As today's majority has explained, by

   refusing to ask prospective jurors content-specific questions

   about what they had read and heard, the district court was unable

   to identify biases or prejudices that may have resulted from that

   exposure.     See Patriarca, 402 F.3d at 318.            The district court

   relied on the venire's self-declarations of impartiality, an error

   of law and an abuse of discretion.

               The government also cannot show that the district court

   seated an impartial jury because the district court failed to

   investigate    Tsarnaev's     "colorable"     and   "plausible"    claims    of

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   juror-misconduct. When a defendant raises such a claim, regardless

   of   timing,   the   district       court     has    the   "unflagging     duty"    to

   investigate.     See United States v. French, 904 F.3d 111, 117 (1st

   Cir. 2018), cert. denied sub nom. Russell v. United States, 139

   S. Ct. 949 (2019) (quoting United States v. Zimny, 846 F.3d 458,

   464 (1st Cir. 2017)).          The district court need not hold a full

   evidentiary    hearing,       but   it   must       fashion   and     "even-handedly

   implement . . . a sensible procedure reasonably calculated to

   determine whether something untoward had occurred."                    United States

   v. Paniagua-Ramos, 251 F.3d 242, 249-50 (1st Cir. 2001).                           The

   court's procedural discretion does not include a refusal to conduct

   any inquiry whatsoever.         Zimny, 846 F.3d at 465.

               But that is precisely what the district court did.

   Tsarnaev presented a colorable claim that Juror 286 knowingly

   withheld from the court the fact that she posted twenty-two online

   comments    mourning    the    death     of   Martin       Richard,    praising    law

   enforcement officers (three of whom would later testify at trial),

   expressing "BOSTON STRONG" civic pride, and calling Tsarnaev a

   "piece of garbage."       Tsarnaev further showed that Juror 286 may

   have lied on her juror questionnaire and during voir dire about

   sheltering in place with her family.                  And Tsarnaev presented a

   second plausible claim that Juror 138 both refused to follow simple

   but important court rules and intentionally withheld from the court

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   his participation in social media conversations.             In the comments

   thread on his Facebook page, on which he continued to engage, his

   friend urged him to "[p]lay the part so u get on the jury then

   send [Tsarnaev] to jail where he will be taken care of."                    The

   district court's refusal to inquire -- at the government's behest

   -- left much to be desired in the way of certainty about these

   jurors' impartiality.

                Finally, a review of the seated jurors' questionnaires

   and voir dire transcripts confirms that the government cannot rebut

   the presumption in this case.        The government admits that there is

   a statistically significant correlation between the prospective

   jurors' media exposure and their opinions to guilt, and ten of the

   twelve seated jurors had been exposed to "a moderate amount" or "a

   lot" of publicity.        Prior to trial, three of the twelve voting

   jurors admitted to having predetermined Tsarnaev's guilt, and

   another two stated that they believed Tsarnaev participated in the

   bombings.    See Juror 83: "obviously he was involved in something";

   Juror 229: "[f]rom the media" "I suppose that we knew that he was

   involved";     Juror 349: marked on juror questionnaire belief that

   Tsarnaev was guilty, and stated on voir dire that from "so much

   media    coverage"     "anybody     would    think    that    [Tsarnaev     was

   involved]"; Juror 395: marked on juror questionnaire belief that

   Tsarnaev was guilty; Juror 487: marked on juror questionnaire

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   belief that Tsarnaev was guilty, and explained on voir dire that

   this belief came from what he had seen on the news.                        Likewise,

   three of the six alternate jurors stated that they believed that

   Tsarnaev was involved.           See Juror 552: "[F]rom the videos I saw,

   it appeared that he was part and parcel of perhaps depositing those

   devices"; Juror 567: "I do believe that he was somewhat involved";

   Juror 588: "I believe there's some involvement somewhere, but I

   don't know what it is."          And, as just discussed, two seated jurors

   were at least inconsistent -- if not deliberately untruthful -- in

   their responses during jury selection, calling into question their

   declarations     that     they    had    not   yet   formed   an    opinion   about

   Tsarnaev's guilt.       See Sampson v. United States, 724 F.3d 150, 164

   (1st Cir. 2013) ("The voir dire process . . . is frustrated when

   a prospective juror is dishonest.              Both the juror's dishonesty and

   her   motivation    for    that    dishonesty        may   cast    doubt   upon   her

   impartiality.").

               Although all the seated jurors declared that they could

   be fair and impartial and decide the case solely on the evidence

   presented in court, little weight can be given to such declarations

   by community members so impacted by the crimes and the subsequent

   pretrial publicity.        "Natural human pride would suggest a negative

   answer to [a question of] whether there was a reason the juror

   could not be fair and impartial."              United States v. Dellinger, 472

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   F.2d 340, 375 (7th Cir. 1972); see also Irvin, 366 U.S. at 728

   ("[The] psychological impact requiring such a declaration before

   one's fellows is often its father.").              In sum, the government

   cannot show that the jury that convicted Tsarnaev and recommended

   that he be put to death was impartial.                  The government has

   therefore failed to rebut the presumption of prejudice.

   C.   Harmless as to Guilt, Not as to Sentencing

               I agree with the majority that the district court's abuse

   of discretion was harmless as to Tsarnaev's guilt but not as to

   his sentence.     See slip op. at 72-73, 74 n.33.        Tsarnaev's counsel

   admitted his participation in these crimes during both opening and

   closing statements, and he does not contend on appeal that he would

   not have made these admissions had his trial taken place elsewhere.

   Sitting in its expanded role under the Federal Death Penalty Act,

   18 U.S.C. §§ 3591-99, a sentencing jury was required "to make a

   moral judgment . . . after consideration of aggravating and

   mitigating circumstances" about whether Tsarnaev deserved to live

   out his natural life in custody or be killed by the government.

   See McVeigh, 918 F. Supp. at 1474.          The question of whether these

   aggravating circumstances outweigh the mitigating factors is one

   of " mercy" for the sentencing jury.          See Carr, 136 S. Ct. at 642.

               With a jury so intensely impacted by the charged crimes,

   and so exposed to inflammatory pretrial publicity -- including

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   reports detailing the extreme anguish of their neighbors and

   repeated calls for Tsarnaev to be sentenced to death -- I cannot

   say with any degree of certainty that the jurors did not possess

   a "predilection toward that penalty."              McVeigh, 918 F. Supp. at

   1474.

               "With his life at stake, it is not requiring too much

   that [a criminal defendant] be tried in an atmosphere undisturbed

   by so huge a wave of public passion . . . ."              Irvin, 366 U.S. at

   728.    The government cannot show that the district court's abuse

   of   discretion    was   harmless    beyond    a   reasonable   doubt   as    to

   Tsarnaev's sentence.       See 18 U.S.C. § 3595(c)(2), (c)(2)(C).            For

   this reason, I agree that Tsarnaev's death sentences must be

   vacated    and   the   case    remanded   to   the   district   court   for    a

   sentencing retrial.

                                 II. Closing Remarks

               In dissent on Tsarnaev's second mandamus petition, I

   expressed my concern that -- in a case having this magnitude of

   press coverage and widespread dissemination of information -- a

   subsequent jury on retrial would have been exposed to the evidence

   (and results) of the first trial and would know that the new trial

   was the result of a post-conviction reversal.              Tsarnaev II, 780

   F.3d at 46 (Torruella, J., dissenting).              My concern has and very



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   likely will come to fruition.118       Because the majority rules in the

   manner in which it does on the issue of venue, I also maintain

   these concerns for future cases. The majority's reasoning cripples

   Rule   21(a)   of   the   Federal    Rules    of   Criminal   Procedure     and

   undermines the due process and impartiality principles of the Fifth

   and Sixth Amendments.       I asked a simple question in 2015 that is

   still fitting, and I repeat it today: "If not here, when?"              Id. at

   45.




   118  Again, I make no judgment about whether Boston is a proper
   venue for a subsequent sentencing retrial. That determination is
   time and place specific and must be made by the district court in
   the first instance at that retrial.
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